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              EXHIBIT 1
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               EXPERT REPORT OF CHARLES M. BENBROOK, PhD
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I.     Summary of Opinions

       1.      I have been asked by the Plaintiffs’ attorneys to review materials relating to the

composition, use, testing, stewardship, risk assessment, and regulation of glyphosate and

Roundup®-brand herbicides (“Roundup”). My review of public documents, the discovery

record, and my work over decades on glyphosate risks, regulation, and the use of Roundup

herbicides have shaped the opinions expressed herein.

       2.      All of my opinions were reached to a reasonable degree of scientific certainty.

       3.      I include opinions in this summary section most responsive to the key issues I

have been asked to address. These opinions cover many different areas, but they relate to my

core expertise of examining whether Monsanto’s conduct as a pesticide manufacturer and

registrant, comport with its obligations and stewardship responsibilities.

       4.      Throughout this report, additional opinions, and more complete explanations of

my opinions are presented, along with my discussion of the various Monsanto actions, inactions,

documents, and initiatives leading to my opinions.

       5.      I reserve the right to augment or revise this report to fix typos, add MONGLY

document references, or incorporate new studies or data I become aware of that alter or reinforce

findings and opinions expressed in this report.

       6.      The likelihood that exposures to Roundup can trigger or contribute to the

progression of non-Hodgkin lymphoma is central to this case. Extensive scientific and

regulatory resources have been invested over decades in pursuit of clarity on this core question.

Has Monsanto done everything it could have, and should have done to resolve uncertainty in the

scientific data relied upon to answer this core question?

               a.      In my opinion, no, they have not.




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      b.    The first valid chronic oncogenicity study on glyphosate was submitted to

            EPA in 1983 (the Bio/dynamic mouse study). It showed an increase in

            renal tubular adenomas in the male mice that Monsanto claimed was not

            treatment related. EPA disagreed, and classified glyphosate as a “possible

            human oncogen” in 1985.

      c.    Monsanto challenged EPA’s determination through multiple avenues, for

            years, leading to an EPA request for Monsanto to do a new and better

            study. A Scientific Advisory Panel convened by EPA to provide guidance

            in resolving the controversy over the 1983 Bio/dynamic study called for a

            repeat study. The EPA adopted the SAP’s advice and required a repeat

            mouse study in its 1986 Registration Standard document on glyphosate.

            Monsanto refused to conduct it and has not done so to this day.

      d.    Monsanto has refused since the mid-1980s to conduct the studies needed

            to resolve uncertainty over the oncogenicity of Roundup, including studies

            specifically requested by the EPA. In my opinion, the failure of Monsanto

            to invest in new and better science, such as the more powerful mouse

            cancer replacement study requested by EPA in 1986, has perpetuated

            scientific uncertainty and undermined EPA’s ability to understand and

            quantify Roundup cancer risks.

      e.    I also conclude that, as a result, the EPA has been unable to determine

            whether Roundup-associated cancer risks fall below or exceed the

            agency’s “level of concern.” Because no one has ever sprayed or been

            exposed to pure glyphosate, Monsanto’s assertions and EPA’s conclusion




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                      that glyphosate does not pose significant cancer risk to the general public,

                      based on current and typical levels of exposure, is not reassuring nor

                      particularly useful in understanding and managing cancer risks arising

                      from exposures to formulated Roundup and other GBHs.

              f.      Dr. Donna Farmer, a senior Monsanto scientists wrote to a Monsanto

                      communications professional “You cannot say that Roundup is not a

                      carcinogen…we have not done the necessary testing on the formulation to

                      make that statement. The testing of the formulations are not anywhere near

                      the level of the [testing on] the active ingredient.” (MONGLY00922457-

                      8).

       7.     For decades, there have been multiple studies showing that formulated Roundup

is more toxic than pure, 100% technical glyphosate. Most of the surfactants in Roundup-brand

herbicides are more toxic, ounce for ounce, than glyphosate. Plus, pure glyphosate does not

move readily through the skin or into cells, whereas Roundup and other GBHs does.

              a.      The surfactants in Roundup products are added to formulations to speed

                      up the movement of glyphosate through weed leaf surfaces, and then into

                      the cells of weeds. Roundup surfactants act roughly the same way when

                      Roundup comes into contact with human skin. This is one of the primary

                      reasons why Roundup is markedly more toxic to exposed humans than

                      glyphosate.

              b.      Despite knowledge of the differences in toxicity and risks arising from

                      exposures to formulated Roundup in contrast to pure glyphosate,

                      Monsanto has not carried out critical, long-term cancer feeding studies




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                      with Roundup. Nor has anyone else.

               c.     In my opinion, Monsanto’s refusal to carry out long-term cancer feeding

                      studies in both mice and rats using a common Roundup formulation has

                      perpetuated scientific uncertainty and delayed the regulatory consequences

                      of such studies, in the event one or both studies report evidence of a

                      treatment-related oncogenic response.

       8.      Monsanto has refused to conduct state-of-the-art genotoxicity assays in mammals

and in human populations exposed to formulated Roundup. When the EPA reviewed this area of

science, my systematic review of the studies cited and available to the EPA reveals that those

studies originated by industry, and for the most part conducted by Monsanto, generally show no

genotoxic effect, whereas independent studies, utilizing more advanced state-of-the-art systems,

do show genotoxic effect. This discrepancy indicates that the EPA’s review of genotoxicity has

been skewed by industry studies that are less sensitive.

               a.     In its September 2016 evaluation of glyphosate oncogenicity, EPA

                      reviews about 50 registrant-commissioned genotoxicity studies carried out

                      mostly by Monsanto on pure, glyphosate technical. Only one of these ~50

                      registrant studies reported evidence of a genotoxic response.

               b.     Another approximate 45 registrant-commissioned studies were carried out

                      on formulated Roundup and other GBHs. Of the ~45 registrant studies on

                      GBH genotoxicity, none reported evidence of a genotoxic response.

               c.     Accordingly, out of nearly 100 registrant-commissioned studies cited in

                      EPA’s September 2016 report on glyphosate genotoxicity, only one

                      reported a positive genotoxic response.




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               d.     About another 55 studies on pure glyphosate have been published in peer-

                      reviewed science journals (hereafter referred to as “public literature”), and

                      another 70 have been published on formulated GBHs. Of these ~125

                      studies in public literature, about 85 reported one or more positive

                      genotoxic responses, or about 70%.

               e.     In my opinion, the remarkable disparity in the results of registrant-

                      commissioned genotoxicity studies, in contrast to those done by mostly

                      academic scientists, arises in large part from the use of relatively newer

                      and more sensitive assay systems by academic scientists. The body of my

                      report presents further empirical data and observations on the likely

                      reasons why such disparate results are reported in registrant studies versus

                      public literature studies.

       9.      Additionally, I conducted a detailed analysis of the studies relied on by the EPA

in its genotoxicity assessment as reported in its September 2016 report, compared to the studies

relied upon by IARC in its 2015 assessment of the genotoxic and oncogenic potential of

glyphosate and GBHs. IARC relied on about 120 published studies in peer-reviewed journals, of

which EPA cited only 50 (~42%). The basis of this analysis is described in Appendix C.

               a.     IARC placed heavy weight on three studies of human populations exposed

                      to GBHs that displayed, according to the IARC Working Group, strong

                      evidence of direct damage to human DNA, while EPA did not place much,

                      if any, weight on these three positive studies, because, according to EPA,

                      its assessment was focused on studies testing the genotoxicity of

                      glyphosate technical, not studies on Roundup or other GBHs.




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       b.     In my opinion, studies on the genotoxic effects of formulated GBHs are

              significantly more important and relevant to human health-risk

              assessments than studies on pure glyphosate. I also conclude that EPA’s

              admitted failure to seriously assess the approximate 70 public literature

              studies on the genotoxicity of formulated GBHs is why the agency

              errantly determined that “glyphosate” is likely not genotoxic. EPA might

              actually be correct in that judgement, but no one sprays pure glyphosate,

              and strong evidence points to the genotoxicity of formulated GBHs.

       c.     The most recent genotoxicity studies cited by the EPA and IARC in their

              respective reports were published or dated 2014, with the exception of one

              2015 study by Marquez et al (2015) assessing DNA damage in an

              European eel species that was cited by both EPA and IARC. I conducted a

              PubMed search for genotoxicity studies on glyphosate and GBHs on

              November 19, 2018 and identified 26 studies published since 2015, of

              which 25 reported positive evidence of genotoxicity in one or more assays.

              Twelve mammalian studies were all positive, including evidence of

              oxidative stress in three assays in human cells and DNA damage in five

              assays.

       d.     I conclude that the scientific studies published since the EPA and IARC

              reports has added to the strong evidence supporting the genotoxicity of

              glyphosate and GBHs through each of the two mechanisms of action

              highlighted in the 2015 IARC report.

 10.   In 1999, Monsanto hired Dr. James Parry, a world-renowned genotoxicity expert,




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to advise the company on what steps it should take to better understand and respond to public

literature studies reporting evidence of a genotoxic response following exposures to glyphosate

and/or a GBH. Dr. Parry provided Monsanto 11 specific recommendations for further

genotoxicity research. Monsanto refused to conduct new studies in 9 of the 11 areas.

              a.      In my opinion, Monsanto’s failure to conduct the state-of-the-art

                      genotoxicity assays on formulated GBHs that Dr. Parry recommended is a

                      primary reason why the EPA, as opposed to IARC (which did rely on the

                      published state-of-the-art studies), concluded that glyphosate poses no

                      significant genotoxic risk to humans.

              b.      Rather than conduct the more sophisticated genotoxicity assays

                      recommended by Dr. Parry, Monsanto instead commissioned members of

                      its Third-Party Network of glyphosate-friendly scientists (discussed

                      below) to write and publish review articles arguing that evidence of

                      genotoxicity in public literature studies is the result of flawed study

                      designs, excessive dose levels, inappropriate routes of administration,

                      overt toxicity, or other technical problems. Substantial portions of three of

                      these reviews were ghost-written by Monsanto scientists not listed among

                      the co-authors.

              c.      Recent genotoxicity studies—again performed by independent scientists—

                      continue to show clear genotoxic responses.

       11.    In 1985, the Office of Pesticide Programs classified glyphosate as a “possible

human oncogen” as a result of the renal tubular adenomas in the 1983 Bio/dynamics mouse

study. In my opinion, by or about 1986, Monsanto could have and should have added a warning




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to Roundup labels alerting applicators that heavy and/or sustained exposures to Roundup might

contribute to the risk of certain cancers. Similar information and warnings should have been

included in chemical safety data sheets, applicator training materials, and the information

supplied to operators at poison control centers fielding calls from people concerned over the

health risks stemming from a high-exposure episode.

       12.     The 1986 glyphosate Registration Standard document issued by the EPA required

Monsanto to add several commonsense worker-safety provisions onto Roundup product labels

(e.g., wear gloves, chemical resistant shoes, and goggles or a face shield when applying

Roundup; discard cloths that are drenched; wash clothes separately from other laundry).

Monsanto refused to add the majority of these provisions to their product labels. In my opinion,

Monsanto failed to live up to its stated commitment to product safety in its refusal to add such

simple, commonsense worker-safety provisions to Roundup labels.

       13.     Registrants bear the primary responsibility to assure that there will be no

“unreasonable adverse effects on man or the environment” when the pesticide is used in accord

with label directions and requirements. In my opinion, Monsanto has failed to meet this

obligation by failing to warn about the risks of oncogenicity, genotoxicity, and most recently,

carcinogenicity. For example -- the Office of Environmental Health Hazard Assessment

(OEHHA) in California issued a Proposition 65 Warning and factsheet in 2018 entitled

“Glyphosate” that states “Glyphosate is on the Proposition 65 list because it has been identified

as a carcinogen.” Significantly, in response to “How can I reduce my exposure to glyphosate?”,

OEHHA writes “Do not handle or use glyphosate herbicides without skin protection, such as

gloves.” Monsanto, however, has never advised applicators to wear gloves, and denied an EPA

request that such a requirement be added to Roundup labels.




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       14.     In recent years, glyphosate-based herbicide applications made using hand held,

backpack, ATV, or truck- mounted sprayers likely account for around 3% of total use in the

U.S., and a disproportionately high share of the worker-safety poisoning and illness episodes

reported to and/or investigated by regulatory authorities or physicians.

               a.      Applicator exposures, and hence risk, are a function of: (a) how many

                       days in a year, and how many hours per day a person sprays Roundup; (b)

                       the spray dilution, length of the spray wand, the pressure and pattern of the

                       spray, (c) how the applicator directs the spray, and wind conditions, and

                       (d) the degree to which applicators abide by label directions and are

                       diligent -- or careless -- in their efforts to minimize exposures.

               b.      Even among diligent applicators, high-exposure episodes will occur when,

                       for example, a hose leaks, a fitting becomes loose, concentrated herbicide

                       spills onto skin or clothing, and/or when cleaning, servicing, or repairing

                       spray equipment.

               c.      In my opinion, since the 1980s, individuals applying Roundup via

                       handheld, backpack, ATV, and truck-mounted sprayers have faced, and

                       continue to face markedly higher exposures and risks, especially on windy

                       days, and that on some days, circumstances will arise that lead to high or

                       very-high exposures, compared to “typical” conditions.

               d.      Likewise, I conclude that since the 1980s, farmers and commercial

                       applicators of Roundup spraying farm fields are also sometimes exposed

                       to much higher levels of Roundup than “normal,” when dealing with

                       plugged nozzles, filling or cleaning spray tanks, fixing leaks, repairing




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                       equipment, and handling and transferring concentrated herbicide.

       15.     In my opinion, Monsanto has failed to adequately provide guidance to mixer-

loaders and applicators regarding steps they should take to first, prevent very-high exposure

episodes, and second, what they should do in the event of a high-exposure episode to limit

personal risk and respond to any signs of ill effects.

               a.      Regardless of when, where, and how Roundup is applied, mixer-handler

                       and applicator risk is also clearly determined to a significant degree by the

                       number of days per year an individual handles and sprays Roundup,

                       coupled with the average hours per day the person is applying the

                       herbicide.

               b.      On Roundup labels and in Monsanto-sponsored educational and

                       promotional materials, there is no information explaining that applicator

                       risks rise with frequency of use and cumulative hours during which

                       herbicides are sprayed in a given year. No information or guidance is

                       offered to applicators to help prevent and mitigate high-exposure

                       circumstances like hose leaks, equipment problems, or erratic wind

                       patterns.

       16.     Monsanto has an operational goal called “Freedom to Operate,” which aspires to

limit any restrictions on Monsanto’s ability to freely sell and market glyphosate-based

herbicides, including even commonsense worker-safety provisions. In my opinion, Monsanto’s

zeal in protecting glyphosate’s FTO directly conflicts with health-protection obligations imposed

by federal law and the stewardship responsibilities of a pesticide manufacturer with a stated

commitment to product safety.




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       17.     At several stages in the regulatory history of glyphosate and Roundup-brand

herbicides, this report documents episodes in which, I conclude, Monsanto failed to meet

obligations imposed on it by federal law and EPA regulations.

       18.     I conclude that Monsanto actions, and in some cases inaction, undermined

incremental progress in EPA toward more accurate and realistic worker-risk assessments, and

precluded commonsense steps to reduce exposures, and hence risk, among Roundup users.

       19.     In my opinion, Monsanto actions and inaction blocked or avoided the

communication to users of the need for effective and simple worker-safety provisions. I also

conclude that the absence of such worker-safety provisions, the absence of warnings of possible

health effects, and the systematic downplaying of Roundup’s toxicity has markedly increased

exposures and cancer risk levels for many users.

       20.     In my opinion, Monsanto has underperformed in its efforts to discourage clearly

false information and dangerous assertions regarding Roundup toxicity and risks made by

individuals speaking on its behalf. Two common assertions that have perpetuated a lack of care

by some people applying Roundup herbicides are that Roundup is “non-toxic” and “safe enough

to drink.”

       21.     In my opinion, substantial questions persist over the levels of known, oncogenic

impurities and breakdown products in Roundup and other GBHs. Additional monitoring and

research is urgently needed to better understand the contaminants in various GBHs, where they

come from, and how they have changed over time. I believe Monsanto was obligated to conduct

that testing as part of its ongoing stewardship obligations, but I am not aware of such data being

submitted to the EPA, nor providing a basis for more accurate human-health risk assessments.

       22.     But it is also my opinion that the primary focus of pesticide safety educators,




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Roundup applicators, regulators, and the court in this litigation should be the potential

contribution of formulated Roundup and other GBHs to human illness, regardless of whether an

adverse biological response in an exposed individual comes from the way the glyphosate was

made, the surfactants added into the GBH applied, or chemical reactions that occur after the

spraying of a GBH, including reactions that can occur inside the human body.

II.    Science Judgements Impacting the Use of Glyphosate

       23.     Various terms are used to refer to the potential of a chemical to cause cancer. The

term “carcinogenic risk” used in the Monograph series issued by IARC means that “an agent is

capable of causing cancer.”

       24.     In this report, I follow standard practice in EPA and the toxicology community.

The word “oncogen” refers to a chemical thought to cause benign or malignant tumors in

animals or humans; the term “carcinogen” refers to a chemical thought to cause malignant

tumors in animals or humans.

       25.     The Toxicology Branch within the EPA’s Office of Pesticide Programs (OPP)

decided that glyphosate should be classified as a possible human oncogen in 1985. This decision

posed a significant economic threat to Monsanto, as stated by Frank Serdy, Monsanto’s Manager

of Federal and State Regulatory Affairs in his March 13, 1985 letter to the OPP Registration

Division Director, Doug Campt.

       26.     In the 1980s, once glyphosate was classified as a potential oncogen, any

significant, future expansion in agricultural use of Roundup herbicides would require the

establishment by EPA of food-additive tolerances to cover the glyphosate residues that would be

present in certain fractions of grains and oilseed crops. Such tolerances can be established

pursuant to Section 409 of the Food, Drug, and Cosmetic Act (FDCA).




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       27.     But glyphosate-related Section 409 petitions in the EPA pipeline, and any future

Section 409 tolerance petitions, would be blocked by the anti-cancer Delaney Clause, which was

then part of Section 409 in the FDCA.

       28.     The Delaney Clause prohibits the knowing addition to food of cancer-causing

food additives. When pesticide residues concentrate in certain foods (e.g. ketchup) or food

ingredients (wheat bran), they are considered a food additive by the EPA. Hence, from the late

1970s through 1996, EPA generally did not approve Section 409 tolerance petitions for

pesticides classified by the agency as possible, probable, or proven oncogens. (The 1986 NAS

report Regulating Pesticides in Food: The Delaney Paradox contains a detailed explanation of

how and why the Delaney clause was then impacting the tolerance-setting process).

       2. Failure to Repeat 1983 Mouse Oncogenicity Study

       29.     A contract laboratory called Bio/dynamics conducted a Monsanto-commissioned

mouse oncogenicity study in the early 1980s. The study was needed to fill an important,

glyphosate chronic toxicology datagap. The study results were submitted to EPA in 1983. The

EPA’s preliminary review of the study concluded that glyphosate had caused a dose-related

increase in renal tubule adenomas in male mice, a rare kidney tumor, and as a result was

classifiable under then-current EPA cancer guidelines as a possible human carcinogen.

       30.     This EPA determination contradicted the Bio/dynamics interpretation of the

results, as well as Monsanto’s. Conflicting interpretations of this study set the stage for a conflict

between Monsanto and the EPA that lasted several years.

       31.     To gain approval of the many, new Section 409 tolerances that would be needed

to add new crops to Roundup product labels, the company had to reverse the Office of Pesticide

Programs’ (OPP) “possible oncogen” classification of glyphosate.




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          32.   When such disagreements arise over the interpretation of a specific study, the

routine response by OPP/EPA is to require the registrant to conduct a new, and hopefully more

sensitive study. And so, OPP required Monsanto to conduct a new, much more powerful

(statistically) mouse oncogenicity study.

          33.   Monsanto responded to EPA’s request by arguing no such study was needed.

OPP/EPA responded by stating why it felt such a study was indeed essential.

          34.   Eight years of Monsanto-EPA debate ensued over this 1983 mouse study. At

multiple points, Monsanto found ways to raise new scientific issues in need of exploration with

OPP scientists, prior to a final OPP decision on whether the 1983 Bio/dynamics study was

positive or negative for cancer, and whether it needed to be repeated.

          35.   Monsanto demonstrated both its ability and willingness to direct political pressure

on the agency. The company’s influence in Congress, and at senior levels in Executive Branch

agencies, made it possible for Monsanto to incrementally raise the stakes facing the OPP, until

OPP brought its evaluation of the Bio/dynamics study into alignment with Monsanto’s.

          36.   In 1991, EPA changed its interpretation of the 1983 Bio/dynamics mouse

oncogenicity study, largely on account of one additional tumor in control-group mouse #1028.

This tumor was found by a pathologist that Monsanto had hired to reread the study’s kidney

slides.

          37.   All of the EPA pathologists that had reviewed the Bio/dynamics mouse kidney

slides could not see, and did not agree that there was a renal tubular adenoma in the kidney of

control mouse #1028.




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       38.     Each of the pathologists paid by Monsanto to assess the kidney slides concurred

that there was a renal tubular adenoma in control mouse #1028, except for the pathologist

working for Bio/dynamics when the kidney slides from the study were initially read.

       39.     This pathologist (Dr. McConnell) reported no renal tubule adenoma in control

mouse #1028, nor in any other control male mouse. Years later, after re-reading the kidney

slides, this pathologist changed his mind and agreed with the other Monsanto-hired pathologists,

who did see a renal tubular adenoma in control mouse #1028.

       40.     Despite multiple EPA requests, Monsanto still has not conducted a new mouse

oncogenicity study. Monsanto also refused to carry out a follow-up study that EPA and

Monsanto scientists designed collaboratively, in the hope of resolving lingering issues over the

presence of renal tubular adenomas in the 1983 Bio/dynamics study.

       41.     In my opinion, Monsanto’s refusal to conduct the new oncogenicity studies in

mice requested by the EPA in the late 1980s altered the regulatory history of glyphosate and

Roundup herbicides. Had at least one of the requested studies been completed and showed no

oncogenic response, the debate over the 1983 Bio/dynamic mouse study would have ended and

EPA would likely have downgraded its classification of glyphosate oncogenicity. This eventually

happened in 1991, but without the benefit of a new mouse oncogenicity study.

       42.     If a new mouse oncogenicity study had reported a positive response for renal

tubular adenomas, and/or other tumors, the EPA’s “possible oncogen” classification would have

remained in place, or possibly been upgraded to “probable.” I also conclude that this later

scenario would have markedly restricted the range of new crop and weed control uses added onto

Roundup-brand herbicide labels beginning around 1990, and led to the addition of new warnings

and worker-safety provisions on most, if not all Roundup labels.




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          3. Negative Genotoxicity Studies Give Rise to a False Sense of Safety

          43.    The first round of mutagenicity and genotoxicity studies on glyphosate were

commissioned by Monsanto in the 1970s, conducted by IBT, and were found to be invalid and/or

fraudulent. The second round was done in the early 1980s, and fulfilled the then-existing OPP

mutagenicity and genotoxicity data requirements.

          44.    The laboratories conducting these cell-assay studies in the 1980s on pure

glyphosate for Monsanto reported no evidence of mutagenic or genotoxic effects, and EPA

scientists accepted this determination. Since the early approvals of Roundup herbicide labels in

the 1970s and through multiple re-assessments over the last 40 years, the EPA has stuck with its

original determination that glyphosate technical (i.e. nearly pure, 100% glyphosate) is not

genotoxic in humans via oral ingestion, at levels of exposure typically expected in the food

supply.

          45.    EPA’s initial genotoxicity determination played a central role in the successful

effort by Monsanto to change OPP’s mind on the results of the disputed, 1983 Bio/dynamics

mouse oncogenicity study.

          46.    On multiple occasions since the 1980s, the purported absence of evidence of

genotoxicity has been cited by Monsanto and the EPA as an important reason to discount other

evidence of toxicity, including cancer risk, following exposure to glyphosate-based herbicides.

          47.    But in my opinion, based on the composition of formulated, glyphosate-based

herbicides (GBHs) sold by Monsanto since the early 1980s, Roundup had almost certainly

always been genotoxic. In 2015, the International Agency for Research on Cancer (IARC)

concluded that there is “strong evidence” that GBHs are genotoxic through at least two genotoxic

mechanisms known to be associated with cancer in humans.




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       48.     In my opinion, the fundamental flaw in EPA’s assessment of Roundup

genotoxicity has been, and remains, the agency’s near-sole focus on genotoxicity tests following

exposure to pure, glyphosate technical, rather than exposure to the formulated products actually

sprayed by people, and to which people are exposed.

       49.     EPA justified its approach to genotoxicity testing on the basis of a flawed

assumption -- that the “inert” ingredients used in the formulation of Roundup herbicides were,

indeed, inert biologically, and therefor posed no genotoxic risk.

       50.     The first evidence suggesting that glyphosate or glyphosate-based herbicides

could trigger genotoxic responses appeared in the scientific literature in the 1990s.

       51.     By 2003, there was considerable evidence in peer-reviewed science journals

suggesting that at least certain glyphosate-based herbicides (GBHs) were genotoxic, a conclusion

concurred with by Dr. Parry, a leading genotoxicity expert hired by Monsanto as a consultant.

       52.     IARC found “strong evidence” of glyphosate and GBH genotoxicity in its 2015

assessment, highlighting two genotoxic mechanisms that can lead to cancer.

       53.     The record makes clear that Monsanto was reluctant to test their formulated

glyphosate-based herbicides for both genotoxicity and cancer.

       54.     Dr. James Parry was hired by Monsanto to help the company evaluate published

studies suggesting a genotoxic response following exposure to glyphosate and/or GBHs. After

his reviews of multiple published and proprietary Monsanto genotoxicity studies, Dr. Parry

recommending that Monsanto carry out new studies in about a dozen areas.

       55.     Rather than sponsor the genotoxicity studies that Dr. Parry had recommended,

Monsanto commissioned glyphosate-friendly scientists to review and summarize the then-

existing, glyphosate genotoxicity database.




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       56.     Since the 1990s, Monsanto has commissioned at least four purportedly

“independent” scientific reviews on the genotoxicity of glyphosate and/or glyphosate-based

herbicides. Each one concludes there is no credible evidence to suggest glyphosate or

formulated, Roundup herbicides pose a significant genotoxic risk.

       D. Differing EPA and IARC Assessments of Glyphosate Genotoxicity

       57.     EPA’s in-depth, post-IARC risk assessment of glyphosate was entitled

“Glyphosate Issue Paper: Evaluation of Carcinogenic Potential” and is dated September 12,

2016. It contains the EPA’s detailed assessment of genotoxicity studies conducted on glyphosate

technical, and restates its long-held position -- “The overall weight of evidence indicates there is

no convincing evidence that glyphosate induces mutations in vivo via the oral route” based on

current, labeled uses and typical, expected exposures.

       58.     The EPA also explains in this September 2016 report that it’s detailed assessment

is limited to genotoxicity studies on glyphosate technical, and that the agency is waiting for the

completion of ongoing work by the National Toxicology Program (NTP) on formulated GBH

genotoxicity prior to reaching a judgement on differences in the genotoxicity of pure, technical

glyphosate, in contrast to GBHs.

       59.     In its March 2015 paper reporting the “probably carcinogenic to humans”

classification of glyphosate and GBHs, the IARC Working Group highlighted “strong evidence”

of genotoxicity as an important factor supporting its ultimate “probably carcinogenic to humans”

classification. The basis for IARC’s glyphosate classification, and the genotoxicity studies

reviewed by the Working Group, are described in detail in the IARC Monograph 112 volume

initially released on July 29, 2015.




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         60.   The mutagenicity and genotoxicity studies and assays cited and relied upon by the

EPA and IARC differ significantly, as evident in my analysis of the genotoxicity-related tables in

the EPA and IARC risk-assessment documents. The data sources and methods used in my

analysis are summarized here, and described more fully in Appendix C. One important point to

note -- several studies report the results of multiple assays, while others report results on both

glyphosate technical and formulated GBHs. For this reason, the number of “positive” versus

“negative” assay results recorded in the EPA and IARC tables exceeds the number of studies

cited.

         1. Studies Relied Upon by EPA and IARC

         61.   Pages 99-125 of the 2016 EPA glyphosate oncogenic risk assessment discuss

studies on “Gene Mutations” involving technical (i.e. near 100% pure) glyphosate. Seven tables

in this section identify the specific, mostly regulatory studies on glyphosate technical that were

considered by EPA, and reports whether the study presented data positive for one or more

genotoxic responses, or were negative for genotoxicity.

         62.   The IARC Monograph report has a similar set of tables assessing roughly the

same categories of genotoxicity studies addressed in the EPA report, plus four types of studies

not considered by EPA (exposed humans, human cells in vitro - AMPA, non-human mammals in

vivo - AMPA, and non-mammalian systems in vivo - AMPA). Like the EPA report, the IARC

Working Group also identifies whether a given study was positive or negative for evidence of

genotoxicity. But unlike EPA, the IARC Working Group reviewed mostly studies in peer-

reviewed journals in each category on glyphosate technical and formulated GBHs.

         63.   Of the approximate 120 genotoxicity studies in all categories cited by IARC, EPA

cited about 50 in its 2016 report, or about 42% of those considered by IARC.




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       64.     Of the ~120 studies reviewed by IARC, ~55 fell in mammalian test categories,

and are most relevant to assessment of glyphosate’s potential to trigger human cancer through a

genotoxic mechanism of action. EPA considered abut 40 of these studies, or about 75% of the

number reviewed by IARC.

       65.     Of the five studies on “Exposed Humans” reviewed by the IARC Working Group,

three were regarded as positive. These studies were given little or no weight by EPA because

they entailed exposures to formulated GBHs, not technical glyphosate (the focus of EPA’s

review).

       66.     IARC reviewed five studies classified as “Oxidative Stress Human Cells in vitro -

Glyphosate,” of which four were positive. EPA considered just one of these studies (the positive

Mladinic et al [2009b] study).

       67.     I conducted an analysis of the outcome of the glyphosate and GBH genotoxicity

studies conducted or commissioned by Monsanto or other registrants, in contrast to studies

carried out by scientists not working on behalf of a GBH registrant and who published their

study results in peer-reviewed journals.

       68.     All regulatory studies cited in the September 2016 EPA report or in a Monsanto-

commissioned genotoxicity review article were analyzed relative to “positive” or “negative”

results. Likewise, all studies published in peer-reviewed journals that were cited by EPA and/or

the IARC Working Group were analyzed, along with whether they reported “positive” or

“negative” genotoxicity results.

       69.     Genotoxicity studies were listed in the seven categories the EPA used to organize

the glyphosate-technical genotoxicity studies the agency reviewed. The results of registrant-




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commissioned regulatory studies in each category were compared to the results of studies

published in peer-reviewed journals (public literature).

        70.     A total of 106 studies on glyphosate technical were identified. Of these, 52 were

regulatory studies and 54 were published in science journals.

        71.     Of the 52 regulatory studies assessing the genotoxicity of glyphosate technical,

only one reported a positive result (an in vivo bone marrow micronucleus study), while 35 of the

public-literature studies reported positive evidence of genotoxicity.

        72.     In the case of studies assessing the genotoxicity of formulated GBHs, registrants

conducted 44 studies cited by the EPA and/or in a Monsanto-commissioned review article, and

another 70 were published in science journals, for a total of 114.

        73.     Across the total 114 genotoxicity studies on formulated GBHs, none of the

regulatory studies reported evidence of a genotoxic response, compared to 51 (73%) of the

public-literature studies.

        74.     A review of the date when registrant-commissioned, genotoxicity studies were

conducted, compared to when public literature studies using the same assay system were

conducted, is revealing.

        75.     In terms of In vivo chromosomal aberration studies on glyphosate technical, the

most recent registrant study was completed in 1994, while two of three public literature studies

were done in 2012. In the case of the same type of study on formulated GBHs reported in public

literature, seven out of eight assays were completed in the 2005-2011 (five positive), while no

such study on GBHs was carried out by registrants.




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       76.     The 15 In vivo micronuclei assays carried out by registrants on GBHs were done

during or before 2011, all negative. Five of 16 public literature studies were done from 2011

through 2013 (all positive).

       77.     In terms of glyphosate technical assays exploring DNA damage in humans, only

two, negative registrant studies were completed, one in 1978 and the other in 1982. The public

literature contains studies reporting the results of 20 assays conducted since 2004, 18 of which

reported one or more positive result.

       78.     In my opinion, assays designed to detect direct damage to DNA in humans

following exposure to a formulated GBH are the most important in evaluating glyphosate and

GBH genotoxicity. In 2001, Monsanto conducted one direct DNA damage study on a GBH

formulation, MON 35050. It reported no evidence of oxidative stress in liver or kidney cells. The

public literature reports the results of 32 direct DNA damage assays since 2005, of which 27

have reported one or more positive responses.

       79.     Based on the above analysis, I conclude that the dramatic differences in the results

of genotoxicity assays reported in registrant-sponsored studies, in contrast to assay results

appearing in peer-reviewed journals, arise from the state-of-science when various studies were

conducted, coupled with the generally more sensitivity assay systems used by the scientists

publishing their results in peer-reviewed journals.

       2. Monsanto’s Response to Dr. Parry’s Recommendations

       80.     Dr. Parry provided 11 specific recommendations to Monsanto, following his

review of several published and Monsanto-commissioned genotoxicity studies. Additional

testing of technical glyphosate was called for in four areas, while seven areas of new testing were

recommended in the case of formulated GBHs.




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          81.   In one of the four areas of testing of technical glyphosate, Monsanto carried out

seven tests, each designed to confirm, refute, or explain the findings in the positive in vivo bone

marrow micronucleus study conducted Bolognesi et al (1997). No new studies were conducted in

the other three areas Dr. Parry had recommended.

          82.   In addition, Dr. Parry placed low priority on additional studies of glyphosate

technical using Bacterial reverse mutation assays in light of the more than two-dozen negative

Bacterial reverse mutation regulatory studies that had already been conducted. Since delivery of

Dr. Parry’s report to Monsanto, more than a dozen new, Bacterial reverse mutation studies have

been done by registrants on glyphosate technical.

          83.   Dr. Parry emphasized, in particular, the need to conduct more thorough and more

sensitivity testing of formulated GBHs. In the seven areas of testing recommended by Dr. Parry

on GBHs, Monsanto carried out 15 tests in just one area -- Bacterial reverse mutation studies.

          84.   I conclude that Monsanto’s failure to test formulated Roundup herbicides for

genotoxicity, as recommended by Dr. Parry, is a primary reason why the EPA and other

regulatory authorities have failed for decades to recognize the potential for glyphosate-based

herbicides to increase the risk of cancer, including risk of NHL, via a genotoxic mechanism of

action.

          85.   It is my opinion that the absence of a single, well-designed chronic feeding

oncogenicity study in mice or rats exposed to formulated glyphosate-based herbicides, rather

than pure glyphosate technical, is the most important single gap in the existing scientific

appraisal of the human-health risks stemming from use of, and exposure to Roundup and other

glyphosate-based herbicides.




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       86.     I conclude that Monsanto should have, and could have conducted such a study in

the 1990s, and that over time the scientific need for such a study has grown stronger in step with

the growing number and diversity of positive glyphosate and GBH genotoxicity studies, coupled

with suggestive evidence of a link between GBH use and exposures and non-Hodgkin lymphoma

in multiple epidemiological studies.

       87.     Last, in my opinion, the failure of EPA to require Monsanto, or any other GBH

registrant, to carry out a chronic oncogenicity feeding study using a formulated GBH does not

obviate the scientific importance and regulatory risk-assessment relevance of such a study. It also

does not relieve Monsanto of its obligation, as the dominant manufacturer of GHBs, to carry out

such a study in the interest of assuring its formulated products are as safe as the company had

been claiming since the late 1970s.

       88.     The primary goal driving Monsanto’s herbicide business is opening up new

markets for Roundup-brand products (i.e., gaining new registrations), and minimizing any

possible restrictions on the potential sale of Monsanto products already on the market.

       89.     Actions aimed at achieving these goals are often referred to inside Monsanto as

preserving glyphosate’s “Freedom to Operate” (FTO).

       90.      Monsanto reached out to and systematically used a network of independent

scientists in conducting a variety of efforts to protect glyphosate’s FTO.

       91.     The goal of Monsanto’s engagement with independent scientists was succinctly

stated in an internal, May 26, 1999 email. The goal is to encourage “… people to get up and

shout Glyphosate is Non-toxic.” (MONGLY00904009)

       92.     “Non-toxic” is not an accurate description of glyphosate or Roundup herbicides.

Yet through advertising, promotional material, and messaging advanced by sales staff, Monsanto




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invested significant effort and resources in a sustained effort to convince the general public that

Roundup is “safe” because it is “non-toxic.”

         1. Monsanto’s Third Party Network of Experts

         93.       Monsanto made heavy use of supposedly independent scientists in its “Scientific

Outreach” (SO) and PR campaigns in support of the safety of glyphosate and Roundup-brand

herbicides. In some instances, such individuals were appointed to an ad hoc, or standing advisory

committee or panel. In other cases, they simply worked on a fee-for-service basis on a defined

task.

         94.       Many of these glyphosate-friendly, consulting experts had once worked for

Monsanto. Many have authored or co-authored one to several papers commissioned and paid for

by Monsanto. Most of these papers contained passages ghost-written by Monsanto scientists, and

some were largely ghost-written by Monsanto. “Ghost-writing” refers to contributions to a

written document by a person not listed as the author, or among the co-authors of the document.

         95.       In addition, Monsanto frequently asked and/or sponsored glyphosate-friendly

experts to:

               •   Present oral and/or written comments to regulatory agencies, or their advisory
                   groups;
               •   Make presentations to allied industry groups, academics, or professional society
                   meetings; and
               •   Assist in gaining positive media coverage of glyphosate health issues.

         96.       Several examples of the roles, activities, and contributions of glyphosate-friendly

scientists are described in the body of this report, but there are far too many instances and

individuals involved to provide a comprehensive accounting of Third Party Network activities.

         97.       Based on my review of records in this case, I am struck by the scope of

Monsanto’s efforts to utilize supposedly independent scientists to: (1) restate company positions




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and scientific conclusions, (2) influence and contribute to the literature in peer-reviewed, science

journals, (3) shape the information accessible to regulators, and (4) reinforce and/or amplify

Scientific Outreach and PR messages targeting the farm community, allied organizations, the

general public, and political leaders regarding the safety of glyphosate-based herbicides.

       98.     Engaging independent scientists in research, outreach, and PR activities is routine

across the pesticide industry. But in my opinion, the degree to which Monsanto shaped and

controlled the activities and communications of “independent” scientists is unprecedented.

       99.     My review of the discovery record leads me to conclude unequivocally that the

actions and activities of Monsanto’s Third Party Network of scientists were not focused on

deepening scientific understanding of Roundup risks, nor on finding the best ways to avoid

possibly high-risk applications. The Network was managed and deployed to reinforce Monsanto

talking points and science judgements, particularly those that were out of step with science

published in peer-reviewed journals or the views of Monsanto consultants, like Dr. Parry.

       100.    The more formal statement of the “Overall purpose” of Monsanto’s “Glyphosate

Scientific Outreach Plan” (SO Plan) appears at the beginning of a June 1999 document:

       “Ensure that Monsanto’s glyphosate-containing herbicides are widely viewed throughout
       the scientific community as posing no threat to human health or the environment. This
       support [from Third Party Network experts] will be used to favorably influence current
       and future possible challenges in the regulatory and public arena.” (GLYMON00904774)

       101.    Note in particular the unconditional statement in the above-quoted paragraph --

“…no threat to human health of the environment.” This statement stands in sharp contrast to

more nuanced statements by scientists commissioned by Monsanto to review the genotoxicity or

oncogenicity literature, or by the EPA. For example, the abstract of Kier and Kirkland’s 2013

review of glyphosate genotoxicity ends with this statement:




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       “Glyphosate and typical GBFs [GBHs] do not appear to present significant genotoxic risk
       under normal conditions of human or environmental exposures.”

       102.    Based on the contents of this 2013 review, I conclude that Kier and Kirkland do

not rule out the possibility of some genotoxic risk from exposures to GBHs under normal

conditions, nor the possibility of significant genotoxic risk in the event of unusually high GBH

exposure episodes. In my opinion, both such possibilities are generally consistent with the results

of the 2016 EPA review, as well as the IARC review.

       2. Cherry Picking Science

       103.    The record in this case shows, in my opinion, that Monsanto does not, in general,

use science in the organized pursuit of knowledge and deeper understanding of the potential

human and environmental risks stemming from applications of Roundup herbicides, but rather to

gain new product registrations, and defend the company’s Freedom to Operate, especially when

jeopardized by new information regarding potential risks.

       104.    In many instances discussed in this report, Monsanto has selectively drawn upon

the results of studies, cherry-picking the findings most favorable to its position and desired

outcome, while ignoring, or criticizing those findings that caste a less favorable light on the

safety of glyphosate and Roundup herbicides.

       105.    Based on my review of the record, Monsanto’s biased and selective use of science

is systemic and recurrent, and is driven predominately by the corporate goal of protecting

glyphosate’s Freedom to Operate.

       106.    In my opinion, in every aspect of its “Scientific Outreach” program, in

communications with regulators, public presentations and commentaries, and via ghost-written

materials, Monsanto spins science to support its FTO and attain the company’s regulatory

objectives.



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       107.    I further conclude that Monsanto rarely uses science as a structured path to deeper

insights on the properties and toxicity of its products, so that better ways can be identified to

manufacture inherently safer Roundup-brand herbicides, and then also assure they are applied as

safely as possible.




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III.    Expert Background and Qualifications

        109.   I received a B.A. in Economics from Harvard University in 1971, and a Ph.D. in

Agricultural Economics from the University of Wisconsin in 1980. I have worked on the impact

of agricultural technology on pesticide use, efficacy, and risks, as well as on public health and

farmer costs for nearly 40 years.

        110.   My work has encompassed the impacts of regulatory policies, requirements,

actions, and laws on pesticide use, dietary exposure, worker risks, pest management systems, and

food quality and safety.

        111.   I was the Staff Director of the Subcommittee on Department Operations,

Research, and Foreign Agriculture (“DORFA”) of the House Committee on Agriculture for three

years (1981 to 1983). This Subcommittee had jurisdiction over the Federal Insecticide,

Fungicide, and Rodenticide Act (“FIFRA”), the primary federal statute governing pesticide

regulation.

        112.   During this period, I organized several DORFA hearings on pesticide issues, and

worked with Members of Congress in drafting potential changes in federal laws impacting the

Environmental Protection Agency’s (EPA) Office of Pesticide Programs (OPP). During my

tenure as the DORFA Staff Director, around one-half of the time and focus of the Subcommittee

was devoted to pesticide regulatory issues.

        113.   I made dozens of visits to OPP headquarters during this time-period, collecting

information and speaking with OPP management, staff, and scientists on issues that had been

brought to the attention of the Subcommittee, as well as issues of concern to OPP. These visits

resulted in the flow of substantial information from OPP to the Subcommittee. Information

provided by OPP helped the Subcommittee prioritize the issues addressed in forthcoming




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Subcommittee hearings, and/or in need of legislative intervention.

       114.     On behalf of the Subcommittee, I organized several hearings on pesticide

regulatory activities, issues, and controversies. This entailed drafting a hearing charter (purpose,

focus, goals), identifying and securing the participation of witnesses, managing the flow of

information submitted as part of delivered testimony, and preparing the hearing report issued by

the House Committee on Agriculture.

       115.     The Subcommittee carried out a two-year investigation of pesticide regulatory

policy and issues, with a principle focus on OPP/EPA activities. Several controversial areas of

EPA action, or inaction, arose during the investigation. These included the OPP and industry

response to the IBT scandal, the role of state versus federal government agencies in pesticide

regulation, the way known or possible carcinogenic pesticides were regulated, the timeliness of

OPP decision-making, the burden of proof governing OPP suspension and cancellation actions,

the cost of program activities and possible need for user fees, state versus federal roles, among

other issues.

       116.     During the DORFA investigation of OPP activities, I visited OPP in Crystal City

multiple times. I met with managers in the various divisions of OPP, as well as with staff

scientists in the residue chemistry, toxicology, and registration divisions. I interacted with most

of the senior OPP administrators and staff who were responsible at the time for OPP’s

assessment and regulation of glyphosate herbicides.

       117.     The DORFA Subcommittee investigation culminated in the publication of a

Subcommittee report (Volume I), and three supporting volumes of information (Volumes II-IV).

       118.     The IBT toxicological data scandal was among the issues explored in the

Subcommittee’s investigative report and supporting volumes. At the request of the




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Subcommittee, OPP provided a detailed accounting of the pesticide-company studies submitted

to OPP from IBT. The list included several studies commissioned by Monsanto on glyphosate. In

fact, most of the initial data supporting the first regulatory decisions on glyphosate in the 1973-

1980 period was from IBT, and was subsequently deemed invalid and/or fraudulent. All such

studies had to be replicated, and were replicated during the 1980s and 1990s.

       119.    While serving as the DORFA Subcommittee Staff Director, I met multiple times

with Mr. Chester Dickerson. Mr. Dickerson worked for Monsanto and was based in the

corporation’s Washington, D.C. office. Mr. Dickerson attended nearly all pesticide-related

hearings conducted by the Subcommittee in the time period I worked as Staff Director.

       120.    Mr. Dickerson advanced his, and Monsanto’s views regarding the way the OPP

was implementing federal pesticide law. We discussed many times the OPP response to the IBT

scandal, and the subsequent steps Monsanto took to replace fraudulent data. Other common

topics of discussion included the need for legislative reforms, pesticide risk-assessment issues,

and how known or possible oncogenic pesticides were being regulated.

       121.    From 1984-1990 I served as the Executive Director of the Board on Agriculture, a

major unit of the National Academy of Sciences/National Research Council (“NAS/NRC”).

       122.    In February 1985, the EPA “asked the Board on Agriculture (“BA”) of the

National Research Council to study the EPA’s methods for setting tolerances for pesticide

residues in food. Specifically, the EPA asked the board to examine the current and likely future

impacts of the Delaney Clause on the tolerance-setting process” (quote from preface, Regulating

Pesticides in Food: The Delaney Paradox, NAS, 1987).

       123.    My job was to support the BA’s work in recruiting the study committee,

collecting necessary information and records from the OPP, commissioning and overseeing




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analytical work in support of the Committee’s deliberations, and drafting the Committee’s report,

which was entitled Regulating Pesticides in Food: The Delaney Paradox.

       124.    The report was released in 1987. It estimated the level and distribution of

potential cancer risk across foods, stemming from the about 2,500 tolerances covering the

residues in food of 53 oncogenic pesticides. It also called for the reform of the Delaney Clause’s

paradoxical impact on pesticide tolerance setting.

       125.    In 1988, the Congress directed the EPA to request the Board on Agriculture of the

NAS/NRC to conduct a study on the unique vulnerability of pregnant women, infants, and

children following pesticide exposures. This new study was commissioned as a follow-up to the

Delaney Paradox report.

       126.    As ED of the Board on Agriculture, I developed the scope of work, helped the

Board identify and recruit the study committee, and supported the initial 2.5 years of the

Committee’s work. I left my position as the ED of the Board on Agriculture in late 1990.

       127.    The report written by the new NAS/NRC Committee was entitled Pesticides in

the Diets of Infants and Children. It was released in June, 1993. Hearings on the report were held

in both the House and Senate on the day of release. The recommendations were widely embraced

by the pesticide industry and environmental/consumer advocates, and providing the basic

framework for an historic piece of legislation that was passed and signed into law in the summer

of 1996, the “Food Quality Protection Act” (“FQPA”).

       128.    I started Benbrook Consulting Services (“BCS”) in late 1990. Since that time

BCS has carried out dozens projects involving pesticide use, risks, and regulation for federal and

State government agencies, companies, private institutions, and non-governmental organizations.

       129.    In the 1990s, several BCS projects involved analytical work on risks stemming




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from residues of cancer-causing pesticides in food. The impact of the Delaney Clause, and

possible legislative changes to it, was a focus of all such projects, as was the long-standing

effort by the Congress to pass legislation implementing the recommendations in the 1987 and

1993 NAS/NRC reports.

        130.    BCS’s major client in the 1993-2002 period was Consumers Union (“CU”),

publisher of Consumer Reports. I was hired initially to work with senior CU scientific staff in

writing a book on pest management, and pesticide use and regulatory issues in the U.S. Pest

Management at the Crossroads (PMAC) came out in October 1996 and was widely disseminated

in pesticide policy circles.

        131.    Chapter 3 in PMAC addressed human-health risks stemming from pesticide use

and exposure, and notes that “More than 70 active ingredients cause cancer in animal tests, and

cancer has been the most common reason cited by the EPA in pesticide cancellation and

suspension actions.”

        132.    Chapter 4 in PMAC focuses on pesticide regulation and includes a detailed

explanation of the purpose, provisions, and impact of the 1996 Food Quality Protection Act, with

multiple references to both the 1987 and 1993 NAS/NRC reports.

        133.    The FQPA changed the basic standard and risk-assessment process governing the

setting of tolerances in the case of possibly cancer-causing pesticides that are known to

concentrate in processed foods.

        134.    The FQPA’s core reforms were effective upon enactment, and required the EPA

to revisit the 8,066 tolerances covering residues of pesticides then on the market. These included

130 tolerances covering all forms of glyphosate and its metabolites, as well as 14 additional

tolerances covering residues of the isopropylamine salt form of glyphosate (the primary form of




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glyphosate sold by Monsanto).

       135.    From late-1996 through about 2002 I continued work with CU on the

implementation of the FQPA. I carried out multiple analytical projects for CU, the results of

which were typically included in CU’s rule-making comments to the EPA on various aspects of

FQPA implementation. BCS also worked on FQPA implementation issues for other clients.

       136.    In 1996, the first genetically-engineered (“GE”), herbicide-resistant (“HR”)

soybean and cotton seeds were commercially sold. These crops had been engineered to tolerate

post-emergent applications of glyphosate (i.e., an application over-the-top of a growing crop),

and were labeled “Roundup Ready” crops. Applied in this way, at this stage of crop growth,

glyphosate killed actively growing weeds in farm fields, but left GE crops unharmed.

       137.    The commercialization of GE-HR crops triggered rapid growth in the overall

sales and pounds applied of glyphosate in the U.S., and globally.

       138.    I began Ag Biotech InfoNet in 1998, a website covering the use, risks, and

regulation of genetically engineered crops. Herbicide-resistant crops, and especially Roundup

Ready crops, were a major focus of the website, as was the use and regulation of glyphosate-

based herbicides. The website was taken off the Internet around 2005 because BCS could no

longer support the rapidly growing workload and expense required to keep it current.

       139.    As part of my ongoing analytical work since the early 1990s, I download the

pesticide use data collected and released annually by the U.S. Department of Agriculture

(USDA). Each year I track changes in herbicide use, as well as overall pesticide use in the three

major GE crops – soybeans, corn, and cotton.

       140.    It was clear to me by the early 2000s that both herbicide and overall pesticide use

was rising on acres planted to GE-HR soybeans, corn, and cotton, and that Monsanto claims that




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its new, GE crops were reducing pesticide use were not supported by official USDA pesticide

use data.

       141.    In 2003 I released the first of several reports on the impacts of GE crops on

pesticide use. Ag BioTech InfoNet Technical Paper #6 was issued in 2003. It documented the

increase in overall pesticide use on GE soybeans, corn, and cotton from 1996 through 2002. In

2004, Ag BioTech InfoNet released Technical Paper # 7, quantifying the impact of GE crops on

pesticide use over the first nine years of use.

       142.    During my tenure as Chief Scientist of The Organic Center (TOC), I wrote and

issued a November 2009 “Critical Issue Report” covering the impact of GE crops on pesticide

use over the first 13 years of use. And in October 2012, I published a paper entitled “Impacts of

genetically engineered crops on pesticide use in the U.S. – the first 16 years” in the peer-

reviewed journal Environmental Sciences Europe.

       143.    Each of the reports I wrote on the impact of GE crops on overall pesticide use

highlighted the role of rapidly-rising use of glyphosate-based herbicides in pushing upward the

overall pounds of pesticides applied by U.S. soybean, corn, and cotton farmers.

       144.    The reason why was clear and not in dispute – farmers who planted Roundup

Ready crops switched away from herbicides generally applied at a rate of 0.01 pound of active

ingredient per acre to over 1.0 pounds, and averaging about 0.3 pounds per acre. Glyphosate-

based herbicides, on the other hand, were typically applied at an average rate per crop year of

between 1 and 2 pounds of glyphosate per acre. Replacing two herbicides applied at 0.3 pounds

per acre, with one application of glyphosate at 1.0 pound per acre increases herbicide use, when

“use” is measured by average pounds of active ingredient applied per acre (the most common

metric used by EPA and the USDA).




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        145.   In 2016, I published the first complete accounting of the use of glyphosate-based

herbicides in the U.S. and globally, based on publicly available pesticide use data. The paper was

entitled “Trends in glyphosate herbicide use in the United States and Globally” and was

published in Environmental Sciences Europe (Vol 28:3; DOI 10.1186/s12302-016-0070-0).

        146.   Also in 2016, I was the principle and senior author of a paper entitled “Concerns

over use of glyphosate-based herbicides and risks associated with exposures: a consensus

statement” that was published in the peer-reviewed journal Environmental Health (Volume

15:19; DOI 10.1186/s12940-016-0117-0).

        147.   From late 1990 through 2006, I ran BCS and all my work was via contracts with

BCS.

        148.   From 2006 through mid-2012, I worked as the Chief Scientist of The Organic

Center, a small non-profit responsible for tracking new science on the environmental and

consumer health impacts of organic food and farming. The impact of organic farming on

pesticide use and risks was an ongoing focus during my tenure as TOC Chief Scientist.

        149.   I received a non-tenure track, Research Professor appointment at Washington

State University in June 2012, a position I held for three years. During this time, I ran the

“Measure to Manage” program. Our focus was development and application of analytical tools

useful in quantifying the impact of agricultural technology and farm production systems on

agriculture’s environmental footprint and public health outcomes.

        150.   As a result of research collaborations with Newcastle University scientists, I was

appointed as a Visiting Professor in the School of Agriculture, Food and Rural Development,

Newcastle University in the United Kingdom.

        151.   In March 2017, I became a Visiting Scholar in the Department of Environmental




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Health and Engineering in the Bloomberg School of Public Health, Johns Hopkins University.

       152.    Both of these academic appointments are ongoing.

       153.    In the last four years, I have been deposed in the following cases:

           •   Laura Eggnatz, Katrina Garcia, and Julie Martin v. Kashi Company. Civil Case
               No.: 12-21678-CIV-Lenardo/O’Sullivan, U.S. District Court, Southern District of
               Florida, Miami Division.

           •   Barron v. Snyder’s-Lance, Inc. No. 0:13-cv-62496-Leonard-Goodman (S.D. Fla.).

           •   In re General Mills, Inc. Kix Cereal Litigation, Case No. 12-249 (KM) (JBC),U.S.
               District Court of New Jersey

           •   Monsanto litigation on non-Hodgkin lymphoma: Two-day deposition in the
               Dewayne Johnson v. Monsanto Company, Case No. CGC-16-550128, Superior
               Court State of California County of San Francisco; two depositions in the Hall-
               Peterson case; one deposition in the Adams case; and trial testimony in the
               Johnson case in the Superior Court of the State of California.


       154.    I charge $300.00 per hour for my expert witness work and travel. My professional

fee for time in depositions is set on a case by case basis.

       155.    My resume appears in Appendix A and includes my litigation history.




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IV.    The EPA Pesticide Regulatory Decision Process

       156.    The data requirements, risk assessment protocols, and decision criteria supporting

pesticide regulatory decisions made by the OPP/EPA change incrementally over time. The

changes have, to varying degrees, tracked scientific advances in the underlying residue

chemistry, toxicology, and environmental sciences.

       157.    Sorting out the impact of changes over time in data requirements, study protocols,

risk assessment methods, decision criteria governing OPP regulatory actions, and politics is a

complex endeavor, especially in the case of a pesticide like glyphosate that has been registered

by EPA since the mid-1970s and gone through such profound changes in use, test results, levels

and patterns of exposure, and risk assessments.

       158.    Changes in when, where, how, and how widely a pesticide is used often occur

over time, and such changes typically alter exposure and risk levels in ways that are hard to

predict. In my opinion, the record in this case shows clearly that this is indeed the case with

glyphosate and GBHs.

       A.      Three Major OPP/EPA Actions and Decisions

       159.    There are three major types of pesticide regulatory actions and/or decisions made

by the OPP: (1) a “yes”/”no” response, or a conditional or amended “yes,” to a petition from a

pesticide manufacturer asking the EPA to establish new tolerance(s) covering residues of a

pesticide in food(s) derived from a crop or crops for which the pesticide will be labeled for use;

(2) a “yes”/”no” response, or an amended or conditional “yes,” to an application from a pesticide

manufacturer for a registration (i.e., label) newly authorizing a pesticide product for use on

specified crops under defined conditions; and (3) a cancellation, suspension, or refusal to re-

register an existing registration for a pesticide already on the market; or, re-registration of an




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existing product under different, and usually restricted terms and conditions.

       160.    Each of these three types of decisions and actions arises from well-defined OPP

regulations that set out application, review, risk assessment, and approval/denial processes.

These processes typically require companies to conduct new studies, and submit new data to the

agency to “support” any requested, new tolerances or registered uses.

       161.    Once all, or most of the requested and/or required information is submitted to

OPP, a scientific review is undertaken of submitted studies in the residue chemistry, toxicology,

or environmental effects branches.

       162.    OPP staff determine whether: (1) all required studies have been undertaken and

submitted, (2) the studies were conducted in accord with Good Laboratory Practices (GLP) and

other requirements set forth in EPA guidance and policy documents, and (3) study results

support the “gateway” OPP action(s) or decision(s) requested by the applicant/registrant.

       163.    By “gateway actions,” I mean actions or decisions that OPP/EPA must make prior

to approving a new registration application. The three most important are:

               a.     The setting of a tolerance level at “x” parts per million in food “y.”

                      Tolerances are set at the level needed to cover residues of the pesticide

                      likely to be in crop “y” at harvest after an application made in accord with

                      all label directions, or in foods made from crop “y”.

               b.     Establishing a mammalian chronic Reference Dose at “z” milligrams of

                      pesticide per kilogram of bodyweight. A chronic Reference Dose (cRfD)

                      is the key human-exposure benchmark that cannot be exceeded by

                      approved registrations of a pesticide. It is measured in milligrams of

                      pesticide active ingredient per kilogram of an individual’s bodyweight, per




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                       day.

               c.      Whether the pesticide has potential to cause cancer. Pesticides are

                       classified by OPP/EPA as a possible, probable, or proven oncogene, or not

                       carcinogenic, or unknown as to oncogenic potential.

       B.      Applications to Register a New Pesticide

       164.    In the case of an application for a food crop use, or uses, of a new pesticide active

ingredient, the OPP must decide which data requirements must be satisfied prior to making a

final “yes”/”no” decision. Required and submitted studies must be evaluated by OPP for

adherence to study protocols and Good Laboratory Practices (GLPs) set forth in OPP’s data

requirements in Section 408 of the Code of Federal Regulations.

       165.    Any required tolerances must be approved and in place prior to final OPP action

in response to a registration application.

       166.    Companies generate studies and collect substantial data to submit to the OPP in

support of requested actions. Initial tolerance petitions are typically accompanied by the

toxicology studies conducted by the petitioner, as well as request for EPA to establish the

pesticide’s chronic Reference Dose at a given level, expressed as milligrams of pesticide per

kilogram of bodyweight per day. A pesticide’s chronic Reference Dose (cRfD) establishes the

maximum amount of the pesticide that a person of known weight can be exposed to in a day,

without exceeding the EPA’s “level of concern”.

       167.    In the event estimated exposures exceed the EPA’s “level of concern,” the agency

will either request additional data to refine its estimates of exposure and risk, or impose

restrictions on labeled uses that bring expected exposures below the agency’s “level of concern”.

       168.    Once all requested data is submitted and deemed acceptable (i.e., it satisfies OPP-




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imposed data and GLP requirements), OPP science-branch managers then determine whether

submitted studies support the actions requested by applicants (set a tolerance, register a new use

of a pesticide). The key decision criterion is whether the exposure levels likely to occur

following use of a pesticide in accord with its label directions might exceed EPA’s “level of

concern.”

       169.    Such “levels of concern” vary depending on: (1) the exposed organism; (2) the

vulnerability of population groups; (3) the type of risk under review (e.g., acute, chronic,

reproductive); (4) whether individuals are exposed to average levels of chronic exposure

expected across the U.S. population, or are exposed as a result of occupational use of a pesticide,

and (5) the magnitude, persistence, and reversibility of any possible adverse effects.

       170.    The level of certainty/uncertainty in OPP exposure or risk assessments also plays

a role in determining whether the agency’s “level of concern” has been exceeded.

       171.    The EPA will approve the registration of a new pesticide if all applicable data

requirements are satisfied, and no estimated exposure levels for non-target organisms (e.g.,

people, birds, bees, fish), exceed EPA’s “level of concern.”

       172.    In some cases, the OPP will grant a “conditional registration” for a new pesticide,

or a new use of a previously registered pesticide. Such registrations are accompanied by a

requirement that the registrant must conduct and submit additional studies or data to OPP by a

given date.

       C.      Actions Impacting the Future Use of an Already-Registered Pesticide

       173.    In the case of re-registration, cancellation, and suspension actions impacting

already-registered pesticide uses, the EPA is bound by the FIFRA statute to balance the risks and

benefits associated with ongoing or altered use of the already-registered pesticide.




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       174.    As stated in the 1996 Consumers Union book Pest Management at the

Crossroads, “new pesticides are guilty until proven innocent, with applicants bearing the burden

of proof. Old pesticides are innocent until proven guilty, with EPA bearing the burden of proof”

(page 93).

       175.    Before restricting the use of a previously registered pesticide, OPP must first

show that: (1) exposure levels to one or more non-target organisms (and especially people),

exceed the EPA’s level of concern, and (2) the risks stemming from the ongoing use of the

pesticide exceed the benefits flowing from such uses.

       176.    To make judgements regarding risks versus benefits, the OPP must carry out

detailed assessments of how a given pesticide is used on a given crop, pesticide efficacy (number

and severity of pests controlled, how well are they controlled, and for how long), how use varies

across the country, the cost of the pesticide plus its application, and what combination of factors

can lead to exposures above EPA’s level of concern.

       177.    This use-specific information is used by the EPA to identify relatively high-risk

uses, as well as options to reduce exposure levels. At the end of its assessment of pesticide uses,

benefits, and risks, the OPP must decide whether restricting or cancelling the use of a pesticide

will cause unacceptable crop losses or damage, and/or force farmers to increase reliance on

another pesticide that might pose even more serious risks.

       D.      Impacts of OPP Cancer Determinations on Tolerance Setting

       178.    An “oncogen” is a chemical thought to possibly increase the risk of triggering

growth of benign and/or malignant tumors. A “carcinogen” is a substance thought to trigger the

growth of malignant tumors. Oncogenicity is the capacity to cause or amplify growth of benign

or malignant tumors, while carcinogenicity is the capacity to trigger or amplify growth of




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cancerous, malignant tumors.

       179.    The EPA was formed in 1972. According to a 1994 EPA document, cancer risk

had been, at that point in the agency’s history, the most commonly cited reason for OPP pesticide

cancellation and suspension actions (Status of Pesticides in Reregistration and Special Review,

738-R-94-008).

       180.    As of the mid-1980s, the NAS/NRC report Regulating Pesticides in Food – The

Delaney Paradox identified about 2,500 tolerances covering residues of 53 food-use pesticides

thought by EPA to pose some level of cancer risk (NAS/NRC, 1987).

       181.    As of June 1986, there were 8,477 food tolerances in the Code of Federal

regulations, so about 30% of all tolerances covered uses of possibly oncogenic pesticides (data

on number of tolerances from Table 2-1, p. 35, NAS/NRC, 1987).

       182.    Congressional hearings conducted by the DORFA Subcommittee in 1981-1983

included testimony from OPP officials, the pesticide industry, and consumer health advocates on

OPP methods and policies governing the regulation of possibly cancer-causing pesticides.

       183.    Special focus was directed to the conundrum faced by OPP/EPA in working

through sometimes conflicting statutory standards applicable to the tolerance setting process in

the case of certain possibly oncogenic pesticides. The “Delaney Paradox” arises from the

conflicting mandates in the two statutes governing the tolerance setting process.

       184.    The Federal Insecticide, Fungicide, and Rodenticide Act (FIFRA) is the dominant

statute governing pesticide regulation. It directs the OPP/EPA to apply a risk/benefit balancing

standard in deciding whether to approve a pesticide registration, reregister an already-approved

pesticide use, or cancel or suspend an existing registration.

       185.    According to the OPP –




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                  “Before EPA may register a pesticide under FIFRA, the applicant must
                  show, among other things, that using the pesticide according to
                  specifications ‘will not generally cause unreasonable adverse effects on
                  the environment.’ FIFRA defines the term ‘unreasonable adverse effects
                  on the environment’ to mean: ‘(1) any unreasonable risk to man or the
                  environment, taking into account the economic, social, and environmental
                  costs and benefits of the use of any pesticide, or (2) a human dietary risk
                  from residues that result from a use of a pesticide in or on any food
                  inconsistent with the standard under section 408 of the Federal Food,
                  Drug, and Cosmetic Act.’''

       Summary of the Federal Insecticide, Fungicide, and Rodenticide Act,
       https://www.epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-
       rodenticide-act)

       186.       A second federal statute establishes the authority for OPP/EPA to set tolerances --

the Food, Drug, and Cosmetic Act (“FDCA”). Section 408 was added to the FDCA in 1954 to

provide a mechanism for the Food and Drug Administration (FDA) to control pesticide residue

levels in food.

       187.       Section 408 authorizes the establishment of tolerances in raw agricultural

products at the point they would typically leave the farm gate. Section 408 requires such

tolerances be set at levels deemed necessary to protect public health. Residues in excess of the

applicable tolerance renders food adulterated and, hence, unlawful for sale.

       188.       Responsibility for establishing tolerances under Section 408 was granted to the

EPA upon formation of the agency in 1972.

       189.       Section 409 of the FDCA provides the FDA general authority to regulate food

additives – “any substance the intended use of which results or may reasonably be expected to

result…in its becoming a component of the food.” 21 USC § 321(s) [1984].

       190.       Section 409 goes on to exempt pesticide residues in food up to the level

authorized by a Section 408 tolerance applicable to the given food, recognizing that such levels

are subject to control via the tolerance setting process.



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       191.    However, in some cases, pesticide residues in raw agricultural commodities

concentrate in processed agricultural products, or food ingredients derived from the raw

agricultural commodities. Common examples include residues in raisins, in contrast to the grapes

the raisins come from (and indeed any dried food); milling wheat to produce wheat germ and

flour; making tomato paste or ketchup from raw tomatoes; or, extracting oils from crops like

canola, soybeans, or olives.

       192.    As in the case with Section 408, EPA has been granted the responsibility of

setting tolerances under the authority granted in Section 409 of the FDCA.

       193.    In 1958, Congress amended Section 409 of the FDCA to include the so-called

Delaney Clause (named after its author, New York congressman James Delaney). The clause

states that ”the Secretary of the Food and Drug Administration shall not approve for use in food

any chemical additive found to induce cancer in man, or, after tests, found to induce cancer in

animals.”

       194.    The Delaney Clause applies to all food additives regulated under Section 409 of

the FDCA, including pesticide residues in processed foods that concentrate above the level in the

corresponding raw agricultural commodity.

       195.    Based on the EPA’s interpretation of the requirements in Section 409, the key

factor in determining whether a Section 409 tolerance can be granted is whether a pesticide

residue concentrates in a processed food above the level typically found in the raw agricultural

commodity, not whether the level in the processed food is expected to exceed the Section 408

tolerance level.

       196.    In the 1980s and 1990s, EPA denied the registration of several new pesticides

and/or new uses of an already-registered pesticide that OPP had classified as a possible or




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probable oncogen, because a Section 409 food-additive tolerance was required.

       197.   Glyphosate was among the pesticide active ingredients that was directly impacted

by the Delaney Clause from 1983 into the 1990s, by virtue of OPP’s classification of glyphosate

as a possible human carcinogen in 1983.




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V.      Early EPA Actions on Glyphosate Herbicide

        198.    The Office of Pesticide Programs (OPP) in EPA processed the initial tolerance

petitions and registration applications for Monsanto’s new herbicide, glyphosate, in the 1974-

1977 period, just after the formation of the EPA in 1972.

        199.    Glyphosate is a broad-spectrum herbicide that kills any growing plant, tree, vine,

or shrub, whether regarded as a weed or a crop. The herbicide is most effective when sprayed on

young and immature plants; higher doses are required to kill well established, more mature

plants, vines, and trees.

        200.    Because of the indiscriminate nature of glyphosate, the herbicide cannot be

sprayed on any crops, trees, vines, or other desirable vegetation after the plants have germinated

and are actively growing. However, glyphosate is sometimes sprayed on crop fields prior to

harvest to kill the mother plants, to accelerate harvest operations. Such desiccation applications

of a GBH required the setting of much higher tolerances in the 1990s and 2000s for certain crops

and foods.

        A.      Initial Uses and Tolerance Actions

        201.    The first EPA actions on glyphosate occurred in 1974 and entailed approval of

temporary tolerances for the combined residues of glyphosate and its metabolite

aminomethylphosphonic acid (AMPA) in the crops harvested from 9,715 acres of experimental

crop uses of glyphosate. The temporary tolerances requested were: corn fodder and foliage at

0.5 ppm; cottonseed and cotton forage and hay at 0.5 ppm; and corn, soybean, and wheat grain at

0.1 ppm.

        202.    These temporary tolerances, along with similar tolerances on several other crops,

were approved and eventually became permanent tolerances, in response to tolerance petitions




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4G1444, 5G1523, 5G1561, and 5F1560.

       203.    The first agronomic crops on which glyphosate herbicides were registered for use

were cotton and soybeans. On March 5, 1976 Monsanto requested EPA to establish temporary

tolerances on cottonseed and cotton forage, and soybean grain, hay, and forage, in order to allow

harvest and use of crops grown under an Experimental Use Permit. (MONGLY03579293).

       204.    EPA approved Monsanto’s request for temporary cotton and soybean tolerances

in a letter dated September 7, 1976. The tolerances would be in effect for one year.

       205.    The letter goes on to alert Monsanto that: “A food additive tolerance is being

established for residues of glyphosate and its metabolite in soybean hulls at 20 ppm.” So, from

September 1976, Monsanto would have to request, and EPA approve, Section 409 (FDCA) food

additive tolerances for most new glyphosate food crop uses.

       206.    Such tolerances were then subject to the Delaney Clause and would not be

approved by EPA in the event glyphosate was determined to be a possible, probable, or proven

animal or human oncogen.

       207.    Over the next 10+ years, several other applications for Experimental Use Permits

(“EUPs”) were submitted and most were granted by EPA, sometimes in a modified form. In

addition, most of the requests for temporary tolerances required to allow crop harvest following

Roundup applications authorized by EUPs were approved. But most of these approval letters

from EPA to Monsanto contained a paragraph explaining that the agency had also established

necessary Section 409 food additive tolerances, on a temporary basis.

       208.    Both the number and scope of pending temporary and permanent tolerance

petitions expanded steadily during the late 1970s, as did the number of tolerances that were

granted.




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       209.    The status of OPP actions on 21 pending glyphosate tolerance petitions is

discussed in a March 15, 1977 Toxicology Branch memo by Raymond Landolt. It identifies the

data supporting existing tolerances, the need for some additional studies, and corrects an error in

an earlier memo regarding the no effect level in a three-generation rat reproduction study.

       210.    It also includes the following passage: “TB [Toxicology Branch] memo of June 4,

1974 concluded that ‘the residue on human food crop are negligible and the fraction that is non-

extractable would be sufficiently low to be toxicologically insignificant.’”

       211.    In 1975, permanent tolerances covering the combined residues of glyphosate and

AMPA were established at 0.1 ppm for corn and soybean forages and grain, as well as for wheat,

sorghum, oats, and barley grain and forages. With the exception of soybean, corn, and the wheat

straw tolerances, the above tolerances remained in place at the 0.1 ppm until 1996.

       212.    Wheat, soybean, and corn tolerances were increased 10- to 2,000-fold between

1980 and 2011:

               a.      Wheat grain from 0.1 ppm in 1990 to 5 ppm in 1996, and then to 30 ppm

                       in 2008. Wheat straw from 0.1 ppm to 40 ppm in 1990, and then to 85

                       ppm in 1996 and 100 ppm in 2000;

               b.      Soybean grain from 0.1 ppm to 6.0 ppm in 1985, and then up to 15 ppm in

                       1990, and to 20 ppm in 1996, while the soybean hay tolerance rose from

                       0.1 ppm to 200 ppm in 1990; and

               c.      Corn grain and forage tolerances rose from 0.1 in 1990 to 1.0 ppm in

                       1997. Corn field forge rose again to 6 ppm in 2003. The corn grain

                       tolerance was increased in 2011 to 13 ppm. Corn stover (cobs, leaf and

                       stalk residue that remain in fields) tolerance rose from 0.1 ppm to 100 ppm




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                       in 1997.

       213.    These tolerance increases were needed for two reasons. First, in the case of corn

and soybeans, to cover the much higher residues stemming from emerging and new uses of

Roundup herbicide in conjunction with crops genetically engineered to tolerate post-emergent, or

“over-the-top” applications of Roundup.

       214.    Second, on February 21, 1986, Monsanto submitted an application to OPP

seeking registration of preharvest use of glyphosate on soybeans. Such uses were intended to kill

the growing plants to accelerate harvest and/or preparation of treated fields for the planting of

another crop. (MONGLY03692349). The application included a list of proposed changes in

soybean tolerances required to cover residues in soybean grain and hay. In addition, Monsanto

acknowledged that a Section 409 food additive tolerance in soybean hulls would be required and

proposed that it be set at 100 ppm.

       215.    But as long as EPA considered glyphosate a possible oncogen, approval of the

Section 409 tolerance in soybean hulls would likely not occur. For example, in an April 18, 1985

memo to the Registration Division and Toxicology Branch from the Residue Chemistry Branch,

R.W. Cook reviews a pending tolerance petition that requests increases in glyphosate plus

AMPA tolerances in wheat grain and wheat straw. The memo states: “4b. TOX has concluded

(W. Dykstra, 3/19/85) that food additive tolerances for glyphosate are not appropriate due to the

Delaney rule.” (page 4) (MONGLY00221717).

       B.      Studies on Glyphosate Conducted by Industrial BioTest

       216.    Early interactions between OPP and Monsanto were complicated by the Industrial

BioTest (“IBT”) pesticide data scandal.

       217.    IBT was a contract laboratory doing toxicological studies destined for submission




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to OPP for many pesticide manufacturers in the 1970s and 1980s.

       218.    In 1976, a routine FDA audit of an IBT test facility uncovered problems with the

conduct of some studies and lead to a thorough EPA assessment of all studies done by IBT that

supported regulatory actions by OPP.

       219.    Most of the initial toxicological database supporting the early tolerance petitions

and registrations of glyphosate were done by IBT. The “IBT Tracking System Report” released

in 1983 notes 30 studies done by IBT on glyphosate, of which 17 were invalid and 2 were

pending final judgements (Exhibit B, “Summary of the IBT Review Program,” OPP, July 1983).

These invalid studies included long-term carcinogenicity rodent studies.

       220.    On July 1, 1977, OPP generated a one-page summary of the eight toxicology

studies used to support establishment of all existing glyphosate tolerances. These eight studies

were submitted between 1972 and 1974, and all were done by IBT.

       221.    An August 21, 1978 memo from William Dykstra of the Toxicology Branch to

Robert Taylor in the Registration Branch discusses the EPA’s assessment of the validity of a key,

2-year chronic toxicity study done in Albino rats by IBT. For a variety of reasons, the EPA

judged the study to be invalid, yet it served as the basis of the then-current chronic Reference

Dose of 0.1 mg/kg/day (called an ADI, or Acceptable Daily Intake in 1978).

       222.    A July 27, 1982 memo from the Toxicology Division to the Registration Division

reported EPA’s judgement that the 2-year dog study (No. 651-00565) done by IBT for Monsanto

and completed in 1973 was invalid because of missing data, failure to record diet preparation

records, and other deficiencies.

       223.    Accordingly, it took about a decade for EPA to determine that most of the

toxicological database submitted to the agency by Monsanto in the mid-1970s, and used by EPA




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to support all early EUP, tolerance, and registration actions, was invalid.

       224.    Problems also arose with some of the replacement studies that Monsanto

commissioned to replace invalid IBT studies. In July 1979, Monsanto decided to terminate a 2-

year mouse study on NNG (a glyphosate breakdown product) because of excessive mortality in

treated groups of animals. (MONGLY04272266).

       225.    Via an agreement with OPP, Monsanto repeated all the invalid IBT studies at

different laboratories, mostly during the 1980s. In the interim, EPA allowed existing registrations

and tolerances to remain in place. Accordingly, for about a decade, the early registrations and

tolerances covering all uses of glyphosate were not supported by a set of valid toxicology

studies.

       C.      Contaminants, Adjuvants, and Surfactants

       226.    The EPA grants two basic types of registrations and labels for pesticides:

technical use registrations and labels; and, formulated, “end use” product registrations and labels.

       227.    A first step in the regulatory process typically entails a chemical company

applying for and gaining a technical use product label covering a product composed of 100%, or

nearly 100% pure active ingredient. Such registrations are typically granted to basic

manufacturers that are involved in pesticide discovery research and development, and own

and/or operate chemical plants synthesizing pure, 100% pesticide active ingredients.

       228.    EPA-approved labels issued for technical use products generally do not include

detailed lists of approved crop or industrial uses, rates of application, or other specific use

instructions. They do address proper handling, storage, and transport methods and precautions.

       229.    Technical use pesticides may be used internally by the manufacturer to make its

own brand-name, formulated products, like Roundup.




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       230.    Technical use products are also sometimes sold to other pesticide companies that

formulate “end use” products labeled for specific uses. Such “end use” products are ready to be

used and applied by farmers, applicators, home owners, land managers, or other people involved

in pest management.

       231.    The distinctions between technical use and end-use products are important for

many reasons. Different data requirements apply. End use products often have a substantially

different set of environmental fate properties, compared to the pure active ingredient(s) in them.

These differences can significantly alter the nature and outcome of both environmental and

human-health risk assessments and outcomes.

       232.    Ounce for ounce, end-use products are usually less toxic to most organisms than

pure active ingredients, but some important exceptions occur, including glyphosate and GBHs.

       233.    Companies seeking and obtaining end-use product labels are responsible for a

much more extensive set of decisions regarding formulations, uses, rates, and methods of

application, than companies just seeking and gaining technical use registrations.

       234.    In addition, end-use pesticide products contain much more extensive label

directions and safety precautions that will hopefully assure that the pesticides do not cause any

“unreasonable adverse effect on man or the environment.”

       235.    The “label is the law” is a central provision in federal law that applies to all

pesticide labels. The presumption is that when a pesticide is applied in accord with all label

directions, there will be no “unreasonable” adverse impacts on people or the environment. If or

when such adverse effects arise following legal, on-label application(s), the pesticide product is

deemed “mislabeled” under FIFRA, regardless of EPA’s role in crafting, reviewing, and

approving existing label language.




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       D.      Sources of Pesticide Product Risk

       236.    Human health and environmental risks from pesticide use can arise from three

general categories of ingredients, or components, in a commercial pesticide product: (1) the

active ingredient itself, (2) any impurities in the active ingredient that are formed during the

manufacturing process, or as a result of a chemical reaction that occurs between the time the

pesticide is made and/or mixed at a plant and applied by a user, and (3) the so-called “inert

ingredients” added to certain end-use products (e.g., surfactants and adjuvants).

       237.    “Inert ingredients” are added to liquid, end-use pesticide products like Roundup

herbicide to assure that the active ingredient (glyphosate): (a) remains thoroughly mixed and

stable, (b) is compatible with other pesticides or liquid fertilizers that might be combined in a

tank-mix and applied via a single pass through a field, and (c) adheres to, and penetrates into

whatever weeds or unwanted vegetation the herbicide is sprayed on.

       238.    Herbicide adjuvants and surfactants are regarded as “inert ingredients” by EPA

because, in general, they do not contribute directly to the capacity of the herbicide to kill or

control weeds. But several inert ingredients, by themselves, pose toxicological and/or

environmental risks, and hence are not “inert” in the sense of contributing to the risk profile of an

end-use herbicide product.

       239.    In addition, several herbicide surfactants, including most of those used in

formulating Roundup-brand herbicides since the 1970s, alter the environmental fate and

toxicological risk profile of GBHs, compared to glyphosate technical.

       240.    In the case of formulated Roundup, surfactants increase herbicide efficacy by

enhancing the movement of the glyphosate in the formulated product through the surface of plant

leaves, into the inside of the plant where it is protected from rainfall and sunlight.




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               1.      Impurities in Glyphosate Active Ingredient

       241.    There are two impurities associated with Roundup herbicides that have received

considerable attention over the years: NNG and formaldehyde. NNG is formed when glyphosate

interacts chemically with nitrosating agents, to form the oncogenic nitrosamine contaminant

NNG. The later contaminant is an unavoidable, low-level contaminant in glyphosate that occurs

as a result of the manufacturing process used by Monsanto. (Wratten email of April 19, 2008 in

MONGLY02530945; more detailed discussions of both NNG and formaldehyde in glyphosate

appear in MONGLY03909609).

               2.      Adjuvants and Surfactants in Roundup End Use Products

       242.    The two major categories of inert ingredients are surfactants and adjuvants.

Surfactants are added to formulated herbicides to “interfere with proper membrane function”

(MONGLY01700591), such as keeping foreign chemicals, viruses, and bacteria out of cells.

       243.    Such differences can be important to regulators, applicators, and public health in

cases where the inert ingredients in a pesticide alter the toxicity profile of the formulated

pesticide product. This can happen in several different ways.

       244.    The primary surfactants used for years in Roundup formulations fall within the

family of polyoxyethylene-alkylamine (POEA) surfactants. According to Monsanto, a POEA

surfactant was generally present in a 3:1 ratio of glyphosate to POEA in the early years of

commercial use, with the concentration of POEA falling to ratios around 7:1 in Roundup brands

since ~2000. (MONGLY01700591).

       245.    Some inert ingredients change the properties of formulated pesticides, for

example by increasing the persistence of a pesticide or its ability to penetrate cell walls, or both.

               3.      Heightened Toxicity Caused by the Surfactants in Formulated
                       Roundup



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       246.    The distinction between the risks associated with 100% pure active ingredients

(i.e., glyphosate), in contrast to formulated products containing inert and active ingredients (i.e.,

Roundup or other GBH), is critical from the perspective of the accuracy of pesticide risk

assessments.

       247.    Almost all of the testing required by the EPA has been on technical glyphosate,

including all of the long-term animal oncogenicity tests. Hence, most EPA and Monsanto

judgements and claims relative to the oncogenicity of Roundup, are based on tests conducted

with pure glyphosate, an herbicide which no one has ever applied.

       248.    In the case of pure glyphosate versus formulated Roundup, the risks posed by the

latter are greater than the former for two primary reasons: (1) the inert ingredients in Roundup

(including their impurities) are more toxic than glyphosate itself, and (2) Roundup inert

ingredients increase the amount of glyphosate reaching and penetrating cell walls in exposed

mammals, and hence increase risk levels in exposed human populations.

       249.    A short paper in the medical journal The Lancet appeared in 1988 (Sawada, et al.,

Probable toxicity of surface-active agent in commercial herbicide containing glyphosate, The

Lancet, 1(8580): 299). The authors attributed acute, glyphosate-herbicide poisoning symptoms

among several Japanese patients to the “inert ingredient” surfactant POEA in formulated

Roundup, and not the active ingredient (glyphosate). The Japanese team reported that the acute

lethal dose (i.e., LD-50) of POEA in animal studies is one-third that of glyphosate, which

explains why the LD-50 of glyphosate active ingredient is higher (less toxic) than the LD-50 of

Roundup herbicides formulated with the surfactant POEA.

       250.    This article in The Lancet triggered, to my knowledge, the first attention by

independent scientists to the possible human health impacts of the inert ingredients in Roundup




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herbicides. Among the adverse mammalian impacts of POEA noted by the Japanese scientists

was damage to red blood cells.

       251.    Inert ingredients in formulated pesticide products can also, themselves, contain

toxic impurities and contaminants. While pure glyphosate contains the nitrosamine-impurity

NNG, the POEA surfactant in formulated Roundup products contains 1,4-dioxane.

       252.    A U.S. National Cancer Institute bioassay of 1,4-dioxane found that the chemical

causes hepatocellular adenomas and carcinomas in the kidneys of rats

( https://ntp.niehs.nih.gov/ntp/htdocs/lt_rpts/tr080.pdf). In 1982, the International Agency for

Research on Cancer classified 1,4-dioxane as a possible human carcinogen (IARC, IARC

monographs on the evaluation of the carcinogenic risk of chemicals in humans. Supplement 4,

WHO, 1982). An EPA report from 1986 listed 1,4-dioxane as a probable human carcinogen.

       253.    In July 1999, the Italian Pesticide Committee, a European regulatory body, held a

meeting on the regulation of Roundup herbicide. It decided that new genotoxicity studies on both

glyphosate and formulated Roundup would be required to assess genotoxicity and DNA

reparation, following OECD Guideline 486 (1998). Such studies were needed to address risk

issues arising from the interactions of impurities in pure glyphosate and the inert ingredients used

to make formulated glyphosate-based herbicides, including Roundup.

       254.    Monsanto employee Gabrielle Fontana forwarded the news regarding this new

genotoxicity study requirement to senior Monsanto scientists including Mark Martens, William

Heydens, Donna Farmer, Larry Kier, and William Graham in a July 29, 1999 email.

(MONGLY00877684).

       255.    In response, Martens said that the OECD 486 test “is not an unreasonable request

but suggest some liver toxicity along with it to explain bumpy responses at the high dose. This




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test has also been requested by the French for MON 4660 and there the risk is greater because of

extreme liver toxicity.” (MONGLY0877684).

       256.    A few hours later, William Heydens adds to the email chain: “I don’t think an in

vivo UDS [the OECD 486 test] is reasonable for glyphosate…Now, formulations are obviously

another issue…liver toxicity with formulations could be a confounding factor, and we would

have to design and conduct the study very carefully (using our alachlor & acetochlor experience)

if we are ultimately forced to do it.” (MONGLY00877684).

       257.    Two days later, Donna Farmer adds to this email chain, and writes: “Sorry I am

weighing in on this late…It is too premature to discuss conducting any studies. I will not support

any studies on glyphosate formulations or other surfactants at this time…”.

(MONGLY00877684).

       258.    Despite numerous studies published in peer-reviewed journals beginning in the

late 1980s pointing to the heightened toxicity of Roundup formulations including POEA

surfactants compared to pure glyphosate, Monsanto has to this day not conducted the studies

needed to either confirm or refute concerns over differential toxicity. More importantly, to this

day, Monsanto has never conducted a long-term animal carcinogenicity study on a GBH

formulation or the POEA surfactant.

       259.    Some POEA surfactants have been restricted in Europe, based on safety concerns.

Notwithstanding the restriction (or outright ban) on certain POEAs in Europe, Monsanto has

continued to use relatively high-risk POEA surfactants in formulated products in the United

States. As explained in a January 30, 2010 email, William Heydens stated that Monsanto

continues to defend POEA surfactants because of concern over a “‘domino effect’ on

etheramines; defend other world areas to the best of our ability,” and that “they [Brazilian




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Monsanto employees] are worried about this coming across the Atlantic to their part of the

American hemisphere.” (MONGLY02062439). Heydens was responding to a January 25, 2010

email from his colleague Richard Garnett on the question of whether to phase out known, high-

risk POEA surfactants. After discussing some new studies underway on an alternative surfactant,

Garnett wrote: “Anyway, there are non-hazardous formulations so why sell a hazardous one?”

(emphasis added; MONGLY02062440). In my opinion, Garnet was correct in stating that less

hazardous surfactants could be used in GBH formulations, including safer surfactants that

Monsanto had previously procured and tested, and used in some Roundup products

manufactured for sale in Europe (but not in the U.S.).

       260.    In a June 8, 2010 email regarding Roundup formulations containing POEA

surfactants in Argentina, William Heydens wrote to Monsanto colleagues in Argentina: “So I

would think that a backup plan of reducing POEA content is not sufficient, but rather a POEA-

free formulation (or formulations) would be necessary to totally protect your business in

Argentina.” (MONGLY02013061).

       261.    In the slide deck prepared for “Regulatory Leadership Meetings” in November

2010, a slide addresses the business impact of the loss of POEA surfactants. “Germany is major

concern” noting that “restrictions on POEA uses pre-harvest had significant negative impact on

sales in 2010.” (MONGLY02721133).

       262.    The “Strategy in Germany” included three core elements: (1) defend POEAs; (2)

register non-POEA formulations; and (3) “Managed exit from POEA” to “Avoid a ban”; “Focus:

voluntary non-renewal of registrations (e.g. MON 14420 and 2012)”; and, (3) “No sales of any

POEA products after 2012.” (MONGLY02721133).

       263.    Around year 2000, the European Commission put in place a new set of testing




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guidelines to assess the degree to which formulated pesticides have the potential to disrupt the

functioning of the endocrine system. Such chemicals are generally referred to as “endocrine

disruptors” and can raise new types of human risks.

       264.    The U.S. Congress directed the EPA to assess the potential of pesticides to disrupt

the endocrine system in a provision included in the 1996 Food Quality Protection Act.

       265.    In April 2002 Monsanto employees in Europe reported to headquarters that

European regulators were working on development of a list of possible endocrine disrupting

pesticides, and that some new assays might be required on glyphosate and/or formulated

Roundup herbicides.

       266.    In response to this news, William Heydens sends an email at 7:20 a.m. on April

25th to Donna Farmer. In it, he suggests a call to “…to see if there is anything more we should

be doing besides the usual ‘pay no attention to the man behind the curtain’.” He ends this email

by saying “…this damn endocrine crap just doesn’t go away, does it.”

       267.    Farmer replies to Heydens at 8:19 a.m. and writes that the “interest[ing] point” is

that published tests of possible glyphosate-endocrine disruption show that pure glyphosate has no

effect, but formulated product (i.e. Roundup) does.” (MONGLY00885551).

       268.    In response to Farmer, Heydens responds at 10:47 a.m. the same day, and reports

that after discussions with other Monsanto experts, they: “…concluded, not surprisingly, that we

are in pretty good shape with glyphosate but vulnerable with surfactants.” (Emphasis added).

       269.    In my opinion, Monsanto failed to address this admitted vulnerability, which the

company could have, and should have done by carrying out the genotoxicity studies on

formulated Roundup products recommended by Dr. Parry, as well as long-term oncogenicity

feeding studies exposing mice and rats to a widely used Roundup formulation, instead of just




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pure glyphosate.




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VI.    Bio/dynamics Mouse Oncogenicity Study Triggers “Possible Oncogen”
       Classification

       270.     Based on the flawed, long-term glyphosate cancer study in rats conducted by IBT

in the 1970s, OPP initially classified glyphosate as “not oncogenic in the rat” in or around 1977.

This classification remained in place until EPA’s March 4, 1985 “Consensus Review of

Glyphosate” classified glyphosate as a category C, possible oncogen.

       271.     Throughout the 1977-1983 period, there was rapid growth in the number of

approved tolerances and registered agricultural uses of Monsanto’s glyphosate-based herbicides,

despite the lack of a valid set of required, long-term feeding studies in mice and rats.

       272.     A new mouse oncogenicity study on glyphosate was among the IBT replacement

studies submitted by Monsanto to OPP (EPA Accession #: 251007-014; Bio/dynamics Project

No. 77-2061). It was conducted by the contract laboratory Bio/dynamics to fill a pending data

gap, and was submitted to EPA on July 29, 1983.

       A.       Results of Bio/dynamics Mouse Oncogenicity Study

       273.     The study followed routine design protocols for a chronic feeding study. There

were four groups of Charles River CD-1 mice: control, 1,000 ppm glyphosate technical in the

animals’ diet, 5,000 ppm, and 30,000 ppm. There were 50 male mice and 50 female mice in each

group. Animals were observed twice daily, and mortality during the study was reported as

“normal for this age and strain of mice.” (MONGLY04275682)

       274.     In the section “Results” in its summary report to Monsanto, Bio/dynamics states:

“No treatment-related effects were demonstrated.” In other words, the study was “negative” for

oncogenicity.

       275.     But the Bio/dynamics summary report does address a number of statistically

significant increases in tumors observed in the study. Table 1 in the report lists four “microscopic



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changes” that were elevated in the treatment groups in a statistically significant way: central

lobular hepatocyte hypertrophy (elevated in male mice), central lobular hepatocyte necrosis

(elevated in males), chronic interstitial nephritis (elevated in males), and proximal tubule

epithelial basophilia and hypertrophy (elevated in females).

       276.    Bio/dynamics dismisses all four types of lesions noted in their Table 1 by saying

“All these findings, however, were of the type and severity common to long-term mouse

studies.”

       277.    The report also stated:

       “The incidence of renal tubule adenomas was 0/49, 0/49, 1/50, and 3/50, in
       control through high-dose males, respectively. This lesion, however, was not
       observed in any of the female treatment groups, and, as mentioned previously,
       this data was not statistically different from control. While not observed in control
       animals in this study, renal tubule adenomas have previously been observed in
       control male CD-1 mice of comparable age. The slightly increased incidence of
       adenomas in the high-dose males was considered spurious and unrelated to
       glyphosate administration.”

       (Emphasis added; MONGLY04275683)

       278.    In the male mice, the incidence of renal tubule adenomas reported by

Bio/dynamics was 0/49 in the control group, and 0/49, 1/50, 3/50 in the three treatment groups

(1,000 ppm, 5,000 ppm, 30,000 ppm). This increase in renal tubule adenomas showed a

statistically significant upward trend.

       B.      Review of the Bio/dynamics Mouse Study

       279.    The importance of OPP’s evaluation of the Bio/dynamics mouse oncogenicity

study on glyphosate was widely recognized inside EPA and Monsanto, and in the pesticide

regulatory community, and markedly heightened if the agency determined that the study was

“positive.”

       280.    Such a judgement would reverse the status quo classification of glyphosate as



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“not oncogenic,” and would have significantly altered the outcome of a number of pending and

forthcoming tolerance petitions and registration applications in the U.S.

       281.    Two memos dated January 31, 1984 were sent from Monsanto toxicologist Lyle

Gingerich to four colleagues (MONGLY04269118; MONGLY04269119-20). The first memo

reports on a recent conservation Dr. Gingerich had with Robert Taylor.

       282.    Taylor was the senior official in OPP’s Registration Division responsible for

managing the flow through OPP of glyphosate-Roundup herbicide tolerance petitions and

registration applications, as well as managing interactions between Monsanto and OPP on the

fulfillment of data requirements, label changes, data compensation, and other issues that arise

regarding the regulatory status of Monsanto’s glyphosate-based herbicides.

       283.    In the first 1/31/1984 memo, Dr. Gingerich reports on presumably separate, face-

to-face meetings on January 31, 1984 at OPP with Robert Taylor of the Registration Division

and W.L. Burnam, Deputy Director of the Hazard Evaluation Division.

       284.    The Gingerich memo reports that Mr. Taylor told him that W.G. Dykstra of the

OPP toxicology division had reviewed the new mouse oncogenicity study done by

Bio/dynamics. The memo states: “R.J. Taylor said that he saw something in writing to indicate

that when the review is sent to him it will state that Roundup is an oncogen.”

       285.    The memo goes on to report that according to OPP’s Mr. Taylor, various pending

tolerance petitions will be denied, as a result of this change in OPP’s characterization of

glyphosate’s oncogenic potential and the Delaney Clause-prohibition against approval of certain

Section 409 tolerances.

       286.    Dr. Gingerich reports in this first of two January 31, 1984 memos that he intends

to speak later the same day, again, with R.J. Taylor and W.L. Burnam of the toxicology branch,




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in order to request “W.G. Dykstra’s review and [discuss] what would be an appropriate forum

for Monsanto inputs.”

        287.    The first of two 1/31/1984 Gingerich memos to colleagues closes with this

question: “Do you think it would be appropriate for our legal department to caution EPA on

possible premature leaks of this review’s conclusions prior to Dr. Kasza’s [senior OPP

pathologist] re-review and final disposition of the matter?”

        288.    Later in the day (January 31, 1984), Dr. Gingerich either met with, or spoke on

the phone again with W.L. Burnam of the OPP toxicology branch, according to the second of

two memos he sent to Monsanto colleagues and in which Gingerich passes along what Burnam

had told him:

         “A ‘complete’ review of the glyphosate mouse study has not been done. There has been
        no section or branch sign-off of W.G. Dykstra’s review. The question of kidney tumors
        was pointed out by W.G. Dykstra and is being evaluated by either C. Chaisson or Dr. L.
        Kasza. W.L. Burnam asked that we send in historical control data to document the claims
        made in our summary. He cautioned that these be from the same laboratory and time
        period. He said to be sure to report the numbers study by study, rather than as an overall
        average.”

        289.    This second 1/31/1984 memo goes on to say that “R.J. Taylor continues to be

concerned that Roundup actions will be held up for a few months until this is resolved.” By

“this,” Dr. Gingerich is referring to the classification of glyphosate as a possible oncogen, an

OPP action that would impact several pending OPP tolerance decisions.

        290.    The above series of events on January 31, 1984 are remarkable. On the same day

during which Monsanto first learned that OPP’s evaluation of the Bio/dynamics mouse study

was likely to lead to a “possible oncogen” classification, a representative of Monsanto stationed

in the company’s Washington D.C. office (Dr. Gingerich) had:

   •    At least two face-to-face meetings with senior representatives of the OPP
        Registration and Toxicology Divisions;



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   •    At least two follow-up calls or meetings with these same individuals; and
   •    Received a substantive request from Dr. Burnam for more data relevant to the
        primary issue explaining why Monsanto and OPP reached different conclusions
        regarding the results of the Bio/dynamics mouse oncogenicity study (the number
        of kidney tumors in the control group of male mice).

        291.   On February 10, 1984, Hoyt Jamerson of the OPP Registration Division received

a memo from William Dykstra of the Toxicology Branch addressing the results of the recently

submitted Bio/dynamics mouse study. Under “Recommendations,” it states: “Review of the

mouse oncogenicity study indicates that glyphosate is oncogenic, producing renal tubule

adenomas, a rare tumor, in a dose-related manor. Therefore, Toxicology Branch considers that

the PP#3E2845 [a pending tolerance petition] is not toxicologically supported.”

        292.   The conclusion set forth in the February 10, 1984 memo is the first written

confirmation that I know of stating that OPP now regarded glyphosate as a possible oncogen.

        293.   On March 20, 1984, Monsanto submitted to OPP historical control data on the

incidence of renal tubule adenomas in the control groups of CD-1 mice in past studies.

        294.   OPP’s Burman had suggested Monsanto submit historical control data from the

same laboratory, and roughly from the same time period (i.e. within 3-4 years of the time the

glyphosate mouse study was conducted). Monsanto submitted such historical control data from

Bio/dynamics, as well as from two other “major” contract laboratories. (MONGLY04276057).

        295.   The final memo codifying Dykstra’s review of the mouse oncogenicity study was

sent to Taylor in the Registration Division on September 4, 1984. In its “Recommendations”

section, the Toxicology Division states that “1. Glyphosate was oncogenic in male mice causing

renal tubule adenomas, a rare tumor, in a dose-related manner. The study is acceptable as core-

minimum data. 2. A [cancer] risk assessment by Toxicology Branch is required.”

        296.   On February 5, 1985 Monsanto sent the Director of the OPP Registration Division




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a letter advancing several arguments in support of the company’s conclusion that the renal tubule

adenomas in the male mice were not treatment related, nor statistically significant.

       297.    The 2/5/85 Monsanto letter sets forth six arguments in support of the company’s

assertion that the observed renal tubule adenomas were not treatment related: (1) tumors were

only observed in male mice, (2) renal tubule adenomas were only present at the end of the study,

suggesting they were caused by the age of the male mice, rather than exposure to glyphosate in

the animal’s feed, (3) only benign tumors were observed, (4) another Bio/dynamics, 2-year

chronic feeding study in the same strain of mice with N-nitrosoglyphosate (NNG) produced no

renal tubule adenomas in any control or treatment group, (5) glyphosate was not mutagenic in a

number of assays, and (6) a statistical argument suggesting that the dose-related increase in renal

tubule adenomas in the male mice was not statistically significant.

       298.    Toxicology Branch scientists assessed the data and arguments in this Monsanto

letter prior to deciding whether to re-open their consideration of the renal tubule adenoma data.

The review was conducted by Herbert Lacayo. After his statistical analysis of the data, he

concluded that “a prudent person would reject the Monsanto assumption that Glyphosate dosing

has no effect on kidney tumor production” (2/26/1985 memo, Lacayo to Reto Engler).

       299.    The OPP held a meeting on February 11, 1985 attended by eight senior scientists

in the Toxicology Branch to specifically address the appearance of renal tubule adenomas in the

male mice. The 2/11/85 meeting’s stated purpose was to “evaluate and discuss the data base on

Glyphosate, and in particular the potential oncogenic response of Glyphosate.” The attendees

reviewed the OPP assessment of the new mouse study, as well as the arguments and data

submitted by Monsanto in its February 5, 1985 letter.

       300.    The attendees concurred unanimously that: “In accord with EPA proposed




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guidelines (FR of Nov. 23, 1984) the panel has classified Glyphosate as a Category C [possible]

oncogen.”

       301.    On February 21, 1985, a Monsanto-requested meeting was held with the OPP

Toxicology Branch (TB), attended by the TB Chief Ted Farber and then-Assistant Chief Bill

Burnam. Dr. Gingerich, Frank Serdy, and Fred Johannsen represented of Monsanto.

       302.    A February 22, 1985 memo from Dr. Gingerich to Monsanto colleagues

characterized the meeting mood as “relaxed, informal, and open.” The memo states that Dr.

Farber called the February 11, 1985 decision by OPP to classify glyphosate as a possible

oncogen “an extremely close call and that EPA remains open to any new information that would

make their decision easier.” (MONGLY04269072).

       303.    The memo sets forth Monsanto’s goals for the meeting, including: “(1) see if we

could respond to their concerns [the renal tubule adenomas] before any unnecessary comments

became a part of the Roundup permanent file. (2) determine exactly what their concerns are. (3)

gauge the level of their concern.”

       304.    Under the heading “Concerns of Toxicology Branch” in Gingerich’s February

22nd memo, he reports that Dr. Farber opened the meeting by describing the conclusions of the

OPP toxicology branch review of the mouse oncogenicity study. Specific points noted were:

“Oncogenic in mouse, IARC ranking ‘c’ [possible human carcinogen]; Company’s letter

[Monsanto’s February 5th letter] was too weak to be convincing; Biologically significant rare

tumors; Historical controls [data] not helpful; Will ask to re-section tissues, consider crystal

formation, etc.”

       305.    The meeting memo then states that “Dr. Farber indicated that a substantial re-look

at tissues may cause the EPA pathologist [Dr. Kasza] to change his position. If no carcinomas are




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found the second time, our arguments about ‘only benign’ tumors would be stronger. I

[Gingerich] read this to mean that the EPA pathologist (Kasza) is open to persuasion.”

       306.    Next, the memo reports on several questions raised during the meeting, and their

answers. Monsanto representative FJ (Frank Johannsen) then asked OPP’s Dr. Farber “…what

the EPA would be likely to do if we [Monsanto] re-sectioned the slides and found no

carcinomas. Dr. Farber said that it would force them to get the internal peer review group

together again.”

       C.      OPP Dismisses Monsanto’s Historical Control Data Argument

       307.    On February 5, 1985, Monsanto sent to the Director of the OPP Registration

Division a four-page letter transmitting additional information related to the Bio/dynamics

chronic mouse study.

       308.    On February 26, 1985, an EPA memorandum was sent to OPP statistician Reto

Engler, a senior scientist involved in the Toxicology Branch’s review of glyphosate’s

oncogenicity. The memo was written by OPP statistician Herbert Lacayo, and sent through and

signed off by Bertram Litt, OPP’s Statistics Team Leader.

       309.    The memo focused on whether the additional, mouse historical control data for

kidney tumors submitted by Monsanto should alter the OPP assessment of the significance of the

reported renal tubular adenomas in the Bio/dynamics study. It begins by noting that Monsanto

submitted “historical control data from Bio/dynamics and two other laboratories.”

       310.    The summary of the Lacayo statistical review of the historical control data states

that “…we can conclude that Glyphosate dosing has a statistically significant effect (at the p =

.006 level) in the production of kidney tumors in male mice” (i.e., highly statistically significant,

since the usual cut-off for significance is the p = 0.05 level).




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       311.    A March 4, 1985 OPP memo on the subject “Consensus Review of Glyphosate”

codified the conclusion reached by the eight Toxicology Branch scientists, each of whom signed

the consensus review document. (MONGLY04269067). The signatories included the Chief of

the Toxicology Branch Theodore Farber, OPP’s senior pathologist who read the Bio/dynamics

mouse study histopathology slides, Bertram Litt, OPP’s senior statistician, and William Dykstra,

author of the original OPP review of the mouse study.

       312.    The memo was sent to Robert Taylor in the Registration Division, and marked the

end of the beginning of a protracted debate between OPP and Monsanto over the results of the

Bio/dynamics mouse study.

       D.      Monsanto Takes Its Case to the Director of the OPP Registration Division

       313.    Only two days passed before Monsanto again wrote to OPP, this time to Douglas

Campt, then Director of the OPP Registration Division. The five-page March 13, 1985 letter was

sent by Frank Serdy, Monsanto’s Manager, Federal and State Registration Affairs.

       314.    The letter recounts the recent history of OPP’s evaluation of the Bio/dynamics

mouse oncogenicity study, the numerous meetings and back-and-forth involving OPP and

Monsanto scientists, and asserts that the renal tubule adenomas observed in the male mice in the

study are not treatment related, nor statistically significant. It also restates the many Monsanto

arguments advanced in support of the company’s position over the past six weeks.

       315.    In closing his letter to Mr. Campt, Mr. Serdy states that:

        “As you know, glyphosate is an extremely important herbicide to agriculture in
       the U.S. and around the world. Monsanto is concerned that even the initiation of
       formal regulatory action would have serious negative economic repercussions
       which we believe are not justified by the scientific evidence.”

       316.    In an April 3, 1985 memo from William Dykstra to the Registration Division’s

Robert Taylor, the Toxicology Branch’s judgement regarding glyphosate’s oncogenicity was



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stated as it had been previously: “Glyphosate was oncogenic in male mice causing renal tubule

adenomas, a rare tumor, in a dose-related manner.”

       E.      Monsanto Hires Another Pathologist to Re-read the Kidney Slides

       317.    Also, on April 3, 1985, Dr. George Levinskas, a scientist in the Monsanto

Department of Medicine and Environmental Health, circulated a brief update inside the company

stating that “Senior management at EPA is reviewing a proposal to classify glyphosate as a class

‘C possible human carcinogen’ because of kidney adenomas in male mice. [Private, consulting

pathologist] Dr. Marvin Kuschner will review kidney sections and present his evaluation of them

to EPA in an effort to persuade the agency that the observed tumors are not related to

glyphosate.” (MONGLY04277789).

       318.    Dr. Kuschner had not been involved with the design, conduct, or evaluation of the

Bio/dynamics mouse oncogenicity study and had not previously reviewed the study’s

histopathology slides.

       319.    Also, on April 3, 1985, a letter was sent by Dr. Aleksanday Knezevich, Senior V-

P, Pathology at Bio/dynamics to Dr. Marvin Kushner, a private consulting pathologist

(MONGLY04269049). The letter informs Dr. Kushner: “The enclosed shipment is being sent to

you at the request of Dr. Tim Long of Monsanto. It contains slides of kidney sections from all

animals on the reference study [mouse oncogenicity study].”

       320.    Sometime in or around mid-May 1985, Kushner submitted his report to

Bio/dynamics and Monsanto. The company reviewed the report, and submitted it to OPP. The

report was, as predicted before Dr. Kushner even received the slides, supportive of an “effort to

persuade the agency that the observed tumors are not related to glyphosate.”

       321.    In a June 14, 1985 memo from OPP’s senior statistician Reto Engler to Robert




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Taylor of the Registration Division, Dr. Engler reports that after a TB peer-review process:

       “We have determined that the incidence of renal adenomas in male mice (a rare
       tumor) is inconsistent with the historical control incidence of this tumor. The
       registrant, in several letters, has refuted our statistical analysis of the data.
       Basically, the registrant contends that the highest incidence ever observed in
       historical controls should be used to judge the incidence in the Glyphosate study.
       The use of any historical control data in this manner is biologically as well as
       statistically inappropriate and misleading.” (Underlining in original).

       322.    Then, Dr. Engler goes on to report that the registrant has now submitted a report

“which shows that a re-reading of the kidney slides has revealed one (1) kidney tumor in the

control group but no additional tumors in the treatment groups.” In light of this new information,

Engler writes that:

       “Given the overall uncertainty concerning the significance of the observed tumor
       incidence we believe a systematic reevaluation of this kidney lesion has become
       necessary in order to fully evaluate Glyphosate.”

       323.    The Kushner report delayed EPA’s final determination as to glyphosate

oncogenicity in the Bio/dynamics study.

       324.    OPP’s decision to re-section the slides also created the possibility that new

information would emerge supporting Dr. Kushner’s assessment of the slides, and/or changing

the number of tumors in the male mice control and three treatment groups in a way that

eliminates the dose-related response in the frequency of renal tubule adenomas.

(MONGLY00235097 at 5412).

       F.      Re-sectioning of the Bio/dynamic Mouse Kidney Slides

       325.    “If the results of the kidney re-sectioning do not resolve the glyphosate issue

within OPP, we will be faced with an adverse OPP decision,” wrote Lyle Gingerich to Monsanto

colleagues in an August 20, 1985 memo. (MONGLY04268982).

       326.    Gingerich also discusses the prospect that OPP might decide to place unresolved




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science issues before the agency’s Scientific Advisory Panel (SAP), especially if a deadlock

emerges between the conclusions of Monsanto’s and OPP’s pathologists.

       327.    Gingerich goes on to ask “Can we change the focus of the question to the S.A.P.

to: ‘Is 30,000 ppm too high [a dose] to be used in a meaningful risk assessment?’…If we

assembled 10 respected toxicologists, would all ten agree that the feeding level is too high to be

meaningful?” He then suggests that the 10 toxicologists agreeing with Monsanto’s position

should be brought to the SAP meeting and asked to speak in support of the company’s

assessment of the mouse study, given “…the importance of this issue to Monsanto.”

       328.    Gingerich then explains why he has suggested that all 10 toxicologists should be

brought to the SAP meeting: “There is a tendency to ‘count the votes’ at S.A.P. meetings. We

can make a difference by lining up a large number of experts on our side.”

       329.    Eight days later, on August 28th, Frank Serdy, the Director of Federal and State

Regulatory Affairs for Monsanto, wrote a memo to his colleague Tim Long, another official

working on the effort to change EPA’s mind on the mouse oncogenicity study. Serdy wrote on

the topic of “Additional Steps” in the effort to change EPA’s assessment on the Bio/dynamics

mouse study. (MONGLY04268980).

       330.    He voices confidence that glyphosate will ultimately be shown to be not

oncogenic but lays out some “additional steps” if the results of the re-sectioning of the kidneys

does not change EPA’s mind.

       331.    First, Serdy writes: “We continue to feel it is important to identify and contact

those outside ‘experts’ who we feel would testify on our behalf both to EPA and SAP that, based

on the results, glyphosate is not oncogenic.”

       332.    Serdy’s second “additional step” is prefaced by acknowledging that “We do not




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have a lot of faith, presented with the same evidence, Ted Farber [senior OPP scientist in the

Toxicology Branch] will want to back off and change his mind.” Serdy then writes: “Hence we

feel that it is equally as important to identify and contact ‘experts’ in the area of statistics who

would be willing to testify both to the EPA and SAP that 1-0-1-3 cannot be considered

statistically significant.”

        333.    Note that in Serdy’s second point he is assuming that EPA has, or will accept Dr.

Kushner’s conclusion that one mouse in the male control group had a renal tubule adenoma that

was not detected or reported in the original Bio/dynamics report on the study. In the absence of

that one, additional adenoma in the male mice control group, the tumor incidence would have

remained as originally reported, 0-0-1-3, and reflect a trend which is unambiguously dose-related

and highly statistically significant, as Lacayo’s 2/26/85 memo had concluded.

        334.    Driving home the importance of these “additional steps,” Serdy writes that:

         “It seems imperative that we continue to do all that is possible in order to have
        the Agency reverse its decision. Hopefully, the testimony of several respected
        ‘experts’ will be enough to cause EPA to change their minds.”

        335.    The re-sectioning of the male mice kidneys, and the re-evaluation of the slides,

was done by Bio/dynamics, at the request of Monsanto. The OPP pathologist Dr. Kasza had been

consulted in the process of developing the procedures. R.F. McConnell, a pathologist consulting

with Bio/dynamics, read both the original slides, and the slides from the re-sectioned kidneys.

        336.    The Bio/dynamics report covering the re-sectioned kidney tumors was dated

September 26, 1985 and was submitted to the EPA a few days later.

        337.    The significant result in the Kushner-Bio/dynamics report is finding one renal

tubule adenoma in the control group of male mice (mouse # 1028). The report states:

        “Confirmation of the diagnosis of the original renal tubular adenomas was made,
        including concurrence with Dr. Marvin Kushner on the presence of a lesion in the



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       control group which represented a developing tumor. No new tumors were found
       in any of the [other] control or treated groups.”

       338.    The report concluded: “The renal tumors observed were considered to be

incidental and not toxicologically significant.”

       339.    The technical response from the Toxicology Branch to the September 26, 1985

Bio/dynamics report was done by Dr. Kasza, OPP’s senior pathologist, and the scientist who had

been consulted by Bio/dynamics on the procedures to be followed in the re-sectioning of the

kidneys. Kasza’s December 4, 1985 memo was sent to William Dykstra, the lead reviewer of the

mouse study in OPP’s Toxicology Branch.

       340.    The single, critical question was whether Dr. Kasza agreed with Dr. Kushner and

the Bio/dynamics pathologist Dr. McConnell that control male mouse #1028 had a renal tubule

adenoma. Kasza requested and re-read the original slides for male mice, as well as the newly re-

sectioned kidney slides. He found no differences in the number of renal tubule adenomas in the

treatment groups.

       341.    In reference to the tumor in control group mouse # 1028 reported by Kushner and

McConnell, Dr. Kasza wrote:

       “It is my opinion that the presence of a tumor cannot be definitely be established.
       My interpretation is similar to the conclusion of Bio/dynamics’ pathology staff
       and Dr. McConnell, that the lesion ‘may be’ a proliferative change having the
       potential to lead to the development of a frank tumor. But as the tissue can be
       seen under the microscope as a small well-demarcated focal cell aggregate
       morphologically different from the healthy looking surrounding kidney tissue, this
       morphological alteration does not represent a pathophysiologically significant
       change.”

       342.    Dr. Kasza’s reading of the newly sectioned kidney of animal #1028 was that there

was a group of cells that looked different and that might become a lesion of some sort, but the

cell mass had not reached the stage justifying identification as a renal tubule adenoma.




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       G.       The 1986 SAP Review of the Mouse Oncogenicity Study

       343.     Kasza’s interpretation was accepted within EPA. As a result, the EPA and

Monsanto were again dead-locked.

       344.     A January 17, 1986 Federal Register notice announced a two-day SAP meeting on

February 11-12, 1986 during which the Bio/dynamics mouse study would be evaluated. Agenda

item 1 read: “Review of a set of scientific issues related to apparent oncogenicity being

considered by the Agency in connection with the preparation of a Registration Standard for

glyphosate.”

       345.     Monsanto sent a January 23, 1986 letter to Steven Johnson, a senior EPA official

who managed the SAP. After noting that the Federal Register notice said the SAP would assess

glyphosate’s “apparent oncogenicity,” the letter stated that: “Monsanto firmly believes that

glyphosate is not an oncogen, and we therefore do not agree with this position taken by the

Agency. The Agency is in error in reaching this conclusion…”

       346.     The letter argues that the OPP determination does not follow EPA’s Proposed

Guidelines for Carcinogen Risk Assessment, and then adds:

       “In addition to Monsanto’s own evaluation, this matter has been reviewed by five
       independent experts. The unanimous conclusion reached by these scientists is that
       there is no treatment-related oncogenic effect of glyphosate in the chronic mouse
       study…”

       347.     Recall the August 20, 1985 Gingerich memo discussed above. It suggested that

Monsanto recruit 10 experts to testify before the SAP, and that “[t]here is a tendency to ‘count

the votes’ at S.A.P. meetings.” (MONGLY04268982).

       348.     The focus of the glyphosate oncogenicity discussion during the February 11, 1986

SAP meeting was on the histopathology of the kidney slides, and in particular:

            •   The number of tumors in the male mouse control group;



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           •   The appropriate statistical analysis to use, and whether the renal tubule
               adenoma incidence reached statistical significance; and
           •   The proper use of historical control data.

       349.    The two questions presented to the SAP by the EPA were:

       “(1) Based on the Agency’s weight of the evidence assessment with emphasis on
       the mouse kidney tumors, the Agency has classified Glyphosate as a class C
       (possible human) carcinogen. The Agency specifically requests any comment the
       Panel may wish to present with regard to its assessment of the weight of the
       evidence and subsequent determination of carcinogenicity according to the
       Agency’s Cancer Guidelines.”

       “(2) The Agency requests also that the Panel consider what weight should be
       given to this marginal increase in kidney tumors, the importance of this type of
       tumor in the assessment of the carcinogenicity of Glyphosate, and the weight
       placed on historical and concurrent controls for this type of evaluation.”

       350.    The primary presentation by EPA was done by Dr. Farber, and Monsanto’s

presentation was made largely by Robert Harness, Director of Environmental and Government

Affairs, Dr. Timothy Long, in the company’s Medical Department, and Mr. Wayne Withers.

       351.    In addition, Monsanto brought to the SAP meeting, three experts who had been

involved with the study and/or the reading of the controversial kidney slides: Dr. Marvin

Kushner, the pathologist who re-read the original mouse study kidney slides; Dr. R.F.

McConnell, the consultant to Bio/dynamics that read the original slides, as well as the re-

sectioned slides; and Dr. Ira Daly, the Bio/dynamics laboratory director.

       352.    Each of these individuals brought to the meeting by Monsanto were given

opportunities to make short presentations and participate in the Q & A with SAP members.

       353.    In addition, Monsanto announced to the SAP that they had submitted the data in

question to a panel of four consulting experts (Squires, Olsen, Stemmer, Goodman), all of whom

agreed with Monsanto’s interpretation of the mouse oncogenicity study results. These experts

were also in attendance and participated in the Q&A.




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       354.   One of the invited experts – Dr. Don Goodman – was asked by Monsanto to

attend and represent the conclusions of a second review panel convened at the request of

Monsanto by Pathco Inc, a pathology consulting group. The Pathco panel reviewing the same

mouse oncogenicity data included five scientists (Sourer, Anver, Stranberg, Ward, Goodman).

       355.   In his opening statement to the SAP, Harness summarizes the key conclusions

reached by each of the Monsanto-invited experts, as well as the expert panel convened at

Monsanto’s request by Pathco Inc.

              a.      Dr. Marvin Kushner, found an additional tumor in the male mouse control

                      group, no additional tumors in the treatment group, switching the study

                      from purportedly positive to negative for renal tubule adenomas. His

                      concluding statement, quoted by Harness, is that “I see no reason to assign

                      carcinogenic potential to glyphosate.”

              b.      Robert Squires, “In summary, I feel the weight of the evidence strongly

                      suggests the renal adenomas in male mice were naturally occurring and

                      not treatment related.”

              c.      Robert Olsen, “In summary, it is my view that these findings do not

                      support the view that [text cut off].”

              d.      Dr. Robert McConnell, “It is and has been the opinion of this pathologist

                      that the tumors were incidental and were not toxicologically significant.”

              e.      Dr. Klaus Stemmer, “The incidence of renal tubule adenomas is in all

                      probability biologically by chance.”

              f.      Pathco Inc panel (Drs. Sourer, Anver, Stranberg, Ward, and Goodman,

                      who represented the panel at the SAP meeting), “The incidence of renal




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                        tubule cell neoplasms in this study are not compound related.”

               g.       Monsanto’s Dr. Timothy Long provided an overview of the back and forth

                        over the mouse study pathology results, and then summarized Monsanto’s

                        position by stating, “The overall incidence [of renal tubular adenomas],

                        therefore, remained at 1-0-1-3. These [kidney section] slides and/or

                        supporting data have now been reviewed by a total of 10 pathologists and

                        toxicologists and the unanimous conclusion of all the experts is that there

                        is no evidence of any treatment related oncogenicity.”

       356.    Accordingly, the Monsanto team offering conclusions and presenting data before

the SAP included 14 people: three from Monsanto, three individuals involved with the study,

four consulting experts, and four additional experts who joined Dr. Goodman (in attendance) on

the Pathco Inc panel.

       357.    The report providing the SAP panel’s answers to the two questions EPA asked the

panel to address on February 11, 1986 was transmitted to the Director of OPP on February 24,

1986 and released publicly soon thereafter. The section “Panel response” begins by saying: “In

the instance of Glyphosate, the Panel concurs that the data on renal tumors in male mice are

equivocal.”

       358.    The SAP report goes on to state: “The vast majority of the pathologists, who

examined the proliferative lesion in the male control animal, agreed that the lesion represented a

renal adenoma. Therefore, statistical analysis of the data should utilize this datum.”

       359.    This conclusion that the “vast majority” of pathologists agreed with the Monsanto

interpretation stands in contrast to a statement made by the EPA in its assessment of the differing

views on whether control animal #1028 had a renal tubule adenoma.




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       360.    In Dr. Faber’s presentation to the SAP, he states: “we [EPA] do see an increased

incidence statistically…” On the critical issue of whether there was a renal tubule adenoma in

control mouse #1028, Dr. Farber’s offered his accounting of the differing views: “…perhaps

three pathologists saying no [tumor], perhaps four or more pathologists saying yes.”

       361.    The person representing Monsanto at the SAP meeting was Robert Harness,

Director of Environmental and Government Affairs. In his opening comments to the SAP,

Harness said: “Because glyphosate is the largest selling herbicide in the world, with many

registered uses, we consulted a group of scientists to advise us on the questions raised by the

EPA and presented to you by Dr. Farber.” (Emphasis added)

       362.    The three individuals at the SAP meeting supporting the conclusion that there was

“no tumor” in control animal #1028 were EPA scientists (Faber, Kasza, Lacayo), while the

remaining 14 scientists stating that there was a tumor were working for, or hired by, Monsanto.

       363.    Taking into account the uncertainty over the number of renal tubule adenomas,

the use of historical controls, and the statistical methods used to judge whether the observed

tumors were treatment related, the SAP’s final judgement was equivocal:

       “…the Panel does not believe that it is possible to categorize Glyphosate clearly
       into Group C (possible human carcinogen) or Group E (no evidence of
       carcinogenicity in humans). The Panel proposes that Glyphosate be categorized as
       Group D (not classified) and that there be a data call-in for further studies in rats
       and/or mice to clarify unresolved questions.”

       364.    On August 11, 1986, OPP issued the glyphosate Registration Standard (RS)

document setting forth guidance to companies seeking to register new or retain existing pesticide

product labels for herbicides containing glyphosate (the date on the RS document is June 1986; it

was released on 8/11/86 date). (MONGLY00223577).

       365.    In 1986, Monsanto was the sole manufacturer of glyphosate-based herbicides, so




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guidance in the 1986 RS document regarding steps that manufacturers of glyphosate herbicides

must take was guidance to Monsanto, and all responses to the RS by industry, and actions taken

and not taken, were Monsanto actions/inactions.

          366.   The RS document is a key historical milestone in the EPA’s assessment of

glyphosate uses, risks, and benefits, as well as with respect to actions that the EPA then regarded

as essential to assure that the benefits stemming from Roundup uses will routinely exceed any

risks.

          367.   Key functions of the 1986 RS review and document were to specify required

labelling statements and precautions that must appear on product labels, and alert companies to

the studies that they must agree to commission and submit to the agency in a timely way in order

to retain existing registrations/product labels or win approval of new uses/labels in the future.

          368.   The 1986 glyphosate RS document states on page 2: ”Failure to comply with

these requirements [e.g. filling data gaps, adding new worker safety rules] may result in the

issuance of a Notice of Intent to Cancel or a Notice of Intent to Suspend (in the case of failure to

submit data).”

          369.   Under the heading “Chronic Feeding/Oncogenicity Data,” the glyphosate

Registration Standard notes that available studies included a 2-year mouse and rat chronic

feeding studies and a 1-year dog study. But because of limitations in study design and/or

questions over the interpretation of equivocal results, none of these studies satisfied core, OPP

chronic feeding study data requirements.

          370.   Hence, the “Summary Science Statement” in the Registration Standard states that

“Repeat oncogenic studies are required in mice and rats.” (Page 5).

          371.   EPA required the company to repeat the invalid IBT rat oncogenicity study that,




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among other things, failed to reach the Maximum Tolerated Dose (“MTD”) in the high-dose

treatment group (maximum doses in long-term feeding studies are supposed to come close to the

MTD).

        372.   About three weeks after the public release of the glyphosate RS, Frank Serdy, the

head of product registrations at Monsanto, sent a memo to Monsanto colleagues involved in the

ongoing debate over glyphosate oncogenicity. In this August 28, 1986 memo, Serdy outlines

“suggestions” for Monsanto’s response to the Registration Standard’s data call-in for repeat

mouse and rat oncogenicity studies. (MONGLY04278162).

        373.   After describing possible Monsanto arguments to EPA challenging the need for

repeat studies, Serdy writes:

        “If successful [EPA drops the requirement], this approach has the following
        downside: EPA’s response may be: ‘Fine, don’t repeat either study. We will just
        put you into class C [a possible oncogene under EPA’s classification system][.]’”

        374.   Soon after the release of the glyphosate RS document in August 1986, Monsanto

communicated to EPA via several channels its disagreement with some of the actions required by

EPA in the RS document.

        375.   Serdy asserts in a RS-response letter to OPP that:

        “The results of the mouse bioassay do not provide positive, or even suggestive,
        evidence of carcinogenicity. The most that can be said is that the results were
        equivocal as, in fact, the Scientific Advisory Panel stated.”

        376.   In this letter, it notes that the company had asked several consulting experts to

testify at the SAP meeting, with their time and expenses paid for by Monsanto. The Serdy letter

states that the experts “were asked to evaluate the need for a repeat study. All experts agreed that

additional testing is not justified…” (page 2).

        377.   I carefully reviewed the verbatim transcript of the testimony of the experts




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brought to the SAP meeting by Monsanto, and their interactions with the SAP. None of them

spoke to the issue, or expressed an opinion about whether the mouse study should be repeated, as

Serdy had claimed in his letter to OPP.

       378.    In accord with routine OPP procedures, Monsanto’s scientific arguments and

requests for waivers of RS data requirements, including a repeat mouse study, were reviewed by

the relevant branches of OPP.

       379.    Monsanto had formally requested waivers for two study requirements in the RS

document: (1) an LC-50 inhalation study, and (2) a repeat mouse chronic feeding/oncogenicity

study. William Dykstra in the Toxicology Branch reviewed the request, and Monsanto’s

supporting data. He prepared the Tox Branch memo regarding “Glyphosate – Monsanto

Comments to Glyphosate Guidance Document.” (MONGLY00223052).

       380.    Dykstra concurred/approved waiver request (1). On request (2), he wrote: “TB

[Toxicology Branch] does not concur with Monsanto regarding the waiver of the repeat mouse

oncogenicity study (see discussion in review section [pages 3-6 of the memo]).”

       381.    In his review of Monsanto’s arguments in support of a waiver for the mouse

study, Dykstra wrote: “Regarding the need to repeat the mouse oncogenicity study with

glyphosate, TB fully concurs with the conclusion and recommendation of the Scientific Advisory

Panel (SAP).” The SAP had concluded that glyphosate be classified as Group D (not classifiable

as to oncogenicity) and recommended that replacement studies in mice and/or rats be carried out.

       382.    He then writes: “TB believes the oncogenic potential of glyphosate in mice still

remains unresolved and that a repeat mouse study is necessary to fully and adequately assess this

potential.” (MONGLY00223052)

       383.    Dykstra’s memo goes on to say that the new mouse oncogenicity study should be




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“specially designed” to clarify “certain unresolved questions relating to the potential

oncogenicity of glyphosate.”

         384.   Dykstra’s set forth several specific study requirements. First, he recommended

retaining the 30,000 ppm high-dose treatment rate, since survival in that group of male mice

exceeded survival in the control group. Second, he recommended that two additional treatment

groups should be added to more definitely delineate whether there is a dose-response – 7,500

ppm, and 15,000 ppm. Third, there should be 200 male mice per group, to enhance statistical

power.

         385.   Dykstra proposed concessions to reduce the cost of the repeat study. He stated

that the study should focus only on unresolved questions from the first study, and only on male

mice (cutting the number of animals in half). He also proposed a “tier approach” in the pathology

examination phase of the study, focusing first on kidney and liver sections in all groups of male

mice. If the “first tier” examination produces no evidence of an oncogenic response, “then

additional histopathological examination will not be necessary.”

         386.   Monsanto continued to resist EPA’s call for a new mouse oncogenicity study and

has still not redone the Bio/dynamic study nor carried out the special study requested by EPA.

         387.   In my opinion Monsanto should have conducted the special study requested by

EPA in response to the agency’s request, and in light of the company’s commitment to product

safety. I also conclude that, and in the interim, Monsanto should have added an oncogenicity

warning (e.g., “…exposures to this product may increase the risk of certain cancers…”) to

Roundup labels, as well as in GBH chemical safety data sheets and other information developed

for physicians and poison control centers.




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VII.    Monsanto Does Not Add New Worker Safety Language on Roundup Warning
        Labels

        388.   The 1986 glyphosate Registration Standard (“RS”) specified new worker safety

language that must appear on Roundup product labels in channels of commerce as of June 30,

1988.

        389.   In a February 9, 1987 letter to the Director of the OPP Registration Division,

Monsanto asserted that the worker-protection language in the 1986 RS is unjustified, for reasons

first set forth in Monsanto’s November 7, 1986 response to the RS.

        390.   The 2/9/87 letter restated and expanded upon the arguments set forth in the

11/7/86 letter. The February 1987 letter also transmitted to OPP a new contact-dermatitis study

done by a University of California scientist.

        391.   OPP’s review of the February 1987 letter, the actions it requested, and the newly-

submitted dermatitis study was done by Curt Kunchick, a scientist in OPP’s Exposure

Assessment Branch. His June 18, 1987 review notes that the focus of Monsanto’s arguments is

contact dermatitis and the newly submitted dermatitis study, while OPP’s principal concerns

were eye and skin irritation. (MONGLY00241308).

        392.   There are three important attachments included with Kunchick’s 6/18/87 review:

(1) a report on glyphosate poisoning episodes in California, (2) “Worker Safety Rules for

Glyphosate Products Containing the Signal Word ‘Warning’ for Skin or Eye Irritation”; and, (3)

“Worker Safety Rules for All Glyphosate Products Intended for Agricultural Uses and

Containing the Signal Word ‘Caution’”.

        393.   The required worker-safety protection statements in Attachment 2 to Kunchick’s

memo were taken verbatim from the 1986 Registration Standard section setting forth “Required

Labelling” (page 28-29).



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        394.     Attachment 1 was the primary basis for OPP concern over eye and skin irritation.

It included data submitted to EPA by the California Department of Food and Agriculture in a

June 6, 1988 report entitled “Glyphosate Poisoning Statistics Summary.” The author was Jerome

Blondell.

        395.     Data were recorded by Blondell for three categories of applicators: ground

application using a tractor or spray rig (42 out of 143 total cases); hand application with a

backpack sprayer or hand-pump device (100 out of 142 cases); and, other types of application (1

of 142 cases).

        396.     Blondell’s data covered 64 applicator, and 24 mixer/loader, cases of eye irritation

between 1981 and 1985, and 52 applicator and 7 mixer/loader skin injury cases. In addition,

there were a total of 24 “Systemic” illnesses reported, 6 cases among spray rig applicators and 18

among hand applicators. Hand applicators had suffered the majority of total-applicator injury

cases: for the eye, 44 out of 64, and for skin, 35 of 52 irritation cases.

        397.     A section of Blondell’s report addresses the relationship between the number of

physician-treated occupational illnesses in California and the total pounds of glyphosate applied.

The Blondell report contains the following finding:

        “The number of California physician-treated occupational illnesses (average per
        year, 1981-1985) per million pounds of glyphosate reported sold in California in
        1984 was 17.0. On average, for all pesticides, we find 1.3 poisonings per million
        pounds sold, per year in California.”

        398.     Section D, Part 4 of the glyphosate RS states that “Worker Safety Rules must

appear on end-use products containing glyphosate except for those labeled for homeowner use

only.” (page 28).

        399.     EPA required worker-safety provisions on glyphosate products include:

        “HANDLE THE CONCENTRATE ONLY WHEN WEARING THE



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          FOLLOWING PROTECTIVE CLOTHING AND EQUIPMENT.”

          “Wear goggles or a face shield, chemical resistant gloves, chemical resistant
          apron, chemical resistant shoes, shoe coverings, or boots.”

          “WEAR THE FOLLOWING PROTECTIVE CLOTHING DURING
          APPLICATION, EQUIPMENT REPAIR, CLEANING, DISPOSAL OF THE
          SPRAY SOLUTION, AND DURING REENTRY TO TREATED AREAS
          BEFORE THE SPRAY HAS DRIED.”

          “Wear goggles or a face shield, chemical-resistant gloves and chemical-resistant
          shoes, or boots. A helmet with visor may be worn during open cockpit aerial
          application.”

          “IMPORTANT! Before removing gloves, wash them with soap and water.
          Always wash hands, face and arms with soap and water before smoking, eating,
          drinking, or toileting.”

          “AFTER WORK, wash protective clothing and equipment with soap and water
          after each use. Personal clothing worn during use should be laundered separately
          from household articles. Clothing or protective equipment heavily contaminated
          or drenched with glyphosate must be disposed of in accordance with State and
          local regulations.”

          “HEAVILY CONTAMINATED OR DRENCHED CLOTHING CANNOT BE
          ADEQUATELY DECONTAMINATED.” (Page 29, glyphosate RS)

          400.   In late 1986 and 1987, OPP was working on a policy document setting forth new

worker-safety requirements for product labeling that would apply to all registered pesticides.

OPP planned on issuing the new worker-safety labeling requirements via what is called a

Pesticide Regulatory (“PR”) Notice.

          401.   The worker-safety protections for applicators called for in the 1986 RS were

supposed to appear on all Roundup-product labels in commerce as of June 30, 1988. However,

in a 11/2/87 letter to Robert Taylor, OPP’s registration manager for glyphosate, Monsanto

requested a postponement of certain additional protective clothing requirements on Roundup

labels.

          402.   EPA assigned the task of reviewing and responding to this Monsanto request for



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deferral to Alan Nielsen in OPP’s Exposure Assessment Branch. He received the assignment on

11/18/87 and a memo setting forth his recommended action is dated 1/28/88.

       403.    Nielsen agreed to Monsanto’s request to postpone additional requirements for

personal protective equipment (PPE) on Roundup labels subject to two conditions. The first was

that the new worker-protection PR notice would be issued “…in a reasonable time frame…”, and

lead to changes in Roundup worker safety language compared to those required in the RS. And

second, “…the submitter [Monsanto] begin investigating the high number of eye and/or skin

injuries associated with glyphosate use in California.”

       404.    Reinforcing his concern, Nielsen added in his memo to the Registration Division

that: “Myself and other members of the Exposure Assessment Branch would like to meet with

appropriate representatives of the Monsanto Company to discuss their response to this concern

[the adverse impacts data from California] within six months. Please arrange with the submitter.”

       405.    Monsanto continued to challenge EPA’s requirements for stricter worker-safety

provisions through multiple communications over several years. Some arguments were

procedural (e.g., defer changes in labeling until the new, generic worker-safety labeling PR

notice was issued), while others were supported by references to Monsanto-commissioned

exposure studies and risk calculations.

       406.    Ultimately, Monsanto never added the language requested in 1986 calling for use

of new Personal Protective Equipment (PPE) and other steps to reduce worker exposures. The

labels for Roundup products generally state: “Personal Protective Equipment (PPE) Applicators

and other handlers must wear: long-sleeved shirt and long pants, shoes plus socks…[no other

PPE is required]”

       407.    The phrase “other handlers” encompasses those mixing and loading, shipping,




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storing, or handling the herbicide.

          408.   The label requires that PPE be kept and washed separately from other laundry,

and then provides this instruction to applicators and other handlers:

          “Discard clothing and other absorbent materials that have been drenched or
          heavily contaminated with this product’s concentrate. Do not reuse them.”
          (Emphasis added).

          409.   Accordingly, “clothing and other absorbent materials” drenched with Roundup

spray solution need not be discarded, despite EPA stating in the 1986 RS that heavily

contaminated clothing cannot be fully decontaminated and should therefore be discarded.

          410.   Under the heading “User Safety Recommendations,” the label states that “Users

should:

          “Wash hands before eating, drinking, chewing gum, using tobacco or using the
          toilet. Remove clothing immediately if pesticide gets inside. Then wash
          thoroughly and put on clean clothing.”

          411.   There is also a “Non-Agricultural Use Requirement” on each label: “Keep people

and pets off treated areas until spray solution has dried.” There are no other sections or

provisions on Roundup labels that address the need, or ways to reduce worker exposures and

risks.

          412.   To this day, Monsanto has not added to Roundup product labels the worker-safety

precautions and requirements as set forth in the 1986 RS. In my opinion, a reasonable and

prudent pesticide manufacturer would have added this common sense warning language to the

label. Monsanto, to this day, never has.

          413.   Throughout the 1990s and 2000s, there was a steady flow of new information

regarding worker risks from: (a) Monsanto’s ongoing research and testing around the world that

pointed to the need to address high-exposure scenarios and eliminate high-risk surfactants, and




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(b) exposure and illness episodes reported to the 1-800 phone numbers on Roundup labels, in the

event of the need for emergency medical assistance.

       414.    Regulators in the UK required Monsanto to add a requirement for respiratory

protection on certain Roundup labels, as a result of high-exposures around the face when

Roundup is applied to trees via a backpack sprayer. (MONGLY06454420).

       415.    The EU had been pushing for years for the removal of POEA surfactants from

Roundup formulations, a task that Monsanto worked to achieve in European formulations

throughout the 2000s and pledged to complete by 2012.

       416.    But in the U.S., Monsanto blocked or curtailed more restrictive worker-safety

language on most formulated product labels and retained POEA surfactants in essentially all

products.

       417.                     , a European-based Monsanto scientist, sent a November 10, 2008

email to his Monsanto colleagues Saltmiras,            Farmer, and               . In it,

shares his view that Monsanto needed to conduct additional studies to obtain better data to

address worker-exposure concerns across Europe. (MONGLY02155826).

       418.    The new data and analyses that            was advocating would be included in an

Annex to the dossier Monsanto was developing for submission to the German regulatory

authority, as part of the re-registration of glyphosate in the EU.

       419.    In his email,         writes: “Dermal exposure is the greatest risk of exposure to

operators. Therefor we need to be secure on the ADME of such exposure.” ADME stands for

Absorption, Distribution, Metabolism, and Excretion. (MONGLY02155827).

       420.    A few days earlier (November 7, 2008),                had sent an email to Monsanto

colleagues, including                 , a Monsanto employee based in Germany who was




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interacting with the BfR on glyphosate re-registration issues.            11/7/2008 email outlines

the topics of discussion on a call addressing adverse worker-exposure episodes the BfR was

aware of. Four areas of “preparation” for future interactions with BfR were outlined, including:

“3. Toxicology: counter the allegation on synergistic effects of tallow amine [POEA surfactants]

with glyphosate.” (MONGLY010122033).

       421.    Regulators in Italy and Germany were, in particular, concerned over data

published in peer-reviewed journals showing that Roundup products formulated with POEA

surfactants pose greater risks than glyphosate alone. Monsanto asked Dr. Parry to review several

of them. Recall, as well, Heydens’ comment quoted previously that, not surprisingly, “we are in

pretty good shape with glyphosate [re genotoxic risks] but vulnerable with surfactants.”

       422.    The EPA has based its glyphosate worker-risk assessments on data provided

predominantly by Monsanto. If the data from Monsanto is not current or is inaccurate, regulatory

risk assessments will also be inaccurate, and hence may poorly reflect actual risks in the field.

       423.    In my opinion, the failure of Monsanto to generate and submit to the EPA

updated, more accurate worker-exposure and worker-risk data based on use of, and exposures to

GBHs perpetuated EPA reliance on out-of-date, inaccurate worker-risk assessments that almost

certainly underestimated actual risks.

       424.    A published, peer-reviewed genotoxicity paper came out in 2007 that was among

the papers triggering new concerns in Europe over formulated Roundup products. It was entitled

“Cytotoxicty of the herbicide glyphosate in human peripheral blood mononuclear cells (Martinez

A, Reyes I, Reyes N. (2007), Biomedica 27(4):594-604). The results and conclusions sections

from the abstract of the paper follow:




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       RESULTS:
       Both technical grade glyphosate and Roundup formulation were toxic to human
       peripheral blood mononuclear cells. Cytotoxicity of Roundup was higher than
       cytotoxicity of glyphosate, since the LC50 (50% lethal concentration) determined
       by the trypan blue exclusion method at 24 h was the equivalent of 56.4 microg/ml
       of glyphosate in the form of Roundup and 1,640 microg/ml (1.64 mg/ml) for
       technical grade glyphosate.
       CONCLUSIONS:
       This in vitro study confirmed the toxic effects on human cells by glyphosate and
       its commercial preparations. Commercial formulations were more cytotoxic than
       the active component alone, supporting the concept that additives in commercial
       formulations play a role in the toxicity attributed to glyphosate-based herbicides.


       425.   The 2007 Martinez et al study quoted above reports that the formulated Roundup

product was 29-times more cytotoxic than pure glyphosate, a substantial difference with possible

regulatory consequences.

       426.   Plans and initiatives inside Monsanto to deal with BfR regulatory concerns were a

focus of a “Glyphosate Toxicology Peer Review” meeting held in London on June 22, 2007.

Three senior, corporate Monsanto scientists were present (Donna Farmer,                      ,

       ), and a fourth participated via the phone (Christophe Gustin). The Third-Party Network

experts in attendance were Professor               , Dr.        , and Dr.          .

          is listed as “Consultant.” (MONGLY0118777).

       427.   One section of the meeting overview document is entitled “NOTES TAKEN

DURING THE PRESENTATIONS.” It includes sections addressing the issues facing Monsanto

in preserving its glyphosate-related Freedom to Operate (“FTO”) in Europe: carcinogenicity,

endocrine disruption, co-formulants, and operator exposure.

       428.   Under “4. Operator exposure,” there is a section setting forth “Proposals for

Action.” The first bulleted item reads: “Label recommendations for hand held spraying should

include recommendation for using shields and not walking through the spray or sprayed area.



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ACTION:        .” “    ” stands for                     , who was head of Regulatory Affairs for

Monsanto in Europe.            was the individual responsible for submitting new or revised

glyphosate-based herbicide label directions, including worker-safety requirements, to regulatory

authorities. (MONGLY0118777).

       429.    Recall that the 1986 glyphosate Registration Standard document issued by the

EPA included a requirement for goggles or a face shield, a requirement ignored by Monsanto

regulatory officials in the U.S.

       430.    In my opinion, the recognition by Monsanto scientists and regulators in Europe of

the need to require face shields in the case of hand held spraying was justified, and indeed

overdue. The refusal of U.S.-based Monsanto officials to add a requirement for face shields or

goggles onto Roundup-brand herbicides sold in the U.S. is further evidence that the company

places little weight on its pledge to product safety.




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VIII. Monsanto Terminates TNO Study, Which Showed Elevated Rates of Dermal
      Absorption

       431.    Monsanto commissioned new studies on the rate of dermal penetration of

Roundup herbicides, in response to questions from EU regulators. Studies responsive to this

request were needed to sharpen estimates of worker-exposures and risk, especially in the case of

formulated Roundup products containing POEA.

       432.    Monsanto commissioned a dermal penetration study in rats. It was conducted by a

Denmark contract laboratory, TNO, in 2002.

       433.    The rate of dermal absorption when a person’s skin is exposed to a glyphosate-

based herbicide like Roundup is a key variable in estimating applicator exposure and risk. Low

dermal-absorption rates, other things being equal, will result in less worrisome warning symbols

on labels, less strict limits on use, and/or fewer and less onerous requirements for personal

protective clothing and equipment for those mixing, loading, or applying pesticides.

       434.    In EPA’s 1986 glyphosate Registration Standard and the 1993 EPA Re-

registration Eligibility Document (RED), the agency incorporated an estimated 3% dermal

penetration rate (also called an “absorption rate”) for glyphosate in its estimates of applicator

exposures and risk. This estimate, in turn, was based on studies conducted in the 1980s by

Monsanto.

       435.    Monsanto was aware that EU regulators were asking for updated dermal

penetration studies as part of the EU re-registration review of glyphosate. Hence, Monsanto’s

decision to contract with TNO to conduct a state-of-the-art rat skin penetration study.

       436.    An email exchange in April 2002 between Monsanto employees in Europe

working on the new data required by German regulators, and senior Monsanto personnel in St.

Louis (Heydens, Healy, Farmer, Martens, Wratten, among others), reported that Monsanto-



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Europe had agreed to conduct a new in vitro dermal penetration study with rat skin.

       437.    The results of the TNO study were initially reported to a Monsanto scientist

stationed in Belgium (Fabrice Broeckaert) via a phone call from TNO and were later transmitted

in a 22-page “unaudited draft report” dated June 14, 2002 (MONGLY00888353-0088388). The

“Draft report” stated that the dermal absorption rate for the glyphosate in the concentrate of the

formulated Roundup herbicide (MON 35012) through rat skin is 10.3%, plus or minus 4.2%,

resulting in a range of 6.1% to 14.5% after 48 hours of recovery.

       438.    TNO also tested the same MON 35012 formulation at a field-concentration rate

that delivered a glyphosate dose of 0.08 mg/cm2 during the experiment, as opposed to the 6.25

mg/cm2 in the case of the concentrate (i.e., a 78-fold dilution rate). In the case of the field-diluted

rate of MON 35012, the unaudited draft report reported that 2.6% +/- 1.4% of the glyphosate

applied to the rat skin penetrated through it (range 1.2% to 4%).

       439.    TNO also measured rat skin penetration of pure glyphosate, MON 0139 70%

solution (70% glyphosate, 30% water), both as a concentrate and diluted 79-fold. For the pure

glyphosate concentrate, 1.3% +/- 1.9% penetrated the skin, and 1.4% +/- 2.2% in the case of the

diluted, pure glyphosate test substance.

       440.    Based on these initial TNO study results, the percent of glyphosate penetrating the

rat skin was 7.9-times higher in the case of the concentrate of the formulated product, compared

to the concentrate of pure active ingredient.

       441.    According to Garnett, the large difference between the dermal absorption rate of

formulated Roundup (mid-range estimate, 10.3%) compared to pure glyphosate (mid-range

estimate, 1.3%), “confirm our expectation that surfactant concentration affects dermal

absorption.” (Emphasis added; MONGLY…)




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       442.     In an April 2, 2002 email from William Heydens to his colleague Charles Healy

about the “new issues and topics for the conf call of Tuesday, 2 April,” Heydens wrote:

       “My primary concern is with glyphosate in terms of the potential for this [TNO]
       work to blow Roundup risk evaluations (getting a much higher dermal penetration
       than we’ve ever seen before.” (Text as it appears in email; “[TNO]” is added).

       (MONGLY03738295).

       443.     An increase in the Roundup dermal absorption rate from 3% to around 10%, as

seemingly called for in this TNO experiment, would increase estimated worker exposures and

risks by about three-fold. Such results would undermine the risk assessments in existence at the

time and would likely trigger a reassessment of worker risk levels and worker-safety

requirements.

       444.     In an April 4, 2002, email, Broeckaert reports to the group that, as a result of the

TNO results reported to Monsanto, “we came to the conclusion that the penetration of glyphosate

would have been [probably] greater than the 3% already imposed by the German authorities. We

decided thus to STOP the study (effective today).” (Emphasis in original; MONGLY03737015).

       445.     Donna Farmer replied to this email later the same day, asking for clarification,

leading to an email the next day from Garnett, one of the Monsanto scientists directly involved

with the scope and focus of recent and ongoing work on dermal absorption.

       446.     Garnett wrote in his April 5, 2002 email response to Farmer, and all others on the

April 2 email chain, “We dropped the programme for glyphosate because a further study was not

likely to help us meet the project objective”.

       447.     In addition to stopping further studies Monsanto had planned to carry out at TNO,

Monsanto scientists raised a number of questions and concerns about the TNO study. Issues

involving the mass balance calculations were discussed, and addressed in a revised TNO report




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dated November 14, 2002, and then again in another draft report dated April 9, 2013, and another

dated March 27, 2003. The final report was dated July 23, 2003.

       448.    In each of the subsequent drafts, there was one significant change in the core

results -- the percentage of the glyphosate penetrating the rat skin in the study testing the pure

glyphosate concentrate fell to 0.52%, down from 1.3% in the initial draft report. As a result of

this change, 20-times more glyphosate in the formulated product concentrate penetrated the rat

skin, compared to the pure glyphosate product.

       449.    The July 29, 2003 final report states that because of “poor recoveries combined

with the high variation within the glyphosate test groups make the data generated in this study

unsuitable for risk assessment.” (MONGLY01285831). This statement did not appear in the June

14, 2002 version of the TNO report.

       450.     In order to resolve any methodological issues in its rat skin penetration study

conducted for Monsanto, TNO offered to repeat the study at no charge to the company.

Monsanto did not take TNO up on its offer.

       451.    In my opinion, the core findings of the TNO study should have triggered

additional studies, and at a minimum, Monsanto should have accepted the no-cost, repeat study

offered by TNO. In addition, I conclude that the results in the initial TNO report dated June 14,

2002 should have been provided to the EPA in accord with FIFRA section 6(a)2(B). This

provision in FIFRA requires that new, adverse data on a pesticide in the possession of registrants

must be reported to the EPA within 90 days, including data in preliminary reports.




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IX.      Monsanto’s Relationships with “Friendly” Scientists and Officials in EPA

         A.     Jess Rowland

         452.   Jess Rowland was the Deputy Director of the OPP Health Effects Division. He

was directly involved in managing the EPA’s internal assessment of glyphosate’s oncogenicity,

as well as the EPA’s interactions with and response to the IARC review of glyphosate. He also

served as a point of contact between EPA and other federal agencies, and managed CARC

(Cancer Assessment Review Committee), a key, internal OPP committee that rendered

judgement of whether a given pesticide poses cancer risk.

         453.   In a 2/20/15 email, as Monsanto was preparing for the release of the IARC report

on glyphosate, William Heydens wrote an email to Dan Jenkins, his Monsanto colleague that

worked most closely with EPA on registration issues at the time. The topic is “EPA Folks going

to IARC” (i.e., attending the final IARC Working Group meeting in Lyons, France March 10-14,

2015).

         454.   Heydens reports on the two EPA scientists that “will actually participate in the

meeting,” and two other EPA representatives that will be attending as observers. He identifies

the two observers as “Catherine [Eiden] is a Special Assistant in the Pesticide Re-evaluation

Division, and we all know Jess.” (MONGLY00986901).

         455.   In an April 27, 2015 email exchange between Dan Jenkins (registration, EPA

interface) and William Heydens (toxicology, safety), Heydens asks Jenkins about approaching

EPA and asking them directly “about what area they see as most problematic [in the IARC

monograph] or just ask if there is anything that would help them [EPA] defend the situation?”

         456.   Jenkins responds: “I think you and I could get on the phone w Jess Rowland and

discuss this openly. He’ll give us straight talk.” (MONGLY03929023).




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          457.   The next day (April 28th), Jess Rowland called Dan Jenkins “out of the blue” and

told Jenkins:

          “We have enough to sustain our conclusions [that glyphosate is not oncogenic].
          Don’t need gene tox or epi. The only thing is the cheminova [another registrant of
          glyphosate herbicides] study with the sarcoma in mice – we have that study now
          and its conclusions are irrelevant…I am chair of the CARC and my folks are
          running this process for glyphosate in reg review.”

          (MONGLY00987756)

          458.   But Rowland had another message to pass on to Jenkins that day. The Agency for

Toxic Substances and Disease Registry (“ATSDR”), another U.S. government agency

responsible for assessing the toxicity of chemicals, was planning to undertake a review of

glyphosate. According to one Monsanto scientist, ATSDR historically reached conclusions

similar to IARC. An ATSDR determination similar to IARC’s would raise doubts about the

EPA’s position that glyphosate does not pose cancer risk.

          459.   In this email, Rowland then asks Jenkins for a contact name at ATSDR, and

reports that there is no coordination underway between EPA and ATSDR in terms of ATSDR’s

pending assessment of glyphosate. Then, according to Jenkins’s email, Rowland said: “If I can

kill this [the ATSDR review] I should get a medal.”

          460.   In a September 3, 2015 email to a large group of colleagues, Dan Jenkins wrote

that:

          ”No questions but Jess Rowland at EPA is quite proud of their recent endocrine
          conclusions and is also on point regarding their IARC response. Jess will be
          retiring from EPA in ~5-6 mos and could be useful as we move forward with
          ongoing glyphosate defense.”
          (MONGLY03351980)

          461.   Rowland was responsible for an October 2015 evaluation of glyphosate as head of

the Cancer Assessment Review Committee (CARC). In conducting this review Rowland




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apparently violated EPA’s own cancer assessment guidelines in concluding that glyphosate was

“Not Likely to be Carcinogenic to Humans.” In a May 2, 2016 email, Jim Jones, an Assistant

Administrator at the EPA, informed Gina McCarthy, the Administrator of the EPA that the

CARC “assessment was not consistent with Agency’s guidelines.” (EELI_0000037).

       462.    The CARC Assessment was “inadvertently” released to the public, despite its

violation of guidelines and “Monsanto saw it and put out a release saying EPA had confirmed

glyphosate is not carcinogenic.” (EELI_0000037).

       463.    The CARC assessment formed the basis of the OPP’s September 2016 report on

glyphosate oncogenicity. Considering Dr. Rowland relationship with Monsanto, it raises, in my

opinion, serious questions about the objectivity of that report and the scientific basis of EPA’s

determination that glyphosate is “not likely” to pose cancer risk.

       464.    Other parts of the EPA have expressed skepticism about the conclusion reached

by the OPP and CARC on the question of glyphosate’s oncogenic potential. The Office of the

Administrator in EPA was aware of the divergence in the EPA and IARC assessments and asked

the agency’s Office of Research and Development to share its views on OPP’s glyphosate cancer

risk assessment.

       465.    ORD prepared summary comments on OPP’s classification in light of IARC’s

“probably carcinogenic to humans” determination. (EPA-HQ-2016-0140431_00000037-39). In

point number 5, ORD addresses the importance of studies on the mutagenic (i.e., genotoxic)

potential of glyphosate and GBHs. It notes that the EPA review of studies on glyphosate’s

mutagenic potential was not thorough. ORD then writes:

       “…if there is evidence of mutagenic potential or if a mutagenic potential has not
       been adequately ruled out, then the characterization of glyphosate as ‘not likely to
       be carcinogenic’ could be problematic for this reason alone, given the lack of a
       high-quality negative epidemiological study.”



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       466.    In my opinion, the IARC conclusion that there is “strong evidence” of GBH

genotoxicity through at least two mechanisms known to be associated with human cancers more

than satisfies the “evidence of mutagenic potential” referred to in the ORD memo.

       B.      Jack Housenger

       467.    As events unfolded in 2015 after the release of the IARC classification, the EPA’s

Office of Pesticide Programs still classified glyphosate as not likely to pose a human cancer risk.

Moreover, EPA had been working for years on its own re-registration review of glyphosate. The

key question was whether the IARC classification would alter EPA’s judgement regarding

glyphosate herbicide cancer risk.

       468.    At the time, Jack Housenger was the Director of the Office of Pesticide Programs

and had been a senior OPP manager for many years.

       469.    The record (including text message exchanges) shows a close, deferential, and

supportive relationship in communications from Housenger to Monsanto.

       470.    One example of Housenger taking the initiative to help Monsanto occurred in

May, 2015, about two months after the release of the IARC report. Monsanto, Jess Rowland of

EPA, and apparently Housenger raised concerns that a review of glyphosate toxicity by ATSDR

might align with IARC’s and undermine EPA’s view.

       471.    After asking Monsanto for help identifying contacts at ATSDR, and calling the

ATSDR staff member assigned to carry out the review, Housenger sent a May 20, 2015 email to

Patrick Breysse, head of the ATSDR program. Housenger introduced himself as the Director of

the EPA Office of Pesticide Programs (OPP), and updated him on the near-complete,

comprehensive OPP review. Then he wrote:

       “However, given that our reviews [OPP’s and ATSDR’s] would be basically done



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       very close in time to one another, there is a question of whether this is a good use
       of government resources. I’d like to talk to you about this and can be reached at
       the number below.” (Public document).

       472.    Breysse responds nine minutes later: “Can we discuss today or tomorrow”.

Housenger’s email and call with Breysse, the ATSDR Director, was not the only contact he

made with ATSDR. In an email sent June 24, 2015 to Dan Jenkins, Monsanto’s senior D.C.-

based registration official, Housenger writes:

       “Dan, here is everyone I talked to Henry [Abadin] was the one who ended up saying that
       they [ATSDR] would put glyphosate on hold holding the OPP risk assessment release [he
       actually meant “pending” rather than “holding” the OPP risk assessment release] Hope
       this helps Breysse, Patrick N…he’s the Director of HCEH/ATSDR. Stephan, James W
       (aka Jimmy) he’s the acting director of the Division of Community Health Investigation
       Henry Abadin…..he’s the branch chief Hannah Pohl…..is the person doing the work on
       glyphosate”

       (MONGLY04028722).

       473.    On October 13, 2016, Jay Vroom of CropLife America (pesticide industry

lobbying organization) called and emailed Jack Housenger to discuss removing epidemiologist

Peter Infante from the glyphosate SAP panel, and to invite Housenger to a retreat with Monsanto

and other industry executives at a West Virginia casino and resort. (EPA-HQ-2017-000442-

0000205).

       474.    On October 14, 2016, the OPP announced that it was postponing the SAP hearing

on glyphosate scheduled for October 18, 2016. On October 19, 2016, the OPP announced that

Peter Infante would no longer be on the SAP panel evaluating glyphosate.

       475.    Jack Housenger attended a CropLife retreat at the Greenbrier Casino and Resort

with executives of Monsanto and other pesticide companies in November of 2016, one month

before a key SAP Panel hearing on glyphosate. These executives noted that, “[w]e had some

quality time with EPA OPP Office Director Jack Housenger to dig into key issues and




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operational matters at that vital department of EPA.” (MONGLY07063555).

       476.    Like Rowland, Housenger’s relationship with Monsanto and chemical industry

raises serious questions about the objectivity and reliability of the OPP’s recent assessment of

glyphosate. Indeed, the SAP meeting convened to review the OPP’s report agreed unanimously

that the OPP did not follow the EPA guidelines in its review of the carcinogenicity of

glyphosate. In my decades of experience reviewing OPP practices and EPA re-reregistration

reviews, I have not become aware of a clearer example of regulatory capture.




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X.     Monsanto Asks Dr. Parry to Assess Glyphosate Genotoxicity and Then Does Not
       Disclose His Findings to Regulators or Conduct the Studies He Recommends

       477.       In the 1990s several positive genotoxicity studies were published including:

              •   Lioi et al., (1998), Genotoxicity and oxidative stress induced by pesticide
                  exposure in bovine lymphocyte cultures in vitro, Mutation Research 403:
                  13-20);
              •   Lioi et al., (1998), Cytogenic damage and induction of pro-oxidant state in
                  human lymphocytes exposed in vitro to glyphosate, vinclozolin, atrazine,
                  and DPX-E9636, Environ. Mol. Mutagenesis 32: 39-46);
              •   Bolognesi et al (1997), Genotoxic activity of glyphosate and its technical
                  formulation Roundup, J. Agric Food Chem 45: 1957-1962); and
              •   Clements C, Ralph S, Petras M (1997), Genotoxicity of selected
                  herbicides in Rana catesbeiana tadpoles using the alkaline single-cell gel
                  DNA electrophoresis (comet). Environ Mol Mutagen 29:277–288.

       478.       The company decided to reach out to a well-known and respected expert in

genotoxicity, Dr. James Parry, a professor in the School of Biological Sciences, University of

Wales Swansea, in the UK.

       479.       To gauge how helpful Dr. Parry might be as a Third-Party Network member, and

before committing to a more open-ended consulting agreement, Monsanto gave him a short-term

assignment that entailed reviewing a set of then-recently published genotoxicity papers. A series

of Monsanto emails were sent on May 16-18, 1999 discussing Parry’s role, his fee (600 pounds a

day), and estimated that the requested review would take about 10 days (total cost of 6,000

pounds). (MONGLY01825649).

       480.       In a letter dated August 18, 1999, Dr. Parry transmitted his first of three

evaluation reports to Mark Martens, a Monsanto toxicologist. After reviewing a number of

published, genotoxicity studies, along with the results of several of Monsanto’s own studies, he

offered 19 conclusions on the genotoxicity of glyphosate and formulated glyphosate-based

herbicides.

       481.       Based on Dr. Parry’s review: (1) six of his 19 conclusions were that certain types


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of studies and assays showed no evidence of genotoxicity; (2) 6.5 studies/types of assays were

positive for evidence of genotoxicity; and (3) 6.5 were equivocal and would need to be refined

and/or repeated.

           482.   Parry then states: “I conclude that glyphosate is a potential clastogenic in vitro.”

He was unable to draw a conclusion on the clastogenicity of formulated glyphosate-based

herbicides because of a lack of studies. He also states that “glyphosate mixtures [i.e. GBHs] may

be capable of inducing oxidative damage in vivo.”

           483.   Parry’s two conclusions, reached in 1999, were similar to the primary reasons that

the IARC classified the evidence on glyphosate’s genotoxicity as “strong.”

           484.   In addition to his written reports, Dr. Parry provided Monsanto with a detailed list

of recommended research activities to clear up lingering questions over the genotoxicity of

glyphosate-based herbicides, the mechanisms giving rise to genotoxicity, and relevance of these

mechanisms to the evaluation of glyphosate’s other health effects, and especially oncogenicity.

(MONGLY01314264).

           485.   In his summary statement in the document setting forth research

recommendations, Parry writes: “My overall view is that if the reported genotoxicity of

glyphosate and glyphosate formulations can be shown to be due to the production of oxidative

damage then a case could be made that any genetic damage would be thresholded. Such genetic

damage would only be biologically relevant under conditions of compromised antioxidant

status.”

           486.   Two Monsanto scientists shared their reviews of the Parry report with colleagues.

Stephen Wratten wrote an email entitled “Comments on Parry write-up” to Mark Martens and

Donna Farmer. Wratten starts by saying: “I was somewhat disappointed…The style and rather




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casual lack of completeness and preciseness would make it hard to circulate this around to

anyone as supporting information.”

       487.    Monsanto failed to provide the Parry Report to the EPA as required under 40 CFR

§ 159.158. FIFRA Section 6(a)2(B) spells out the adverse health effects information that must

be submitted by registrants to the EPA:

       (a) General. Information which is reportable under this part must be submitted if
       the registrant possesses or receives the information, and the information is
       relevant to the assessment of the risks or benefits of one or more specific pesticide
       registrations currently or formerly held by the registrant. Information relevant to
       the assessment of the risks or benefits also includes conclusion(s) or opinion(s)
       rendered by a person who meets any of the following:
               (1) Who was employed or retained (directly or indirectly) by the
               registrant, and was likely to receive such information.
               (2) From whom the registrant requested the opinion(s) or conclusion(s) in
               question.
               (3) Who is a qualified expert as described in § 159.153(b).

       488.    In the next several days in early July 1999, Monsanto officials discuss internally

whether to:

           •   Commission the new genotoxicity research studies Parry recommended;
           •   Ask someone else to interface with Parry to rough out the edges of his
               conclusions; or
           •   End the effort to cultivate Parry as a supporting expert.

       489.    The final decision came about two months later. In a September 16, 1999 email

from Mark Martens to Heydens and Farmer, Martens asked for “your opinions and then have a

discussion on the action to take?” (MONGLY03734971).

       490.    Heydens responds to Martens and Farmer later the same day, and writes:

       “However, let’s step back and look at what we are really trying to achieve here.
       We want to find/develop someone who is comfortable with the genotox profile of
       glyphosate/Roundup and who can be influential with regulators and Scientific
       Outreach operations when gentox issues arise. My read is that Parry is not
       currently such a person, and it would take quite some time and $$$/studies to get
       him there. We simply aren’t going to do the studies Parry suggests.”




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       (MONGLY03734971).

       491.    Then, in this same email, Heydens states that Monsanto should accelerate the

search for other genotoxicity experts who would be more “comfortable” with glyphosate’s

genotoxicity profile. The reason – “We have not made much progress and are currently very

vulnerable in this area. We have time to fix that, but only if we make this a big priority now.”

(Emphasis added)

       492.    For many months, Monsanto continued to discuss internally Parry’s

recommendations for more refined genotoxicity testing. There was a February 15, 2001 phone

meeting in which Dr. Parry and two Monsanto scientists participated (Mark Martens and Richard

Garnett). Internal reports and emails describe the meeting, which “started off in a tense

atmosphere because Parry was irritated by the language used in the mutagenicity section of the

Williams et al. paper.” (2000 genotoxicity review, MONGLY02626553)

       493.    In a February 12, 2001 email from Mark Martens, a Monsanto toxicologist, to his

colleagues Larry Kier, Donna Farmer, and William Heydens, Martens addresses Parry’s

recommendation to do additional in vitro micronucleus assays on Roundup surfactants. First, he

says “let’s include talk about laundry detergents, hand soap, dishwashing detergents…” that

contain similar surfactant chemicals.

       494.    On the prospect of another company asking Monsanto for permission to test the

genotoxicity of Roundup formulations, Martens says: “I know how I would react – with serious

concern.”

       495.    In explaining why he would be concerned, Martens lists five reasons or arguments

that could be advanced to scientists or regulators. First, the surfactants in home cleaning products

pose greater risk than ag products. Second, a positive study on a Roundup formulation might




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trigger the notion that glyphosate might also be genotoxic. Third, pure glyphosate is not

genotoxic, based on data generated mostly by Monsanto. Fourth, some tests on certain

formulations and surfactants have been negative (with no mention of those reporting positive

results).

        496.   His fifth reason is identified as a “fall back position”:

        “…we can agree with some testing on either surfactant solutions (would suppliers
        agree with us?) or with glyphosate formulations which don’t exist anymore on
        the market (e.g. MON 35050) [Roundup “classic”].” [Emphasis added).

        497.   Why would Martens acquiesce to the testing of a Roundup formulation no longer

on the market, if the company’s goal was to understand risk levels, and avoid exposing people

now buying and spraying Roundup to levels possibly triggering adverse health outcomes?

        498.   In my opinion Dr. Parry’s reports triggered an obligation to (1) report the

information to the EPA; (2) update the Roundup label to disclose the potential of genotoxicity

risk following significant and/or long-term exposures to Roundup; and (3) conduct the various

studies proposed by Dr. Parry to explore the genotoxicity of formulated GBHs.




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XI.     Corporate Ghost-Authorship/Writing

        499.   As used in this report, the term “ghost-authorship” and “ghost-writing” refer to

three types of contributions to a written document by a person not listed as the author, or among

the co-authors of a document: (1) producing the first and original draft of a document, or

section(s) of a document; (2) revising a document, or its section(s), in a way that adds to or alters

the substantive content of the document; and (3) providing information and text, either as

original writing or text derived from an existing document, that is used by a listed author or co-

author, or document editor, to alter the content of a document and/or respond to comments made

during peer review.

        500.   Each of the above three types of ghost-writing are unethical and unacceptable in

the scientific and regulatory communities.

        501.   As part of a stated intention to discredit the Seralini paper on the oncogenicity of

GE corn and Roundup (see paras 803-833) and force its retraction, Monsanto and its network of

third-party experts, including Dr. Bruce Chassy, referenced the Committee on Publication Ethics

(COPE) “Ethical Guidelines for Peer Reviewers (Irene Hames on behalf of COPE Council,

March 2013, v.1, www.publicationethics.org), and shared it with Wally Hayes, editor of Food

and Chemical Toxicology, the journal that published the Seralini study.

        502.   The COPE guidelines include that authors and/or reviewers must “declare all

potential conflicts of interest” and “recognize that impersonation of another individual during the

review process is considered serious misconduct.”

        503.   In multiple instances, Monsanto authors and reviewers failed to disclose obvious

conflicts of interest in their interactions with journal editors. Multiple reviews of papers were

submitted by one Monsanto scientist that were ghost-written, in whole or part, by others




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“impersonating” the reviewer-of-record.

       504.    A 2005 editorial entitled “Ghost Writing Initiated by Commercial Interests”

appeared in the Journal of General Internal Medicine (Vol. 20:549). It begins by saying:

       “The integrity of the published record of scientific research depends not only on
       the validity of the science but also on honesty in authorship…The scientific
       record is distorted if the primary purpose of an article is to persuade readers in
       favor a special interest, rather than to inform and educate, and this purpose is
       concealed.”

       A.      Gary Williams et al 2000 Paper

       505.    In 2000, the peer-reviewed journal Regulatory Toxicology and Pharmacology

published a paper entitled “Safety Evaluation and Risk Assessment of the Herbicide Roundup

and Its Active Ingredient Glyphosate, for Humans” (Williams, GM, Kroes, R, Munroe, AC,

Volume 3, pages 117-165).

       506.    In a PowerPoint presentation done on December 10, 2010 by David Saltmiras, a

Monsanto toxicologist, this Williams et al (2000) paper was called “an invaluable asset” for

“Monsanto responses to agencies…Scientific affairs rebuttals…Regulatory reviews.” Later in the

same slide, Saltmiras states that “More current external expert publications are now needed to

support our FTO and Registration Reviews,” and poses a question that had come up before in

Gingerich’s speculation about an EPA Scientific Advisory Panel meeting: “Will weight of

evidence be measured by number of publications or quality of the science??”

(MONGLY02067858)

       507.    The Williams et al (2000) paper emerged from a Monsanto commissioned and

paid for project undertaken by the consulting firm then known as Intertek Cantox

(http://www.intertek.com/scientific-regulatory-consultancy/).

       508.    With funding from Monsanto, Cantox commissioned and paid for Dr. Williams




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and Dr. Kroes to write a review of the human safety of glyphosate and Roundup herbicides, and

a Cantox employee Dr. Ian Monroe served as a third, listed co-author.

       509.    Dr. Gary Williams was a professor in the Department of Pathology, New York

medical Center, Valhalla, New York. He had been a consultant to Monsanto in the past.

       510.    Dr. Robert Kroes worked for ROTOX, University of Utrecht, The Netherlands,

and had worked with several Monsanto scientists stationed in Europe.

       511.    Dr. Ian Munro was an employee of Cantox Health Sciences International, the

consulting firm hired by Monsanto to produce several peer-reviewed journal articles on

glyphosate-based herbicides, in addition to Williams et al. (2000).

       512.    The Williams et al. (2000) paper is unusual in its scope and detail. It covers 48

pages in the journal and strives to accomplish two goals. First, it provides a summary of a

significant portion of the toxicology test results from Monsanto-commissioned studies done to

fulfill regulatory data requirements. In short, it restates Monsanto’s findings and conclusions

from company-commissioned regulatory studies.

       513.    Second, the paper discusses scientific findings relevant to the risk characterization

and risk assessment of exposures to glyphosate and glyphosate-based herbicides. It directs

special focus on papers in the peer-reviewed literature that the company regarded as inconsistent

with its conclusions with respect to glyphosate oncogenicity and/or the genotoxicity of

formulated glyphosate-based herbicides.

       514.    The paper’s “Purpose and Scope” section states:

       “Certain sectors of the scientific and nonscientific communities have commented on the
       safety and benefits of pesticide use. With this in mind, parts of this assessment address
       specific concerns that have been raised by special interest groups. This review will focus
       on technical glyphosate acid; its major breakdown product aminomethylphisphonic acid
       (AMPA); its Roundup formulations; and the polyethoxylated tallow amine surfactant
       (POEA).”



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       515.    There is no financial disclosure statement in the paper.

       516.    To determine if a financial disclosure statement had been added, the journal’s

website was visited November 25, 2017, and a search was conducted for the Williams et al

paper. The search results were to this link:

http://www.sciencedirect.com/science/article/pii/S0273230099913715

       517.    The paper is now available for online purchase. The abstract is available for no

charge, and lists the three authors and their affiliations, but no information is offered on who paid

for the study, or the substantial role of Monsanto in writing the paper.

       518.    The paper’s Acknowledgement statement reads in full:

       “The authors acknowledge the assistance of individuals who participated in the
       preparation of this document. First, we are grateful to those who gathered and made
       available the large amount of information used to write the manuscript for this document.
       Second, we thank the toxicologists and other scientists at Monsanto who made significant
       contributions to the development of exposure assessments and through many other
       discussions. The authors were given complete access to toxicological information
       contained in the great number of laboratory studies and archival material at Monsanto in
       St. Louis, Missouri, and elsewhere. Key personnel at Monsanto who provided scientific
       support were William F. Heydens, Donna R. Farmer, Marian S. Bleeke, Stephen J.
       Wratten, and Katherine H. Carr. We also acknowledge the participation and assistance of
       Douglass W. Bryant and Cantox Health Sciences International for scientific and logistical
       support in the preparation of the final manuscript.”

       519.    The second point in the Acknowledgment statement credits “toxicologists and

other scientists at Monsanto who made significant contributions to the development of exposure

assessments and through many other discussions.”

       520.    “Significant contributions to the development of exposure assessments” refers to

methodological and/or data and statistical work done by Monsanto on exposure assessment, but

does not encompass ghost-writing of the sections of the paper on exposure assessment.

       521.    The acknowledgement that Monsanto toxicologists and other scientists “made




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significant contributions through…many other discussions” does not disclose, nor even hint at

ghost-writing.

       522.      On the role of five “key personnel” at Monsanto, the authors state that their

participation and assistance entailed “scientific support,” a phrase that means Monsanto provided

access to data, analytical tools or models, or other scientific information generated by Monsanto.

       523.      In my opinion, this Acknowledgement statement is false, incomplete, and

misleading, because it fails to disclose the multiple, substantial instances of substantial

authorship contribution made by Monsanto employees to the paper as published.

       524.      William Heydens states in a 2015 email that “we”, i.e., Monsanto, ghostwrote

Williams (2000), in the context of discussing plans to ghostwrite an updated publication in 2015.

Heydens proposes that, for the new paper, “...we ghost-write the Exposure Tox & Genetox

sections...we would be keeping the cost down by us doing the writing and they would just edit &

sign their names so to speak. Recall that is how we handled Williams Kroes & Munro, 2000.”

(MONGLY00977264).

       525.      In addition to Dr. Heydens admitting that he and other Monsanto scientists

ghostwrote the article, Monsanto also documented the writing process for the Williams et al

paper, showing that Heydens was largely responsible for drafting the manuscript.

(MONGLY02598454).

       526.      Heydens’ efforts were extensive, as he noted “I have sprouted several new gray

hairs during the writing of this thing...” (MONGLY0186926).

       527.      On June 18, 1999, Douglas Bryant, a Cantox employee, sent a “progress report”

on “Roundup documents [papers in preparation by Cantox]” in an email to his client and

principle Monsanto contact, Lisa Drake. He copied two people: (1) William Heydens, the senior




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Monsanto corporate official overseeing the Cantox project and similar “science outreach” efforts,

and (2) Cantox colleague and paper co-author Ian Munro.

       528.    On the subject of the Williams et al. (2000) paper on glyphosate health effects,

Bryant reports on the status of various reviews, including one by co-authors Kroes and Dick

Peterson. He writes: “Bill Heydens, Donna Farmer, Kathy Carr and all those at Monsanto have

been helping get the document through QA.”

       529.    If doing so simply entailed catching and fixing errors, such input would be

consistent with the acknowledged role played by Monsanto scientists and toxicologists.

       530.    Bryant then outlines the final steps in the process prior to submission of the paper

to the journal: Bill Heydens completes the QA changes; sends edited and corrected version back

to Cantox to incorporate final comments by the internal-to-Monsanto and Cantox reviewers (e.g.

Peterson), and then the paper will be sent to the journal.

       531.    Twenty-seven minutes after the Bryant email was sent, Heydens sent this reply to

Bryant and the other recipients of the original email. It was addressed to “All,” and states:

       “A clarification – there is one step missing – I will review the final manuscript
       with the reviewers comments incorporated (in revision mode so I can find them
       easily) before it is sent to the publisher. I will commit to conducting this review
       very quickly. Assuming the reviewers don’t throw any surprises (I’m especially
       thinking of Peterson), I can turn this back around with a very minimal investment
       of time.”

       532.    Three days later, on June 21, 1999, Heydens sends a two-line email to his

colleague Donna Farmer, where he states “And Dougie [referring to Bryant] thinks I would

actually leave the final editing to him unsupervised…” This control over the final submission of

the publication to the journal was never disclosed in the final publication acknowledgment.

       533.    By September 15th, nearly-three months after the June 18, 1999 Bryant email

exchange, there had been multiple calls, exchanges of written material, and meetings between



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Bryant and Cantox, and Monsanto regarding the content and finalization of the Williams et al

(2000) paper. (MONGLY00905085).

       534.    The September 15th email from Bryant to Heydens copies Lisa Drake and

Katherine Carr of Monsanto, but not any of the co-authors. It states that: (1) Bryant is sending a

revised draft of the paper to the three co-authors Williams, Kroes, and Munro today; (2) the draft

manuscript includes “all the changes that were discussed today and during calls last week. Please

check it over to be sure that I have been thorough”; each co-author is asked “to complete his

review and respond so journal submission (Food and Chemical Toxicology) can be finalized for

September 30, 1999”; and, thanks everyone “for all your effort (undoubtedly there will be

more)…”

       535.    Later that same day, September 15, 1999, Heydens sends another short, cryptic

email to Donna Farmer and Stephen Wratten. This time he writes (exactly as in email): “FYI – in

case you want to see how it ended up (hopefully, that is! – I’ll strangle Kroes or Williams if they

ask for any re-writes!!) Bill.” By “it,” Heydens is referring to the pre-submission draft of the

Williams et al paper.

       536.    A submission of this paper to a peer-reviewed journal consistent with COPE

guidelines would have listed several senior Monsanto scientists as the co-authors.

       537.    It is not clear in the record whether Munro made any substantive contributions to

the paper. In a July 30, 1999 email from Heydens to Munro, Heydens writes: “Everyone at

Monsanto has agreed with adding you as an author – please do so.” (MONGLY01869261)

       B.      Williams et al 2012

       538.    In 2012, Monsanto commissioned another team to produce an updated review of

recent studies assessing the differential cellular toxicity of glyphosate and formulated Roundup




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herbicides. This paper appeared in the Journal of Toxicology and Environmental Health, Part B

Critical Reviews (15(1): pages 39-96). The lead author was AL Williams (not Gary Williams),

and RE Watson and JM DeSesso were listed as co-authors.

       539.    Monsanto employee Donna Farmer made significant contributions to the

manuscript but was not listed as a co-author. In an email sending one round of her work on the

manuscript to DeSesso, Farmer states, “[a]ttached is the first 46 pages. I added a section in

genotox from the Gasnier study ...see attached a critique we did that I took that from. Am

working on a section for Gasnier in the mechanistic section. Also we cut and pasted in

summaries of the POEA surfactant studies. Attached are more detailed summaries - see Knapp.”

(MONGLY00919381)

       540.    In the draft manuscript attached to the email Donna Farmer’s name is edited out

as a co-author. (MONGLY00919400)




       541.    The co-authors conducted a detailed review of dozens of studies, and concluded:

       “An evaluation of this database found no consistent effects of glyphosate
       exposure on reproductive health or the developing offspring. Furthermore, no
       plausible mechanisms of action for such effects were elucidated. Although
       toxicity was observed in studies that used glyphosate-based formulations, the data
       strongly suggest that such effects were due to surfactants present in the
       formulations and not the direct result of glyphosate exposure.”

       542.    The 2012 review was critical of a set of five genotoxicity studies carried out by a

team of French scientist led by Dr. R. Belle.




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       543.    In an effort to explain the substantial difference in the conclusions expressed by

Williams et al. (2012), in contrast to several published studies, a Letter to the Editor by Belle et

al. (2012), “Toxicity of Roundup and Glyphosate,” Vol 15: pages 233-237) states:

       “The authors [of Williams et al (2012)] do not take into account in their
       interpretation of our results the very poor cell membrane permeability of pure
       glyphosate.”

       (Emphasis added).

       544.    In concluding their letter, Belle et al. write:

       “Although we notice that Monsanto, the manufacturer of Roundup, financed their
       work, we would have expected strong scientific arguments against our results or
       alternative findings that would evidence the contrary. This is not the case, and, to
       our knowledge, our experiments, first published in 2002 and brought to
       Monsanto’s knowledge as early as 1999, have not been demonstrated to be
       incorrect or biased.”

       545.    In my opinion, Dr. Farmer played a substantial role in preparing the final

publication and should have been listed as an author. By concealing her involvement with the

publication, a scientist or researcher would not be aware that the publication was authored, in

part, by an employee of the manufacturer of the product being discussed.

       C.      Kier and Kirkland 2013 Paper

       546.    In 2013, the journal Critical Reviews in Toxicology published a peer-reviewed

paper entitled “Review of genotoxicity studies of glyphosate and glyphosate-based formulations”

(Vol 43(4)). Two authors were listed -- Monsanto consultant and former employee, Larry Kier,

and Dr. David Kirkland, a professor and Monsanto consultant.

       547.    The abstract of the 2013 paper reports that it updates an earlier review of studies

on the genotoxicity of glyphosate and formulated glyphosate-based herbicides. This earlier

review was the Monsanto commissioned and ghost-written paper Williams et al. (2000)

discussed earlier.



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        548.    The “Monsanto Manuscript Clearance Form” for the 2013 Kier-Kirkland

publication is dated 2/29/2012, and lists two authors: “David Saltmiras, Larry Kier (consultant).”

Under “Lead Author’s Comments,” Saltmiras (presumably) writes: “This work falls under the

scope of the EU Glyphosate Task Force and will be a valuable resource in future product defense

against claims that glyphosate is mutagenic or genotoxic.” (MONGLY02117600)

        549.    When published, the authors are listed as Kier and Kirkland. Saltmiras’ name is

deleted. Accordingly, the 2013 genotoxicity review paper is a ghost-written update of a ghost-

written 2000 review.

        550.    In the published version of the Kier-Kirkland 2013 paper, the “Declaration of

Interest” states:

        “Larry Kier and David Kirkland were paid consultants of the Glyphosate Task
        Force for the preparation of this review. The Glyphosate Task Force is a
        consortium of 25 European glyphosate registrants, listed on
        http://www.glyphosatetask-force.org/. Larry Kier is also a past employee of
        Monsanto Company. Monsanto Company was the original producer and marketer
        of glyphosate formulations. The authors had sole responsibility for the writing and
        content of the paper and the interpretations and opinions expressed in the paper
        are those of the authors and may not necessarily be those of the member
        companies of the Glyphosate Task Force.”

        551.    This “Declaration of Interest” is only partially truthful. Kier and Kirkland did not

write the paper alone; a third author, David Saltmiras, had contributed substantially to the paper,

but is not listed as a co-author (his help is noted in the Acknowledgements).

        In internal emails, dated January 2013, Saltmiras specifically requests his inclusion as a

named author, but Kirkland rejects this request, explaining “As much as I agree with recognising

the effort David S has put in, I do not think you can start adding an author at this stage. Apart

from anything else, it means the authors would no longer be ‘independent’.”

(MONGLY04086537). Thus, despite Saltmiras’ contributions to article, his name was not list an




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author. Indeed, even Kier acknowledges, “David S. was a co--author on the unpublished

literature review manuscript which was the first phase of this project which I think qualifies him

as a valid contributor to the manuscript.”

       552.    In my opinion, the authors did not have sole responsibility for the content, and

Monsanto, through its consultants Kier and Kirkland, and employee Saltmiras, was largely

responsible for the content, not the Glyphosate Task Force. (MONGLY02145924-30). In my

opinion, Saltmiras’ contributions qualified for authorship and the failure to disclose his

involvement is contrary to academic and scientific standards.

       D.      Critical Reviews of Toxicology Special Issue on Glyphosate Risks

       553.    One of the clearest examples of ghost-writing in this case is the special issue put

out by Critical Reviews of Toxicology (CRT). This special issue was conceived and

commissioned by Monsanto when the company learned that the International Agency for

Research on Cancer (IARC) would soon issue a monograph discussing the potential of

glyphosate-based herbicides to cause cancer.

       554.    These series of articles was discussed in a response to IARC, when Heydens

writes in an email with the subject “IARC Planning” that:

       If we went full-•bore, involving experts from all the major areas (Epi, Tox,
       Genetox, MOA, Exposure - not sure who we'd get), we could be pushing $250K
       or maybe even more. A less expensive/more palatable approach might be to
       involve experts only for the areas of contention, epidemiology and possibly MOA
       (depending on what comes out of the IARC meeting), and we ghost-write the
       Exposure Tox & Genetox sections. An option would be to add Creim and Kier or
       Kirkland to have their names on the publication, but we would be keeping the cost
       down by us doing the writing and they would just edit & sign their names so to
       speak.

       (Emphasis added, MONGLY02078590).

       555.    In another planning document titled, “Proposal for Post-IARC Meeting Scientific




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Projects” it posits the creation of a “Publication on Animal Carcinogenicity Data” where it

openly states, “Majority of writing can be done by Monsanto, keeping OS$ down.”

(MONGLY01228576).

        556.    In another email, dated May 11, 2015, Michael Koch (Dr. Farmer’s boss and head

of product safety within Monsanto), notes that Monsanto will attempt to get a “Publication on

Animal Data Cited by IARC” and that the “Manuscript to be initiated by MON as ghost writers.”

(MONGLY01023968).

        557.    The contents of this entire special issue of CRT was a Monsanto-controlled, and

largely Monsanto-written rebuttal of the evidence cited by IARC in support of its “probably

carcinogenic to humans” classification. Each paper had a mix of consultants and “independent”

scientists listed as co-authors, but failed to disclose various Monsanto scientists who had made

substantive contributions to the papers, including drafting full sections, if not full first drafts.

        558.    There are dozens of emails and other documents in the record memorializing the

role Monsanto played in the conceptualization, writing, revisions, and publication of the papers

in the special issue of CRT. For example: MONGLY00978170, MONGLY00992949,

MONGLY00994301, MONGLY00998682, MONGLY00999487, MONGLY01000676,

MONGLY01023968, MONGLY011300799, MONGLY01183933, MONGLY01228589,

MONGLY02085862, MONGLY02133654, MONGLY00998684 and MONGLY02359008.

Many of the communications are between Monsanto scientists and individuals working for the

Canadian consulting firm Intertek. This firm was hired by Monsanto to manage the process of

producing the papers that would appear in the special issue of CRT.

        559.    The consulting firm Intertek is basically the same company that Monsanto hired

in 1998 to manage the process of putting together the also-ghost-written Williams et al (2000)




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review of glyphosate toxicity. Back then, the consulting firm’s name was CanTox Intertek.

       560.    Intertek served as the primary mechanism through which ghost-written material

from Monsanto was incorporated in the drafts of the papers that were subsequently reviewed,

edited, augmented, and approved by the listed, Monsanto and non-Monsanto co-authors.

       561.     In addition, Intertek also served as the primary point of contact with the editor of

the journal CRT. This arrangement shielded the journal’s editor from evidence of Monsanto’s

direct role, not just as a ghost-writer of parts of some of the papers, but as the primary author of

several of them, and an important contributor to all of them.

       562.    In MONGLY00998682 transmits William Heydens edits on the “Summary

Report” paper for the CRT special issue back to Ashley Roberts, Senior VP of the Food and

Nutrition Group at Intertek. Roberts served as the principle point of contact between Monsanto

and Intertek, and between Intertek and paper co-authors.

       563.    Throughout the review process, Roberts also was the primary point of contact

between the paper co-authors and the journal CRT. A clear example arose in the wake of the

efforts by Monsanto to produce peer-reviewed papers and make presentations at scientific

meetings critical of the IARC Working Group’s classification of glyphosate as Group 2A,

“probably carcinogenic to humans.”

       564.    William Heydens was organizing a group of Monsanto third-part experts and

consultants for the “Expert Panel Review of the Carcinogenic Potential of the Herbicide

Glyphosate,” to be held at the 2015 Society for Risk Assessment (SRA) Annual Meeting.

(MONGLY01030787).

       565.    Via a November 3, 2015 email, he circulated the panel makeup to John

Acquavella and Larry Kier, individuals who had been involved in writing, and/or ghost-writing




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the papers published in the special glyphosate issue of Critical Reviews of Toxicology published

in 2016.

       566.    John Acquavella replied about an hour later that his name should be in the co-

author list, to which Heydens replies: “I thought we discussed previously that…we would not be

able to use you or Larry as Panelists/authors because of your prior employment at Monsanto.”

       567.    Just over an hour later, Acquavella responds to Heydens: “I didn’t realize that

Bill. Also, I don’t think that will be okay with my panelists. We call that ghost writing and it is

unethical.” (MONGLY01030787).

       568.    Heydens replied to Acquavella, writing: “We will have to pick this up tomorrow.”

The next day at 9:25 a.m., Heyden emails Acquavella, copying Donna Farmer, the Monsanto

scientist managing Acquavella’s consulting work. Heydens proposed a call later in the day.

Acquavella responds and sets the time for the call. And then he adds:

       “You guys know me. I can’t be a part of deceptive authorship on a presentation or
       publication. Please note the ICME guidelines below [which he attached to his
       email] that everyone goes by to determine what is honest/ethical regarding
       authorship.”

(MONGLY01030787).

       569.    On September 26, 2018, the CRT issued an Expression of Concern regarding

these panel manuscripts. In it, the publisher expressed “concerns over the completeness of

acknowledged contributions to the above supplement” and explained “[w]e have not received

an adequate explanation as to why the necessary level of transparency was not met on first

submission. We thank those who brought this matter to our attention. When reading the articles,

we recommend that readers take this context into account. We will continue to work to update

these articles and ensure full disclosure of all contributions to them.”

       570.    Similarly, on the same day, three of the named authors on the manuscripts issued



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Corrigendums, correcting their disclosures and revealing Monsanto’s involvement more clearly.

Although these documents are not accurate or complete, they are a step in the right direction.

Each of these corrigendums specifically apologizes for their errors. When Farmer was recently

questioned about this and, on behalf of Monsanto, refused to apologize for Monsanto’s role in

this.

          571.   In my opinion, the CRT articles did not properly disclose Monsanto’s

involvement in their publication and were not, purported in the publications, “independent”

reviews. Monsanto’s role in failing to reveal its involvement in their publication fell below the

standard required of a pesticide manufacturer or any academic / scientific institution.

          E.     Other Forms of Ghost-Writing

          572.   The above cited examples of ghost-writing involve unattributed contributions to

papers in peer-reviewed scientific journals with explicit conflict of interest and disclosure rules

that clearly prohibit ghost-writing.

          573.   There are other examples of ghost-writing as well.

          574.   On August 19, 2008, Dr. Charles Healy, a senior Monsanto scientist, received an

email request from the Editor of the journal Cell Biology and Toxicology to review a glyphosate

genotoxicity paper entitled “Cytotoxicity of herbicide Roundup and its active ingredient,

glyphosate in rats.” (MONGLY02286842).

          575.   He accepted the assignment and contacted his Monsanto colleagues David

Saltmiras and Donna Farmer later in the same day. He asked them to conduct the review,

explaining:

          “You two would be the reviewers in fact and I would then collate your comments
          and be the reviewer of record.”

          576.   In this circumstance, it would have been entirely routine for Healy to write back



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to the Editor and ask for permission to conduct the review with assistance from two Monsanto

colleagues who have deep expertise on the subject matter of the paper. The Editor would have

almost certainly approved Healy’s request, and thanked him in advance for taking on the

assignment.

        577.    In my opinion, ghostwriting a peer review is unethical and poses significant risk

to the scientific and academic process. The journal did not know that a Monsanto employee was

actually reviewing the paper, critical of glyphosate, and thus was from someone with a serious

conflict of interest.

        578.    The ghost-written Healy et al. review of the paper is nearly five pages, single-

spaced, and is about the same length as the paper, when it was published about a year later. The

Healy et al. review is brutal, rating the paper a 5 on a scale of 1 to 100 (100 top rating) and

“unacceptable” for publication.

        579.    On September 9, 2008, an email from the journal is sent to Healy stating: “I have

had completely opposite reviews on this paper. I would be very grateful for your comments

before giving the authors a decision.” Later the same day, Healy forwarded this message to

Saltmiras and Farmer, and adds: “Looks like ours will be the deciding vote as to whether the

glyphosate paper is published.”

        580.    A little over a year later, a revised version of the paper reviewed by Healy et al.

appeared in the journal Environmental Toxicology and Pharmacology (Vol 28:379-385). The

author is Nahla S. El-Shenawy.

        581.    Rising concerns over Roundup’s human health effects in Latin America led to a

Monsanto-organized Toxicology Expert Panel meeting in October 2012. David Saltmiras was

charged with putting together an invited, expert panel for the meeting. A seminar on the history




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and activities of the EU Glyphosate Expert Advisory Panel was among the presentations

Saltmiras was organizing.

       582.    In an August 13, 2012 email, Saltmiras shares with colleagues that he will invite

Sir Colin Berry or Jack Mandel to present talks during the seminar and adds that “I will likely

prepare the presentation and send to him to change/adapt as he sees fit.”

       583.    David Saltmiras engaged in an email discussion on January 26, 2013 with

Monsanto-consultant and former employee Larry Kier over whether Saltmiras should be added

as a co-author of Kier and Kirkland (2013), since Saltmiras wrote a significant portion of the

paper. Saltmiras tells Kier that he had been strongly encouraged by “Senior Monsanto

management” to author peer-reviewed publications, and that this Kier and Kirkland paper “is the

fifth such Glyphosate related manuscript I have been involved with over the past few years

without co-authorship.” (Emphasis added, MONGLY04086532).

       584.    In his 2012 performance evaluation, Saltmiras wrote “Successfully facilitated

numerous third party expert letters to the editor which were subsequently published...” on the

Seralini study. He also “accepted an invitation to be a peer-reviewer for a ‘high profile’

toxicology journal…peer reviewed several manuscript submissions, wherein my

recommendations to reject those manuscripts were accepted/adopted by the Editor.”

(MONGLY101045300).

       585.    As part of his 2015 performance evaluation, Saltmiras summarized his

glyphosate-related activities, which included “ghost wrote cancer review paper Greim et al.

(2015), coord Kier (2015) update to K&K, pushed for Sorahan (2015).” (MONGLY017223742).

       586.    These numerous examples, in my opinion, reflect instances of conduct which run

counter to the basic precepts of scientific integrity and transparency.




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XII.     Responses to Scientists Raising Concerns over Glyphosate Safety

         A.     IARC Working Group Members

         587.   Dr. Consolato Maria Segi, a professor at the University of Alberta, Canada, was a

member of the IARC Working Group that carried out the assessment of the oncogenicity of

glyphosate.

         588.   After the release of IARC Monograph 112 and announcement of the 2A

“probably carcinogenic to humans” classification, Dr. Sergi received a letter dated October 31,

2016 from a U.S. based law firm, Hollingsworth LLP. This firm had been hired by Monsanto to

carry out various activities in response to the IARC decision. Apparently, several other IARC

Working Group members received a similar letter.

         589.   According to Dr. Sergi’s response dated November 4, 2016, the law firm’s letter

requested “disclosure of files used in connection with the preparation of the IARC Monograph

Volume 112.” Prior to responding, she consulted with colleagues on the Working Group and

IRAC.

         590.   She replied that the files belonged to IARC, and the result of their deliberations

were explained in detail in the monograph. She then wrote:

         “I found your letter intimidating and noxious even though transparency is
         important…It is impolitic to mention possible consequences without identifying
         the correct background. I find your approach reprehensive and lacking of common
         courtesy even by today’s standards. As a graduate of a British educational system,
         I consider your letter pernicious, because it maliciously seeks to instill some
         anxiety and apprehension in an independent group of experts…Please avoid
         contacting me or any of my colleagues in the future regarding this issue.”

         (Emphasis in original; Heydens Exhibit 3-54)

         B.     Seralini Team

         591.   On September 19, 2012, a team of French scientists led by Gilles-Eric Seralini



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published a paper entitled “Long term toxicity of a Roundup herbicide and a Roundup-tolerant

genetically modified maize” in the journal Food and Chemical Toxicology (Vol 50: 4221-4231).

         592.    The paper reported the results of a two-year rat study. Both formulated Roundup

herbicide and GE-corn, fed separately and together, were found to trigger a variety of

pathologies including cancer, damage to the pituitary gland, liver, and kidneys, and premature

death.

         593.    The kidney emerged as a particularly vulnerable organ, given that 76% of the

impacted parameters were associated with kidney deficiencies.

         594.    The abstract ends with this statement:

         “These results can be explained by the non-linear endocrine-disrupting effects of
         Roundup, but also by the overexpression of the transgene in the GMO and its
         metabolic consequences.”

         595.    The Seralini study was the first, independent two-year rat feeding study designed

to sort out the individual and combined impacts of long-term exposure to a GE corn (NK603)

and formulated Roundup herbicide. Previously, Seralini and colleagues had conducted several

genotoxicity experiments comparing the toxicity of glyphosate and formulated Roundup in cell

assay systems.

         596.    The paper’s findings received extensive media coverage in the U.S. and Europe,

and posed a significant threat to Monsanto’s commercial interests, as well as a major challenge

for regulators who had previously approved both Roundup and GE, “Roundup Ready” corn.

         597.    The next day, September 20th, David Saltmiras sent an email to Sir Colin Barry

and Andrew Cockburn, a consultant working for Monsanto. It marks the beginning of a

campaign that would last years, with the goal of discrediting the Seralini paper and team.

         598.    In the email, Saltmiras calls the paper “junk science.” He questions what




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happened with the journal’s peer review process, and states: “I also suspect this paper may be in

our own best interests – the last rites for Seralini’s few remaining shreds of scientific credibility.”

(MONGLY01096620).

       599.    In my opinion, regardless of the merits and faults of the paper, the rapidity and

scope of negative commentary, beginning on the day the paper was released, was unprecedented.

       600.    A week after the paper’s release, a Monsanto-funded, retired academic in the

U.S., Dr. Bruce Chassy, emailed the journal editor Wallace Hayes calling for the paper to be

retracted, in order to save the reputation of the journal. (MONGLY00900629).

       601.    After Hayes responds and says he will process Chassy’s email as a letter to the

editor, and give the Seralini team an opportunity to reply in accord with standard journal policy,

Chassy quickly replies and writes that his initial email “was a heartfelt expression by a caring

colleague who is deeply concerned…My intent was to urge you to roll back the clock, retract the

paper, and restart the review process.” Then, Chassy alleges that “The paper in question has not

been peer reviewed,” a claim which he no doubt knew was false.

       602.    In the coming weeks and months, Monsanto encouraged and orchestrated a series

of critical commentaries, that included allegations of scientific fraud by the Seralini team.

       603.    A exchange of emails between senior Monsanto officials and scientists occurs on

September 26, 2012. Saltmiras starts the email chain at 11:50 a.m., which is sent to seven

colleagues, including Eric Sachs, Bill Heydens, Bruce Hammond, and Daniel Goldstein.

       604.    In the email, he reports on a call he had earlier that morning with the journal

editor, Wallace (Wally) Hayes. Saltmiras writes:

       “He [Hayes] expressed concern that to date he has only received links to blogs,
       web postings, media releases, etc. and no formal letters to the Editor…Therefore,
       he urgently needs rational, objective and authoritative formal letters to the
       Editor….I believe he would like such letters TODAY!”



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       (Emphasis in original, MONGLY02063095-96)

       605.    Among “Actions” Saltmiras lists in his email, he reports that he has emailed the

EU Glyphosate Task Force (GTF) Toxicology Working Group, suggesting that the GTF submit a

letter; that Eric Sachs (Monsanto’s head of Regulatory Policy & Scientific Affairs) will follow-

up with “his third party scientific experts…and request they consider formal letters to the

Editor.” Last, Saltmiras asks for his colleague’s “thoughts on promptly moving forward.”

       606.    Eric Sachs responds 13 minutes later, reporting that Bruce Chassy will soon

submit his letter to the journal, and “notify other scientists that have sent letters [to media outlets

or Monsanto] to do the same. He understands the urgency.”

       607.    Fifteen minutes later, Heydens replies to the group: “And I very strongly believe

we must go ahead and put together a Monsanto letter to the editor…”

       608.    Four minutes after receipt of Heydens’ email, Eric Sachs writes to the group: “I

remain adamant that Monsanto must not be put in the position of providing the critical analysis

that leads the editors to retract the paper.” (MONGLY02063096).

       609.    Heydens replies privately to just Sachs a few minutes later:

       “This [Sachs’ recommended role for Monsanto] makes no sense to me at all. We
       have defended our science every step of the way since our 1st encounter with him
       [Seralini]. That fact remains that the external sector has not given us what we
       need, and the editor is telling us it is the 11th hour…”

       610.    Sachs then replies just to Heydens:

       “I am not challenging that Monsanto should defend our science – we absolutely
       should and have. There is a difference between defending science and
       participating in a formal process to retract a publication that challenges the safety
       of our products. We should not provide ammunition for Seralini, GM critics and
       the media to charge that Monsanto used its might to get this paper retracted. The
       information we provided clearly establishes the deficiencies in the study as
       reported and makes a strong case that the paper should not have passed peer
       review. We have done our part. It is time now for the public sector and especially



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        our network of experts to do theirs.”

        (MONGLY02063095-96).

        611.     In this exchange, Sachs argues that Monsanto must not be perceived as

orchestrating and supporting a campaign that is designed to force the journal to retract the

Seralini paper, but that is essentially what they did, beginning with the sharing of Monsanto-

written criticisms of the Seralini study, before its public release, to a number of its third-party

experts who were quoted in various media stories, and/or wrote blogs, commentaries, and letters

to the editor.

        612.     Two days later, in an email from Daniel Goldstein to Sachs on the effort to

encourage letters to the editor, Goldstein writes to Sachs: “We are being asked to keep internal

correspondence down on this subject.” (MONGLY00936725).

        613.     In early October, Goldstein shared notes from conference calls with Monsanto

scientists and registration specialists in multiple countries regarding the fallout from the Seralini

study. It includes “A list of pending actions in St. Louis is provided below.”

(MONGLY00978885-90).

        614.     These actions and “Key Points” cover Monsanto efforts to support the retraction

campaign; studies that Monsanto should consider undertaking to have a basis to challenge the

findings in the Seralini paper; and, rebuttal arguments and related talking points to share with

regulators trying to encourage retraction of the Seralini paper.

        615.     Then Goldstein writes: “c. And finally – the one [new study that Monsanto should

consider doing] you have all been waiting for: 2 year rat/chronic studies of pesticide

formulations on crop.” (Emphasis added).

        616.     The Monsanto letter to the Editor of Food and Chemical Toxicology appeared in




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March 2013 (Hammond et al Vol 53: 459-464). It spanned six pages of text in the journal; the

original Seralini paper was 11 pages, of which about 4.5 pages were tables, figures, and photos.

The Monsanto letter was signed by three Monsanto scientists: Bruce Hammond, Daniel

Goldstein, and David Saltmiras.

        617.    Remarkably, the authors of the letter write “The authors declare that there are no

conflicts of interest” in the section of the letter labeled “Conflict of Interest,” when in fact it is

hard to imagine how three co-authors could be more directly or fully conflicted.

        618.    On November 19, 2013, Food and Chemical Toxicology Editor Wallace Hayes

wrote Seralini a letter informing him that his paper would be retracted. The letter included the

retraction statement that Hayes was going to publish. It recounts the controversy, the letters to

the editor, “and even allegations of fraud.”

        619.    At the time that Wallace Hayes decided to retract the paper, he had been hired to

be a paid consultant for Monsanto at $400 per hour. (MONGLY02185742). This information

was never disclosed during this time where Seralini’s credibility as a scientist was under assault

or to the readership of the journal.

        620.    Then, Hayes writes: “Unequivocally, the Editor-in-Chief found no evidence of

fraud or intentional misrepresentation of the data…Ultimately, the results presented (while not

incorrect) are inconclusive, and therefore do not reach the threshold of publication in Food and

Chemical Toxicology.”

        621.    In my opinion, the retraction of a scientific paper for reporting inconclusive

results is extremely rare, and if such a test for conclusiveness of results were adhered to

consistently by journal editor, the number of published papers would be dramatically reduced. It

is also my opinion that Monsanto’s financial relationship with Hayes should have been disclosed.




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This amounted to a serious conflict of interest.

       C.       The IARC Classification

       622.    The International Agency for Research on Cancer (IARC) released a summary of

its Working Group report on glyphosate and glyphosate-based herbicides via a short report

published in the May 2015 issue of The Lancet Oncology, a highly regarded medical journal. The

full Working Group monograph was initially published on July 29, 2015, and a lightly revised

version was released January 26, 2017 in which some references and typos were corrected

(http://monographs.iarc.fr/ENG/Monographs/vol112/mono112.pdf).

       623.    The concluding section of the full monograph discussing the basis for the

Working Group’s classification decision states:


       “6.3 Overall evaluation

       Glyphosate is probably carcinogenic to humans (Group 2A).

       6.4 Rationale

       In making this overall evaluation, the Working Group noted that the mechanistic and
       other relevant data support the classification of glyphosate in Group 2A.

       In addition to limited evidence for the carcinogenicity of glyphosate in humans and
       sufficient evidence for the carcinogenicity of glyphosate in experimental animals, there is
       strong evidence that glyphosate can operate through two key characteristics of known
       human carcinogens, and that these can be operative in humans. Specifically:

       • There is strong evidence that exposure to glyphosate or glyphosate-based formulations
       is genotoxic based on studies in humans in vitro and studies in experimental animals.

       One study in several communities in individuals exposed to glyphosate-based
       formulations also found chromosomal damage in blood cells; in this study, markers of
       chromosomal damage (micronucleus formation) were significantly greater after exposure
       than before exposure in the same individuals.



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       • There is strong evidence that glyphosate, glyphosate-based formulations, and
       aminomethylphosphonic acid can act to induce oxidative stress based on studies in
       experimental animals, and in studies in humans in vitro. This mechanism has been
       challenged experimentally by administering antioxidants, which abrogated the effects of
       glyphosate on oxidative stress. Studies in aquatic species provide additional evidence for
       glyphosate-induced oxidative stress.”

       624.    Because a member of Monsanto’s Third Party Network of scientists, Dr. Tom

Sorahan, had been designated as an invited, industry observer at the public meetings of the

Working Group, the company was aware of the Working Group’s likely judgements in the key

areas that drive IARC determinations – animal testing, human epidemiology, and

genotoxicity/possible mechanism(s) of action.

       625.    The IARC classification system is clearly explained and driven by the strength of

published evidence in the above three areas. In one memo, it states “[w]e should assume and

prepare for the outcome of a 2B rating (possible human carcinogen); a 2A rating (probable

human carcinogen) is possible but less likely.” (MONGLY02913526).

       626.    In the spring of 2015, I was among many scientists waiting for the IARC decision

on glyphosate and the Working Group’s report. When I learned of the Group 2A, “probably

carcinogenic to humans” classification, I was surprised. I expected a Group 2B classification.

       627.    I read with interest that the Working Group was chaired by Dr. Aaron Blair. I had

met Dr. Blair in 1982 or 1983, when he was invited to give Congressional testimony on behalf of

the National Cancer Institute (Blair’s employer) on cancer-causing pesticides to the

subcommittee of the House Committee on Agriculture on which I served as staff director.

       628.    Over the years, I remained in touch with Dr. Blair, and sought his advice

periodically on scientific matters. To me, the Working Group’s 2A classification decision was

unexpected. I knew it would trigger intense debate and might possibly lead to significant changes



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in the regulation of GBH herbicides, at least in some countries and jurisdictions.

       629.    To better understand the thinking of the Working Group, I called Dr. Blair and

had a phone conversation with him on or about March 22, 2015. He outlined the factors leading

to the Working Group’s decision.

       630.    In response to a question I asked about how strong the support was in the

Working Group for the 2A classification, Dr. Blair told me that as the Working Group

approached a final decision, the most extended debate was not between a 2A (“probably

carcinogenic”) or 2B (“possibly carcinogenic”) classification, but actually between a Group 1,

“The agent is carcinogenic to humans” and Group 2A (“The agent is probably carcinogenic to

humans”).

       631.    In my opinion, this information regarding the classification debate within the

IARC Working Group was both unexpected and highly significant in terms of the strength of the

science base supporting evaluation of glyphosate and GBH oncogenicity..

       632.    The fact that the Working Group almost classified glyphosate as a Group 1

carcinogen became public knowledge as a result of an Andrew Cockburn story in the September

2015 issue of Harpers Magazine. The story was entitled “Weed Whackers – Monsanto,

glyphosate, and the war on invasive species” (https://harpers.org/archive/2015/09/weed-

whackers/).

       633.    Cockburn’s story describes the IARC classification as “a massive speed bump”

undercutting Monsanto’s ‘mantra…all labeled uses of glyphosate are safe for human health’…”

       634.    To gain perspective on the IARC Working Group’s assessment of the science,

Cockburn interviewed Aaron Blair. The germane passage in Cockburn’s story reads:

       “According to Blair, there were good grounds to declare that glyphosate definitely
       causes cancer [i.e., to classify it as a Group 1, proven human carcinogen]. This



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       did not happen, he said, because ‘the epidemiologic data was a little noisy.’ In
       other words, while several studies suggested a link, another study, of farmers in
       Iowa and North Carolina, did not. Blair pointed out that there had been a similar
       inconsistency in human studies of benzene, now universally acknowledged as a
       carcinogen. In any case, this solitary glitch in the data caused the group to list
       glyphosate as a probable (instead of a definite) cause of cancer.”

       635.    In mid-September 2014, Donna Farmer, a senior Monsanto toxicologist, learned

of the forthcoming IARC review of the oncogenicity of glyphosate and glyphosate-based

herbicide, and began developing a plan to respond to the forthcoming report.

(MONGLY01207339).

       636.    A month later, William Heydens sent an email to Monsanto colleagues including

Garnett, Farmer, Gustin, Koch, and Saltmiras, in which he asked: “…wouldn’t an adverse IARC

evaluation have the real potential to impact the results of the Annex 1 renewal [re-registration of

glyphosate in the EU].” Then, he also notes:

       “And while we have vulnerability in the area of epidemiology, we also have potential
       vulnerabilities in the other areas that IARC will consider, namely, exposure, genotox, and
       mode of action.”

       (MONGLY00989918).

       637.    In November 2014, a consulting agreement was completed between former

Monsanto epidemiologist John Acquavella and Monsanto at $400 per hour, with Donna Farmer

as the principle point of contact. (MONGLY01224009).

       638.    A December 17, 2014 email from Kimberley Link in Monsanto’s

communications division to Daniel Goldstein discusses the need to identify third-party voices to

tap when the IARC decision is made public. It reports that Monsanto has hired Potomac

Communications to place favorable op-eds, targeting the Washington Post and USA Today, and

a potential plan to approach officials in the American Academy of Pediatrics to find someone to

serve as “high profile author.” (MONGLY01021656).



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       639.    A document dated 2/15/15 describes “Glyphosate Key Points Following IARC

Decision,” and was developed by a Heydens-Farmer-Saltmiras led team preparing for release of

the IARC decision. In the event that IARC assigns glyphosate-based herbicides “an unfavorable

2B classification,” the company set forth a plan that would hopefully generate an “orchestrated

outcry” after the March 3-10, 2015 IARC Working Group meeting when, presumably, the final

classification decision would be made and announced soon thereafter.

       640.    The plan set forth seven “Key Industry Points” critical of the feared, 2B

classification. (MONGLY01021709-11) Seven more talking points for “Academics” are

outlined, and include:

           •   “IARC has done a disservice by creating baseless fears with a cancer
               rating for glyphosate, and the confusing classification is certainly open to
               distortion by alarmists”;
           •   The IARC decision “was predictable and political”; and
           •   “Government regulators remain reassuring about the potential risks.”

       641.    On February 19, 2015 William Heydens sent an email to Donna Farmer, copied to

Koch, Saltmiras, and Hodge-Bell, on the subject “RE: IARC Planning.” The email describes “the

next two most important things that we need to do…” These were a meta-analysis of

epidemiology studies, and a re-assessment of Agricultural Health Study data that established a

weak link between use of a glyphosate-based herbicide and multiple myeloma.

(MONGLY00977267)

       642.    Heydens goes on to describe possible approaches to generate peer-reviewed

journal articles counteracting the IARC classification. He writes that:

       “If we went full-bore, involving experts in all major areas (Epi, Tox, Genotox,
       MOA [Mechanism of Action], Exposure – not sure who we’d get), we could be
       pushing $250k or maybe even more. A less expensive/more palatable approach
       might be to involve experts only for areas of contention, epidemiology and
       possibly MOA…and we ghost-write the Exposure Tox & Genotox sections. An
       option would be to add Greim and Kier or Kirkland to have their names on the


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       publication, but we would be keeping the cost down by us doing the writing and
       they would just edit & sign their names so to speak. Recall that is how we handled
       Williams Kroes & Munro, 2000.”

       (MONGLY00977267).

       643.       The “option” laid out in Heydens email is essentially what Monsanto did in the

course of developing the papers that were published September 28, 2016 in a special, glyphosate-

safety issue of the journal Critical Reviews of Toxicology.

       644.       In a detailed, internal document dated February 23, 2015, Monsanto describes its

multi-faceted plan for responding to the IARC decision due to be announced in about two weeks.

It provides background on IARC, and states, for example,

       “IARC has a history of questionable and politically charged rulings on the
       carcinogenic properties of products such as cell phones, coffee and caffeine. We
       should assume and prepare for the outcome of a 2B rating (possible human
       carcinogen); a 2A rating (probable human carcinogen) is possible but less likely.”

       (MONGLY02913526).

       645.       Attachment A to the 2/23/2015 document sets forth the “Objectives for

Preparedness & Engagement” in Monsanto’s response to the IARC decision. The two-bulleted

items read:

              •   “Protect the reputation and FTO of Roundup by communicating the safety
                  of glyphosate”; and
              •   “Provide cover for regulatory agencies to continue making re-registration
                  decisions based on science.”

       646.       Under “Strategies/Tactics” to achieve the above stated objectives, Attachment A

states “Orchestrate Outcry with IARC Decision ~ March 10, 2015.” (MONGLY02913530)

       647.       The introductory section of the full, 2/23/15 document states that: “Regulatory is

not aware of a situation where a regulatory body took a different position than IARC.”

(MONGLY02913526).




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       648.    The “Key Deliverables” section outlines 24 items and actions, organized by

milestone date (pre-IARC decision; week of Feb. 23-27; Post-Decision/Posting, etc). These

include:

           •   Engage Henry Miller, “Inoculate/establish public perspective on IARC
               reviews” (Miller produced a hard-hitting Forbes piece the day of the
               release of the IARC decision);
           •   Blog posts;
           •   Outreach to EPA/IARC participants;
           •   Contact journals to inquire about press releases, for “amplification of
               scientific studies (a Saltmiras task, which went badly awry);
           •   “Inform/Engage Industry Associations”, with the objective “Lead voice in
               ‘who is IARC’ plus 2B outrage”; and
           •   Post-release of decision, “Outreach to key stakeholders,” including grower
               groups, in order to “Neutralize impact of decision/gain support.

       649.    A March 17, 2015 email is sent from Eric Sachs, head of Monsanto’s public

affairs and outreach efforts, to Henry Miller, a long-term, glyphosate-friendly member of

Monsanto’s Third Party Network. In it, Sachs forwards to Miller a draft of Miller’s op-ed for

Forbes written by Monsanto and Potomac Communications.

       650.    Five days earlier, Sachs had emailed Miller to ask him if he would be willing to

write more on the IARC decision, to which Miller replied: “I would be if I could start from a

high-quality draft.” (MONGLY02063615)

       651.    On February 25, 2015, Donna Farmer received an email from Kimberley Link

informing her that “you have been selected as one of the primary spokespersons for the company

to defend glyphosate.” (MONGLY01210309)

       652.    Michael Koch, a senior official and part of Monsanto’s communications team,

emails Farmer seven minutes later to “discuss” this new role for Farmer in the IARC response,

and writes that “In the short term I think you are the right ‘fix’.”

       653.    A flurry of emails then addresses how to rapidly gear up the Third Party Network



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response, in support of Monsanto’s critical reaction to the expected IARC 2B classification of

glyphosate. (MONGLY01021648).

        654.    The communications team asks Dan Goldstein several times to identify experts

that are vetted and prepared to say and write messages aligned with Monsanto’s position. Such

third-party experts would work with Farmer, and are needed so that the Monsanto

communications team and Potomac Communications can move ahead with writing and

placement of favorably, largely ghost-written op-eds.

        655.    Goldstein replies in a remarkable email sent 2/23/15:

        “I realize that a non-paid individual would be preferred – but I do not know
        anyone who has kept up with this in their ‘spare time’ as a toxicologist and one
        needs to be mighty prepared if one wishes to feel comfortable arguing with
        IARC.” (Emphasis added)

        656.    Goldstein estimates that a new expert would need “a good 10 hours of work in

this, at $200 per hour” to accomplish the task.

        657.    On February 23, 2015, Kelly Clauss, another person working on Monsanto’s

IARC outreach and media response, emails Goldstein with a list of experts to engage in the

response effort, and for work with Potomac Communications. Five epidemiologists are identified

and were listed in the email in order of “most to least familiar with published studies and data.”

The scientists identified in her ordered list are:

            •   Tom Sorahan, University of Birmingham (was an invited observer at the
                IARC meeting);
            •   Pam Mink, Emory University (did one review on glyphosate-cancer
                studies, one on non-cancer issues, both paid for by Monsanto);
            •   John Acquavella, former Monsanto employee, now retired and consulting
                with Monsanto;
            •   Elizabeth Delzell, University of Alabama-Birmingham; and
            •   Nalini Sathiakumar, University of Alabama-Birmingham (works with
                Delzell).

        658.    Richard Garnett replies to the list and writes that “Sir Colin Berry knows


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glyphosate but his contract, FCPA etc have expired so that would take 6 weeks to sort out.”

       659.   A few days later, on February 26th, Donna Farmer responds to the now lengthy

email chain on the subject “RE: URGENT: Draft email for experts to help with IARC.” She

begins her response to Goldstein and the communications team (Carla Lord, Kelly Clauss and

Kimberley Link) with this sentence: “Help me understand why these folks were selected and

who is Potomac?”

       660.   On February 27, 2015, about two weeks before the release of the IARC decision,

Carla Lord responds to Farmer and others on the email chain, with an explanation of the plan

outlined earlier in the IARC response document:

       “Donna,

       Thanks and I’m sorry. I didn’t realize until now that you were not on the original
       email string (included below). Potomac is a media house that is writing op-eds
       and letters to editors in response to negative press surrounding glyphosate. These
       would be ‘authored’ by those on the list then placed by Potomac in media where
       needed. Potomac writers would do the heavy lift with the expert authors as final
       editor. We know these items in the media need to be from those outside the
       industry.” (MONGLY01021648)

       661.   On March 14, 2015, four says after the end of the Working Group meeting and six

days before the March 20th release of the embargo on the decision and publication of the results

of the IARC review in The Lancet Oncology, Donna Farmer reported that a Monsanto colleague

was on a CropLife Americas (CLA) call (pesticide industry trade association), and that an EPA

representative, Jess Rowlands, announced the IARC decision to classify glyphosate as a Group

2A carcinogen. (MONGLY00977253)

       662.   Farmer’s 3/14/2015 email was sent to Tom Sorahan, Monsanto’s invited observer

at the meeting, and other Monsanto colleagues including Christina Strupp, Jensen Mette, and

William Heydens. These individuals were most directly involved with the IARC meeting. In the




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email, Farmer restates several of the plans and talking points in the IARC response plan

document. She closes it by writing: “We know it must have been a challenging week for all of

you to try to keep the assessments based on sound science…”

       663.    Sorahan, the invited observer at the IARC Working Group meeting that, in effect,

represented Monsanto, replies to Farmer and others on the email chain:

       “I do know of instances where observers at IARC felt they had been treated
       rudely or brusquely at Monograph meetings. That was not the case for me at Vol.
       122 [the one containing the glyphosate review and classification]. I found the
       Chair, sub-chairs and invited experts to be very friendly and prepared to respond
       to all comments I made…In my opinion the meeting followed the IARC
       guidelines. Dr. Kurt Straif, the Director of the Monographs programme, has an
       intimate knowledge of the IARC rules and insists they were followed.”

       664.    In the weeks and months after the release of the IARC decision, the nature and

scope of Monsanto’s “response” activities expanded.

       665.    Another Monsanto internal document circulated in April 2015 with the title

“IARC Follow Up.” Unlike all pre-decision planning documents, Monsanto is now dealing with

the very serious Group 2A “probably carcinogenic to humans” classification. The goals,

activities, and work products in this document include:

           •   “Invalidate relevance of IARC”;
           •   “Protect regulatory FTO [Freedom to Operate]”;
           •   “Litigation prevention/defense”;
           •   “Protect Sales Globally”; and
           •   “Compilation of 3rd Party Statements in defense of glyphosate.”

           (MONGLY03316369-71).

       666.    About the same time, John Acquavella sends an email to Donna Farmer. In it, he

discusses IARCs assessment and final judgements on the epidemiology data. He writes:

       “IARC’s classification of the epidemiology evidence follows directly from their
       definition of ‘limited’ [evidence]. There is not really much to quarrel about with
       respect to the epidemiology classification.”



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       (AcquavellaPROD00010215).

       667.    A draft PowerPoint entitled “Proposal for Post-IARC Meeting Scientific Projects”

dated May 11, 2015, is circulated internally in preparation for a meeting. It begins by asking

“Why do more?” in large letters, and then lists these reasons:

           •   “Severe stigma attached to Group 2A Classification”;
           •   Aaron Blair continues to defend work & exaggerate number of studies
               w/association while ignoring AHS”;
           •   “In response to our critique, can expect IARC to beef-up monograph as
               much as possible”;
           •   ATSDR;
           •   Prop 65 [California State law requiring labeling of oncogenic products];
               and
           •   Litigation support.

           (MONGLY01228577).

       668.    Several new projects and scientific papers are outlined, nearly all to be authored

by third-party experts. But in order to increase credibility and lower costs, “Majority of writing

can be done by Monsanto” (i.e., ghost-written).

       669.    Most of the internal documents and emails setting forth possible post-IARC

actions include discussion of the need for new, Monsanto-commissioned and controlled peer-

reviewed papers providing Monsanto’s critique of the basis of IARC’s decision, and/or critical

reviews of the findings and conclusions advanced by other scientists not adequately aligned with

Monsanto’s positions and messaging.

       670.    From the fall of 2014, about six-months before the release of the IARC decision,

to mid-2015 (about 4 months after the release of the decision), these discussions led to a plan to

convene a “Glyphosate Expert Panel Review” of the scientific basis for IARC’s classification of

glyphosate as a “probably carcinogenic to humans.”

       671.    The “Expert Panel” idea was eventually adopted, funds were committed, and the



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plan implemented, starting in late-June 2015. The panel would meet, discuss the issues, and

produce a set of papers suitable for publication.

       672.    A detailed proposal describing several options for moving forward was presented

to the “Glyphosate Strategy Team Meeting” on June 18, 2015. (Acquavella Exhibit 10-27;

MONGLY03500777)

       673.    “Approach A” would entail an Expert Panel that “consists primarily of people we

have worked with already…they have some/much knowledge…[and this approach would have]

Lowest cost (est. $200-250k), but also lowest credibility/impact.”

       674.    “Approach B” would be to add “a few ‘big name’ scientists & possibly some

who have not worked for Monsanto before (more credibility)… hire a firm (Intertek, formerly

CanTox) to manage the meeting…Cost estimate - $350-400k.”

       675.    “Approach C” takes another step toward “credibility/impact” and would include

hiring a well-respected risk assessment firm (presumably Intertek did not fall in this category

based on Monsanto’s assessment), in order to:

        “set up a totally independent review: they choose scientists, conduct meeting,
       write the report…Most credibility/impact but we have virtually no control…Cost
       estimate - $375-450k.”

       676.    Approach B was the recommended path forward advanced during the meeting,

and the one adopted. In fleshing out the plan, the document states: “Monsanto provides draft

report which Experts edit & then publish…Use journal with quick review time…Negotiate for

expedited review with journal editor.”

       677.    A “Backup Slide” provides an even more detailed “Summary of Overall Process”

and individual actions/steps include:

           •   “Review IARC Monograph to identify all areas that need to be
               addressed”;



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           •   “Prepare initial draft document”;
           •   “Edit draft manuscript to capture meeting discussion/conclusions”;
           •   “Send draft manuscript to Experts for their review”;
           •   “Send manuscript to journal for review”;
           •   “Revise manuscript per comments from journal”; and
           •   “Re-submit [papers] & get final approval from journal.”

       678.    In other words, in Approach B, Monsanto would control the process, from

producing an initial draft of the report/papers, to managing the revision of the draft in response to

the meeting of the experts, making and/or approving final edits prior to submission to a journal,

and managing/approving any changes made in response to peer-review comments.

       679.    This “Backup” slide failed to include two other key responsibilities Monsanto

clearly reserved to itself – (1) deciding which names would appear on each published paper, and

(2) deciding on what information would be provided to the expert panel and teams of co-authors.

       680.    A February 8, 2016 exchange between Monsanto consultant and CRT paper co-

author John Acquavella and Intertek’s Ashley Roberts focuses on the difficulty Intertek,

Monsanto, and the third-party expert co-authors were having in reaching a consensus on who

would be the listed as the author or co-authors of the summary paper in the CRT special issue.

       681.    Both Acquavella and Roberts wanted the entire expert panel to sign the summary.

But Acquavella tells Roberts that:

       “I’ve had some initial correspondence from the panelists about the summary
       article and the consensus is that they will not be authors on an article that has
       inflammatory comments about IARC. Assuming those inflammatory comments
       were carried over from the animal carcinogenicity and genotoxicity articles, I’m
       sure the epi panelists would not want to be associated with those articles either.
       To achieve the complete authorship goal, an extensive revision of the summary
       article is necessary.”

       682.    Roberts forwards Acquavella’s email to Heydens, and writes: “Hi Bill, Please

take a look at the latest from the epi group!!!! Can you call me once you have digested this.”

       683.    Heydens replies the next day:


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       “Ashley,

       OK, I have gone through the entire document and indicated what I think should
       stay, what can go, and in a couple of spots did a little editing.”

       (Heydens Exhibit 3-20).

       684.     The second responsibility generally reserved to Monsanto, and specifically

claimed in the case of the Intertek/CRT paper-preparation process, was deciding what scientific

materials to provide to the experts and co-authors. While Monsanto could not control access to

published studies by its expert panel members, it had total control over the parts of its proprietary

testing results that would be supplied to expert panel members.

       685.     This is evident in an August 6, 2015 email from Ashley Roberts to Donna Farmer

in which she asks: “Please could you let me know in a sentence what we will be providing to the

Animal Bioassay Expert group.” (MONGLY01183933).

       686.     By the “we” in the phrase above, “what we will be providing,” she really means

what information will Donna Farmer/Monsanto provide to her/Intertek, so she/Intertek can then

provide the information to the expert panel.

       687.     The 2015-2016 Intertek expert panel review of the IARC decision and monograph

resulted in the publication of five papers, and a Foreword by the journal editor, Roger McClellan

(all open access at http://www.tandfonline.com/toc/itxc20/46/sup1?nav=tocList). The papers

included:

            •   Gary Williams et al., overview paper on the carcinogenic potential of
                glyphosate and the IARC assessment;
            •   Keith Solomon, assessment of exposure studies;
            •   Acquavella et al. on epidemiological studies;
            •   Gary Williams et al. on rodent bioassays; and
            •   Brusick et al. on weight of evidence evaluation of glyphosate, formulated
                glyphosate herbicides, and AMPA (major glyphosate metabolite).

       688.     Roger McClellan was aware of the scrutiny his journal’s special issue on


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glyphosate safety would receive. On multiple occasions, he stressed in exchanges with Ashley

Roberts, the employee of Intertek that managed the process of developing the papers, the

importance of clarity and full transparency in the Acknowledgements and Declaration of Interest

sections of the papers.

       689.    In a June 19, 2016 email to Roberts, McClellan writes:

       “I am still concerned about the tone in some places. Why antagonize the reader? I
       am still not clear as to the process used by all of the Panels. These reports are
       essentially a rebuttal of the IARC process and conclusions. There appears to be a
       reluctance to be absolutely clear in presenting exactly what IARC concluded, the
       panels conclusions and how they differ. Am I missing something?”

       (MONGLY02360733-34).

       690.    Six days later, Roberts replies from vacation. She states that “I am getting a lot of

pressure to publish the papers for a lot of reasons as you can imagine.” She then asks for the

specific changes McClellan wants in the Acknowledgements and Declaration of Interest (DOI)

statements.

       691.    Just 90 minutes later, McClellan responds to Roberts. He spells out the changes

he wants in the Acknowledgements (thank the reviewers for extensive comments received). He

also says that “The Acknowledgements section should also identify any other reviewers of the

paper and any editorial assistance.” (MONGLY02360732).

       692.    In reference to the DOI, McClellan writes that it should:

        “…make clear how individuals were engaged, i.e. by Intertek. If you can say
       without consultation with Monsanto that would be great. If there was any review
       of the reports by Monsanto or their legal representatives that needs to be
       disclosed.”

       693.    Each of the papers has a similar “Declaration of Interest” statement. The

“Declaration of Interest” statement in the Brusick et al paper is quoted below:

       “The employment affiliation of the authors is as shown on the cover page.



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       However, it should be recognized that each individual participated in the review
       process and preparation of this paper as an independent professional and not as a
       representative of their employer….[Past and current relationship of each co-
       author to Monsanto is then listed]”

       “The Expert Panel Members recruitment and evaluation of the data were
       organized and conducted by Intertek Scientific & Regulatory Consultancy…”

       “Funding for this evaluation was provided by Monsanto Company which is a
       primary producer of glyphosate and products containing this active ingredient.
       Neither any Monsanto Company employees nor any attorney reviewed any of the
       Expert Panel’s manuscripts prior to submission to the journal.”

       694.    Based on my review of the detailed correspondence between Intertek and

Monsanto and co-author, I conclude that the first paragraph in the above quoted DOI is

presumably truthful, the second paragraph is not truthful, and the second sentence in the third

paragraph is not truthful.

       695.    Via direct interactions with Roberts of Intertek, it is clear that Monsanto reviewed

and approved of the content of the papers prior to submission, and again after the papers were

revised in response to peer review comments.

       696.    The expert panel evaluation, and the composition of the panel itself, was

controlled by Monsanto. Indeed, a July 1, 2015 email from William Heydens to Ashley Roberts,

the woman running the Monsanto project for Intertek, Heydens tells Roberts “we” (Monsanto)

are adding two additional scientists, and that: “We just learned this morning that we can’t have

you send out ‘invitations’ until the names have been approved by our legal group.”

(MONGLY00992949-51).

       697.    Monsanto was heavily involved in all stages of paper preparation, from deciding

on the information that would be provided to the co-author teams by Intertek; producing drafts of

the papers, or sections of papers provided to the teams; deciding on whose name(s) would appear




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on the papers; interacting with the teams on how to address key issues; responding to review

comments; and, the final stages of editing.

       698.    Heydens, in particular, played a direct, hands-on role.

       699.    An August 28, 2015 email to Donna Famer and other Monsanto colleagues from

Heydens circulates for comment his first draft of the Intertek Expert Panel report on the

carcinogenic potential of glyphosate. (Acquavella Exhibit 10-30; MONGLY02844211).

       700.    In the draft Heydens circulated, “William Heydens” does not appear as a co-

author, nor does his name appear on any of the papers as published. In failing to truthfully

acknowledge authorship and declaring in the conflict of interest disclosures that Monsanto

employees played no role in the review of the papers, Monsanto violated ethical norms

governing scientific publishing, including the policies of the journal Critical Reviews in

Toxicology.

       701.    Heydens was influential, if not responsible for many critical decisions about how

strongly to make positive statements regarding the safety of glyphosate and Roundup herbicides,

and how sharply to criticize the IARC report and the studies in the peer-reviewed scientific

literature that the IARC working group relied upon in reaching its “probably carcinogenic to

humans” classification.

       702.    For example, Heydens sharply disagreed with some panel-members, and ex-

employee Acquavella over how strongly to state criticisms of the IARC classification decision.

Examples of such disagreements are evident throughout Heydens’ track-changes comments and

editing of Acquavella’s edits to the draft of the summary panel report. (MONGLY01000680-

01000709).

       703.    Aquavella’s paper on the epidemiological data is an outlier in two ways. The list




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of co-authors appears to accurately represent the contributions of different people to the paper.

The Acquavella et al. paper also contains a different version of the statement regarding

Monsanto’s role in the review of the papers; the Acquavella et al. DOI states “The authors had

sole responsibility for the content of the paper, and the interpretations and opinions expressed in

the paper are those of the authors.”

       704.    On September 28, 2018, the Editor of Critical Reviews in Toxicology (CRT) and

the publisher of the journal (Taylor and Francis) issued an “Expression of Concern” via its

website that was also subsequently published in the journal

(https://doi.org/10.1080/10408444.208.1522786).

       705.    The “Expression of Concern” states in large part:

       “We…have been informed of concerns over the completeness of acknowledged
       contributions [to the special glyphosate issue]…and in declarations of interest provided
       by the named contributors, for the following articles: [the five core papers in the issue are
       then listed].”

       “We have requested corrigenda from the authors to provide additional disclosure as to the
       contributions to the articles. To date, we have only received corrigenda for three of the
       five articles that have been agreed to by all the authors. We have not received an received
       an adequate explanation as to why the necessary level of transparency was not met on
       first submission. We thank those who brought this to our attention.”

       706.    In my opinion, the Declaration of Interest statements accompanying the papers in

the CRT special issue on glyphosate were not just incomplete, they were blatantly untruthful, as

evident in the email traffic discussed above.

       707.    It is also my opinion that if the Editor of CRT and Taylor and Francis ever come

to understand the full degree to which Monsanto controlled the production of these five papers,

as documented in this report, they will retract all the papers and issue an apology to its readers.

       D.      Political and Other Activities Post-IARC
       708.    In my opinion, the breadth of Monsanto’s activities in response to the IARC




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classification of glyphosate herbicide as a probable human carcinogen is striking. A June 5, 2015

update on “US Government Outreach – WHO IARC Classification on Glyphosate” outlines

dozens of ongoing and proposed actions and goals. Under “THE STRATEGY”, the document

states:

          “One strategy for addressing widespread confusion in the wake of the IARC
          classification has been to seek clarification from the World Health Organization
          (WHO) which would provide the proper context of the classification for
          governments and regulators around the world to have greater confidence
          defending their science based regulatory decisions.”

          (MONGLY02953363).

          709.   The document reports on multiple briefings given to U.S. government agencies,

including a Donna Farmer briefing of Dr. Mitchell Wolfe, the Deputy Assistant Secretary for

Global Heath, in the of Department of Health and Human Services (HHS), to which “we came

prepared with a robust set of technical materials for the Secretary’s background…”.

          710.   In the briefing for HHS Deputy Secretary Dr. Wolfe, he was told about ATSDR

(Agency for Toxic Substances and Disease Registry), an agency under HHS of which he was

reportedly unaware. Monsanto then told Wolfe about the ongoing ATSDR review of glyphosate,

and made the case that such a review was unnecessary, and that the EPA bears the primary

responsibility for “determination of pesticide safety.”

          711.   Then Monsanto briefed Wolfe on “A common element between IARC and

ATSDR…Christopher Portier Ph.D…[who] was Director of ATSDR and co-chair of the IARC

Advisory Group.”

          712.   Dr. Portier’s views on glyphosate oncogenicity were discussed, as was the fact

that Dr. Portier “was an invited specialist representing the Environmental Defense Fund.”

          713.   According to Monsanto’s recounting of the meeting “Dr. Wolfe said he would




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follow up on what was going on with ATSDR and he was encouraged to have discussions with

the EPA staff, as well.”

       714.     Last, Monsanto asked for Wolfe’s and HHS’s “assistance in securing a WHO

clarification. We emphasized that we were not seeking changes to IARC, the classification or the

IARC process.”

       715.     In fact, Monsanto had already initiated, and is still carrying out campaigns to

punish IARC for its classification through, among other things (details below):

            •   Lobbying members of Congress to challenge U.S. government funding for
                IARC, via U.S. government support for the WHO;
            •   Calling for Congress to hold hearings;
            •   Mounting a campaign to force IARC to release drafts of its glyphosate
                review document and notes from Working Group deliberations;
            •   Working with a Washington Post reporter purportedly doing a hit piece;
                and
            •   Mounting multi-faceted outreach and third-party expert criticisms of the
                IARC process, the people who participated in it, the conclusion it reached,
                and its accountability.

       716.     Accordingly, in my opinion, the statement in Monsanto’s account of the Wolfe-

HHS briefing that “…we were not seeking changes to IARC, the classification or the IARC

process” was not truthful.

       E.       Blocking the ATSDR Review of Glyphosate

       717.     Another important Monsanto action-item, post-IARC, was stopping an ongoing

ATSRD review of glyphosate safety.

       718.     An ATSDR review that supported IARC’s conclusions and classifications was to

be avoided. (MONGLY03342947).

       719.     In response to the ATSDR review, Monsanto:

            •   Sought and carried out meetings, briefings, and webinars with ATSDR to
                communicate its assessment of the issues, explain why it felt the ATSDR
                review was unneeded, and the scientific flaws in the IARC review;


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           •   Received significant help from two senior OPP/EPA officials – Jess
               Rowland and the OPP Director, Jack Housenger;
           •   Sought assistance and support from the Deputy Assistant Secretary for
               Global Health in HHS (the agency home of ATSDR);
           •   Asked Monsanto’s home-state Senators to contact HHS and reinforce the
               urgency of quick HHS action to intercede with ATSDR, given information
               Monsanto had obtained suggesting the ATSDR report might be released in
               only a few weeks;
           •   Lobbied Congresswoman Lynn Jenkins to submit questions regarding the
               ATSDR glyphosate review to the Secretary of HHS at the conclusion of a
               hearing before the House Ways and Means Committee on health care
               reform (MONGLY03064699); and
           •   Recruited individuals to write letters to Congressmen complaining that the
               ATSDR review was duplicative and a waste of taxpayer money, so that
               the letter(s) could be used to trigger media coverage of the campaign to
               stop the ATSDR study. (MONGLY03342947)

       720.    In my opinion, a reasonable and prudent pesticide manufacturer would not

attempt to prevent a regulatory agency from conducting a safety review, especially when there is

concern that review may result in a safety finding.




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XIII. Downplaying Glyphosate Risks

       721.    Pesticide companies bear an obligation vested in various laws and regulations,

and common corporate decency, to assure that the products they bring to market are safe and will

reliably produce the benefits for which they are registered, i.e., control of weeds in the case of

glyphosate-based herbicides.

       722.    The term “product stewardship” is used within the industry and regulatory

agencies to describe and encompass the actions pesticide manufacturers should take on an

ongoing basis in the interest of product stewardship, before and after a new use of a pesticide is

approved.

       723.    In the pesticide arena, the sciences supporting both human-health risk assessments

and environmental-impact assessments are dynamic and imperfect, and heavily dependent on

location- and even application-specific data, which are almost never available on a large scale.

So, in companies and regulatory agencies alike, many assumptions and a considerable degree of

judgement is essential in deciding upon the science that must be conducted prior to seeking and

approving a new use of a pesticide.

       724.    Where to draw the line between presumably safe and possibly risky pesticide uses

is also fraught with scientific, social, and political challenges, uncertainty and tension.

       725.    The same is true after approval, as companies and regulators strive to refine and

agree on the nature and magnitude of risks after a pesticide is approved and has been applied for

a period of time.

       726.    But in general, Monsanto claims that they base all their product development,

testing, commercialization, and regulatory actions on the best available science. Such science is

often produced and communicated by pesticide registrants in the hope of altering the outcome of




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risk assessments conducted by regulators, especially when existing estimates of risk point to

potential problems (e.g., a risk that exceeds the EPA’s “level of concern”).

       727.    The crux of most protracted and contested regulatory confrontations over the last

half-century has been debate over what the “best” or “soundest” science shows relative to the

balance of pesticide risks and benefits.

       728.    This is the case with glyphosate and Roundup herbicides.

       A.      Freedom to Operate (FTO)

       729.    Tensions often arise between the commercial interests of a pesticide manufacturer

and what the latest and best science suggests is the most responsible way to manufacture and sell

a given pesticide.

       730.    In Monsanto, protecting the Freedom to Operate (“FTO”) in the manufacture and

sale of glyphosate-brand herbicide was a clearly expressed objective across the company.

       731.    Monsanto’s John Acquavella makes the case for one such investment in science

as part of a proposal for a new, industry-funded, multi-pesticide non-Hodgkin lymphoma study.

       732.    The goal of the study, among other things, would be to respond to the positive

glyphosate-NHL results in the Hardell-Eriksson, and the forthcoming epidemiological study

results from the National Cancer Institute’s “Agricultural Health Study”:

       “There are a number of reasons why industry should consider this proposal
       seriously. First, allegations that pesticides cause cancer are important to the
       business and regulatory climate for pesticide manufacturers and, indeed,
       companies have a product stewardship obligation to ensure that their products
       can be used safely.”

       (Emphasis added, MONGLY00894005).

       733.    Monsanto did not follow Acquavella’s advice and has never conducted an

epidemiological study to evaluate the relationship between NHL and Roundup formulations.




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               1.      Section 6(a)(2) of FIFRA

       734.    Section 6(a) (2) of FIFRA, discussed earlier, is a provision in federal law intended

to vest responsibility on pesticide registrants to report to the EPA any information, data, or new

insights regarding pesticide risks that are gained by the registrant, regardless of the source of the

information.

       735.    The June 1986 Registration Standard for glyphosate contains this passage:

“Registrants [at this time for glyphosate, only Monsanto] are reminded that FIFRA sec. 6(a)(2)

requires them to submit factual information concerning possible unreasonable adverse effects of

a pesticide at any time that they become aware of such information…including interim or

preliminary results of studies, if those results suggest a possible adverse effect on man or the

environment. This requirement continues as long as your products are registered by the Agency.”

(page 3) (Emphasis added).

       736.    In my opinion, there are multiple instances in the record of where Monsanto did

not disclose information that might suggest a new or heightened risk from use of glyphosate-

based herbicide. Some information not properly disclosed under Section 6(a)(2) arose from the

company’s inhouse research or commissioned studies (e.g,. the TNO rat skin penetration study or

the Parry reports), while other information was learned from the experience of users of the

company’s products.

               2.      Responding to FQPA Challenges

       737.    Passage of the Food Quality Protection Act (“FQPA”) in 1996 changed the basic

standard and rules governing the setting of food-additive tolerances for pesticide known to be

oncogenic, including glyphosate beginning in 1983. Implementation of the FQPA required EPA

to deal with dozens of science and risk assessment policy issues over several years, some of

which had potential impacts on a number of Monsanto products, including glyphosate.


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       738.    Monsanto established an “FQPA Core Team to engage with EPA as it developed

FQPA policies and procedures, and to alert colleagues of possible implications for the labels and

tolerances sanctioning use of specific Monsanto pesticide products.” (MONGLY03750989)

       739.    Abby Li [FND/1735] was a member of this FQPA Core Team. She sent a

November 20, 1999 email to several Monsanto management team and senior officials regarding

the activities of the FQPA Core Team. After listing the six members of the FQPA Core Team,

the email stated:

       “This [membership] is a good mix of people that allows us to have external
       influence as well as ensure that we have practical understanding of the full impact
       to our products. I’d like to make sure we push hardest on those issues that are
       threatening our business.”

       (MONGLY03750989).

       740.    Two days earlier, on November 18, 1999, Abby Li sent an email to 10 Monsanto

colleagues regarding a scoping session on the evolving OPP policies governing aggregate risk

assessment under the FQPA. (The FQPA directed the EPA to take account of exposures to a

given pesticide from water, food, occupational, atmospheric, and any other routes of exposure;

such total estimates of exposure from all routes are called “aggregate exposure” in the context of

FQPA implementation).

       741.    The email begins: “Dear people who might be interested in the FQPA…” The last

paragraph addresses the membership of the FQPA Core Team and key areas of expertise that

need to be represented. Then, Abby Li writes: “A key goal is to understand how our products are

impacted so we know what issues Monsanto should fight the hardest on.” (MONGLY03750990).

       742.    This stated goal of FTO runs directly counter to Monsanto’s stewardship

responsibilities as a registrant for GBHs and, in my opinion, a reasonable and prudent pesticide

manufacturer would not align its stewardship around FTO objectives.



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       B.      Understating Risks

       743.    In the discovery records in this case that I have reviewed, there are dozens of

examples where Monsanto employees, consultants, Third Party Network scientists, and PR firms

prepare and share written materials that overstate the certainty of some things (e.g., “get up and

shout glyphosate is non-toxic”), and downplay the significance of other known facts (e.g.,

glyphosate-based herbicides are genotoxic in some tests).

       744.    In an episode described in detail earlier, Monsanto officials substantially

mischaracterized statements made by third-party experts that Monsanto had brought to an EPA

Scientific Advisory Panel meeting.

       745.    The inaccurate statements were contained in a letter from Monsanto’s senior U.S.

registration specialist to EPA after the SAP meeting. The letter asserted that Monsanto’s invited

guests testified at the SAP meeting that a repeat of the controversial Bio/dynamics mouse study

was not warranted, when none of the invited experts made such a statement.

       746.    Other examples of overstating benefits or understating risks are discussed below.

               1.      The IARC Review Process

       747.    In 2014, Monsanto initiated a number of activities to potentially influence the

decision reached by the IARC Working Group assessing glyphosate carcinogenicity.

       748.    IARC procedures and policies are clearly stated and well known. For example,

see the 2015 published paper “IARC Monographs: 40 Years of Evaluating Carcinogenic Hazards

to Humans” (Donna Farmer Exhibit I-44; or access online https://ehp.niehs.nih.gov/wp-

content/uploads/123/6/ehp.1409149.alt.pdf).

       749.    IARC Working Groups review and rely only on the results, insights, and

information in scientific papers published in peer-reviewed journals. Unpublished studies




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conducted by companies, or papers in the publication process, but not accepted, are not

considered.

       750.    Thus, Monsanto worked to get two papers published before the end of the IARC

review process, so that both would be among those in the peer-reviewed literature, and hence

eligible for consideration by the IARC Working Group.

       751.    Both papers had been in preparation for some time and included a paper by Kier

on genotoxicity and one by Greim et al. on the results of rodent bioassays.

       752.    Regarding the Kier publication, Monsanto commissioned and paid for a review

article focused on genotoxicity biomonitoring studies.

       753.    Larry Kier, then a consultant to Monsanto and a former, long-term employee,

wrote the paper, which was submitted to Roger McClellan, Editor of the journal CRT. This

journal had been used several times by Monsanto to recycle in a peer-reviewed journal the

company’s proprietary, internal studies, findings, criticisms of the work of other scientists, and

assessments of glyphosate risk-assessment issues.

       754.    The 2015 CRT paper by Kier was entitled “Review of genotoxicity biomonitoring

studies of glyphosate-based formulations” (Vol 45(3): pages 209-218; accessed 12/10/17 at

http://www.tandfonline.com/doi/pdf/10.3109/10408444.2015.1010194?needAccess=true).

       755.    The paper’s “History” declaration states that the initial paper was submitted to

CRT on January 7, 2015 and was revised by the author and submitted back to CRT on January

17, 2015. It was accepted for publication by the journal the next day, January 18th, and published

online February 16, 2015, or about one month before the March 3-10, 2015 final meeting of the

IARC Working Group conducting the glyphosate assessment.

       756.    Accordingly, 11 days transpired from the date of the original submission to the




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acceptance of the Kier paper. This meant that the peer review process, the editor’s assessment of

the reviewer comments, the author’s revisions in response to peer-review comments, submission

back to the journal, the editor’s consideration of the author’s response to reviewer comments,

and decision to accept and publish all occurred in 11 days—a staggering pace.

       757.    I have published about three-dozen peer-reviewed papers. Between several

months to about one year transpired between initial submission and acceptance of each of them,

a time-frame that is typical of most papers, and most peer-reviewed science journals.

       758.    Over the last 30+ years, I have served many times as a peer-reviewer of papers

submitted for possible publication. It generally takes a few weeks to two months for me to

complete and submit such reviews. Another 1-2 months typically transpires before I hear back

from the journal, with an invitation to read and react to the changes in the paper done in response

to my, and other review comments. Then, another 1-2 months is required prior to final

acceptance and the paper being published online or in a journal.

       759.    In my opinion, in the history of scientific publishing in widely read journals, very

few, if any, papers have matched the speedy process of the Kier (2015) CRT paper through peer-

review to publication. There had to have been an extraordinary set of circumstances driving the

pace of the publication process for this paper.

       760.    On February 19th, a few days after the Kier (2015) CRT paper was published

online, an email exchange occurred between the paper author, Larry Kier, the journal editor

Roger McClellan, and Monsanto’s David Saltmiras.

       761.    The email chain starts on 2/19/17 with an email from David Saltmiras to CRT

editor McClellan that begins “Roger – FYI on press releases.” This email was not cc’d to the

lead authors of the papers: Kier and Greim.




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       762.    The email focused on the content of promotion material that Saltmiras had drafted

and sent to the journal editor, for use by the journal and its publisher in promoting the papers.

The material drafted by Saltmiras covered both the Kier (2015) and Greim et al (2015) papers.

Saltmiras included a request that McClellan and the publisher take steps to raise the visibility of

the papers. (MONGLY01087311-17)

       763.    The Saltmiras email to McClellan advances “Sound bytes for social media.”

       764.    A few hours later in response to the suggestion from Saltmiras, McClellan sent an

email to Charles Whalley, a senior manager at the publishing company Taylor and Francis (T

and F) that puts out CRT. The email begins:

       “I spoke with David Saltmiras today concerning the two Glyphosate papers that
       will be the lead papers in the next issue of Critical Reviews in Toxicology with
       regard to F and F [referring to T and F, the first “F” in the original text is a typo]
       putting out any publicity on these two papers. The email below includes complete
       citations for the papers, abstracts and some information developed by Monsanto
       Company on the papers.”

       765.    The McClellan email to Whalley goes on to state the relevance of the Kier (2015)

paper to the ongoing IARC glyphosate review, and then writes:

       “As a bottom line the two papers [Greim et al. and Kier] published on line in CRT
       are likely to attract some attention in the scientific and regulatory community and,
       possibly, by lay media.”

       766.    McClellan then asks about Taylor and Francis policies regarding the publisher’s

promotion of just-released papers and asserts that the two papers “would be excellent

candidates” for such a promotional effort by the publisher.

       767.    As a courtesy, McClellan also sent a copy of his 2/19/17 email to David Saltmiras

and Larry Kier. Just under a half-hour later, Kier responded by email to CRT Editor McClellan.

He begins: “I’m a little cautious about high levels of publicity for the biomonitoring review and

have concerns about some of the suggested publicity material.” (MONGLY01087312).



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       768.    Kier then writes: “I don’t know who wrote the ‘Summary’ for my paper and

certainly don’t want to offend them but it is not the way I would have worded it and I would

personally not want this used to characterize my paper.”

       769.    The differences between the “Summary” of Kier’s paper sent to McClellan by

Saltmiras, and presumably written by him, and the revised “Summary” Kier wrote and included

in his email to McClellan are significant.

       770.    The key passages from the Saltmiras-submitted “Summary” of Kier’s paper read:

“The author concluded that there are no direct risks to human DNA under normal exposure

conditions” and “these results confirm previous conclusions that glyphosate-based herbicides do

not damage DNA in humans following real world exposures.”

       771.    The comparable passages that Kier wrote for a revised “Summary” of his paper

read: (1) “The author concluded that these studies [on genotoxicity] do not indicate significant

genotoxic risks to humans from glyphosate-based herbicides under normal exposure conditions”;

and (2) “These findings are consistent with an earlier review of an extensive number of

laboratory studies that indicated little likelihood of significant genotoxic risk or reaction with

DNA under normal exposure conditions.”

       772.    The Saltmiras version of sentence is unequivocal – “there are no direct risks to

human DNA.” Kier’s rewrite of (1) includes an important change. Instead of “no risk,” Kier

writes that there is an absence of “significant genotoxic risks.”

       773.    In key passage (2) quoted above, the Saltmiras version states that glyphosate-

based herbicides “do not damage DNA in humans.” Kier’s rewrite says that there is “little

likelihood of significant genotoxic risk or reaction with DNA under normal exposure

conditions.”




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       774.      This version contains three caveats. First, there is “little likelihood,” but hence

some chance of “significant genotoxic risk or reaction” under normal conditions. Second, Kier

leaves the door open for less than “significant” genotoxic risk or reaction under normal

conditions. Third, under not “normal,” and presumably high-exposure scenarios, there would be

heightened likelihood of modest to significant genotoxic risk.

       775.      In the same email to McClellan, Kier then turns his attention to the “Sound bytes

for social media” in the Saltmiras email from earlier the same day. The sound bites state that

glyphosate-based herbicides “do not damage cellular DNA…” and are “not associated with DNA

damage in human cells.” About these statements, Kier writes:

       “I also don’t think the ‘Sound bytes for social media’ are accurately worded. They
       are way too absolute for my taste and place undue emphasis on the strength of the
       biomonitoring data. Unfortunately, I can’t readily suggest alternatives that fit
       nicely into the ‘sound byte’ format.”

       776.      Nine minutes later at 5:12 p.m., after receiving the above described email from

Kier, CRT Editor McClellan responds to Kier, sending a copy to Saltmiras. He writes:

       “Larry:

       What I forwarded to T and F (Charles Whalley) is what I received from David
       Saltmiras. I assumed you were in the loop on what had been developed at
       Monsanto. I suggest you get in touch ASAP with David.”

       777.      Around noon the next day, Larry Kier does email David Saltmiras. His message is

terse and to the point, and quoted in full below:

       “David,

       I think I might have misunderstood something in our earlier conversation today
       but apparently the Summary and Sound bytes were from Monsanto.

       Please consider the bcc: comments I sent earlier to Roger. While I definitely
       support glyphosate and GBF’s [glyphosate-based formulations] I really don’t
       want to have inappropriate absolutes representing this [Kier, 2015] review.”




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       (Emphasis added; MONGLY01087311).

              2.      Advertising

       778.   In June 1988, a member of the medical school faculty at the University of Iowa

saw an advertisement for Roundup herbicide on TV, depicting an application of the herbicide.

The person in the advertisement was wearing gym shoes, a short sleeve shirt, and long pants. He

called the EPA to raise concern over the safety of such a method of application under the

conditions depicted in the advertisement.

       779.   Edwin Tinsworth, then Director of the OPP Registration Division, wrote a July

26, 1988 letter to Dr. Timothy Long, then Roundup’s Registration Manager, stating that: “We are

concerned that advertisements for Roundup (running through July in Iowa and perhaps other

soybean growing areas) show the product being applied in a manner inconsistent with protective

clothing requirements…and we request that you cease running these spots.”

       780.   In a certified letter dated April 7, 1992 to Monsanto, Leo Alderman of the Toxics

and Pesticides Branch in EPA Region VII challenges misleading claims made in Monsanto

advertising literature promoting Roundup sales. These statements included “Roundup doesn’t

stay in the soil, won’t leach to nearby plants and breaks down into natural substances…Nothing

kills weeds better, or easier, than Roundup…Biodegradable.”

       781.   He instructs Monsanto that “such statements should be removed from all literature

advertising the product…” Alderman directs Monsanto to cease distributing all advertising

material with such claims and that Monsanto send him/EPA copies of the revised advertising

material within 30 days.

       782.   In 1996, the Consumer Frauds and Protection Bureau of Attorney General of the

State of New York brought an action against Monsanto over assertions and safety claims in




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multiple print adds appearing in publications distributed in the State. (MONGLY02510516-544)

       783.       The Attorney General found that Monsanto advertising claims that Roundup

herbicides:

              •   “…are safe and will not cause harmful effects to people…”;
              •   Are safe “because they quickly break down into natural substances”; and
              •   Are “good for the environment”.

       784.       In addition, the AG states that Monsanto advertising asserts or implies that “The

characteristics of Monsanto’s glyphosate-containing pesticide products can be adequately

described by the characteristics of glyphosate alone.” (MONGLY 02510519).

       785.       The AG found “that the representations set forth in paragraphs E and F above

[encompassing the above quoted claims] constitute false and misleading advertising.” After

presenting why Monsanto’s advertising claims were false and misleading, the AG reports

agreement from Monsanto to cease and desist making all such claims in advertising associated

with the marketing of Roundup in New York.

       786.       In my opinion, the New York AG was correct to challenge the basis of multiple

claims in Roundup advertising.

       787.       In my opinion, Monsanto underperformed in its responsibility to dissuade false

and dangerous assertions and statements regarding the risks associated with exposures to

Roundup. One of the common, and most dangerous assertions often encountered is that

“Roundup is safe enough to drink.” This is simply not true.


       These are my opinions, and basis therein, to a reasonable degree of scientific certainty.



                                                _________________________________
                                                Charles M. Benbrook, PhD.
                                                Nov. 10, 2018


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                  Appendix A Resume
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July 20, 2018
                                   CHARLES M. BENBROOK


                BUSINESS
                AND HOME
                ADDRESS

          PHONE                      (Business)
                                    (Cell, works only when traveling)
          E-MAIL --


PERSONAL INFORMATION

Birthdate:
Place:
Children:
Wife:             Karen Lutz Benbrook
Hobbies:          Fishing, Raising Rabbits

EDUCATION

B.A. Degree - Economics, Harvard University (1971)
M.A. Degree - Agricultural Economics, University of Wisconsin (1979)
Ph.D. - Agricultural Economics, University of Wisconsin (1980)

EMPLOYMENT HISTORY

Visiting Scholar, Bloomberg School of Public Health, Johns Hopkins University, March 31,
2017-present

Visiting Professor, Newcastle University, Newcastle, U.K. 2016-Present

Benbrook Consultant Services (BCS), President. December 1, 1990 to present.

        Analytical services for domestic and international clients in the public and private sectors.
         Areas of focus include biotechnology; pesticide use, risks, and regulation; adoption and
        costs-benefits of Integrated Pest Management; impacts of federal environmental and food
        laws, especially the Food Quality Protection Act of 1996. BCS specializes in the
        development of novel methodologies to assess environmental and public health risks and
        issues.

Washington State University, Center for Sustaining Agriculture and Natural Resources, Research
Professor. August 16, 2012 to May 15, 2015.
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Adjunct Faculty, Department of Crop and Soil Sciences, Washington State University, October
31, 2007 to August 26, 2015

       Research scientist and program leader for the “Measure to Manage Program – Farm and
       Food Diagnostics for Sustainability and Health.”

The Organic Center, Chief Scientist. January 1, 2006 to May 31, 2012.

       Developed and managed a program of research on the environmental and consumer
       health benefits of organic foods and farming.

National Research Council/National Academy of Sciences, Washington, D.C. Executive
Director, Board on Agriculture. January 16, 1984 to November 30, 1990.

       Responsible for overseeing and managing activities of the Board. Major BA/NAS reports
       published during this period addressed the methods and applications of agricultural
       biotechnology; unique risks faced by infants and children from pesticide exposure;
       resistance to pesticides; options to improve the nutritional composition of animal
       products; and, agricultural research and education.

Subcommittee on Department Operations, Research, and Foreign Agriculture, Committee on
Agriculture, U.S. House of Representatives. Subcommittee chaired by Congressman George E.
Brown, Jr., Staff Director. April 1981 - January 13, 1984.

       Responsibilities included: (i) preparing and analyzing legislation within the jurisdiction
       of the subcommittee; (ii) organizing subcommittee hearings and business meetings; and,
       (iii) briefing members and staff on legislation and oversight activities.

Council on Environmental Quality, Executive Office of the President, Agricultural Policy
Analyst. December 1979 - March 1981.

       Represented CEQ on various Executive Branch committees; analyzed natural resource
       data and policy options; and (iii) conducted research and contributed to multiple
       Executive Branch reports.

AWARDS and HONORS

Excellence in Science Award, OTA/TOC Dinner, March 2014.

Appointed as member, USDA’s AC 21 agricultural biotechnology advisory committee, 2010, and
reappointed in 2013.

Appointed to AGree Advisory Committee, 2010.
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Appointed as Adjunct Faculty Member, Department of Crop and Soil Sciences, Washington
State University, Pullman, Washington, 2007.

Graduated cum laude from Harvard University, 1971.

Received $1,000 cash award from the Council on Environmental Quality for contributions to the
completion of the National Agricultural Lands Study.

LITIGATION HISTORY
In addition to the above activities, Benbrook has participated in several lawsuits involving
pesticide use and risks, agricultural biotechnology, and food labeling. The major cases are listed
below:

1. Peterson, et al. v. BASF Corp. Plaintiff’s attorney, Hugh Plunkett, Lockridge Grindal Nauen,
St. Paul, Minnesota. Trial Ada, Minnesota, in the District Court for Northeastern Minnesota (Red
River Valley)

2. James E. Fox, et al. v. Cheminova, Inc USDC, EDNY Case Number CV 00-5145, plaintiff’s
attorney Kevin Huddel, Jones, Verras, and Freiberg, LLC, New Orleans, Louisiana.

3. Ricardo Ruiz Guzman individually, Martin Martinez individually, and Miguel Farias and
Ignacia Farias, husband and wife v. Amvac Chemical Corporation. Plaintiff’s attorney, Richard
Eymann, Eymann, Allison, Hunter, Jones, P.S., Spokane, Washington.

4. United Industries v. Dow AgroSciences. Plaintiff’s attorney, Dudley Von Holt, Thompson
Coburn LLP, St. Louis, Missouri.

5. Hardin, et al. v. BASF, U.S. District Court for the Eastern District of Arkansas. Plaintiff’s
attorney, William French, Looper Reed and McGraw, Dallas, Texas.

6. Timm Adams, et al. vs. U.S.A., et al., Idaho U.S.D.C. Case No. CIV 03-049-E-BLW,
Plaintiff’s attorneys, Holland and Hart, Boise, ID and Denver, CO.

7. Jim Aana, et al., vs. DuPont Pioneer and Gay Robinson, Inc. Civil No. CV12 00231 – LEK-
BMK, United States District Court, District of Hawaii.

8. Conagra Foods, Inc, Case re Wesson oils, No. 11-cv-05379-MMM, U.S. District Court Central
District of California Western District.




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9. Laura Eggnatz, Katrina Garcia, and Julie Martin v. Kashi Company. Civil Case No.: 12-
21678-CIV-Lenardo/O’Sullivan, U.S. District Court, Southern District of Florida, Miami
Division.

10. Grocery Manufacturers Association et al. Plaintiffs, v. William H. Sorrell, Attorney General
of Vermont, et al., Case No. 5:14-cv-117, United States District Court for the State of Vermont.

11. Barron v. Snyder’s-Lance, Inc. No. 0:13-cv-62496-Leonard-Goodman (S.D. Fla.).

12. In re General Mills, Inc. Kix Cereal Litigation, Case No. 12-249 (KM) (JBC),U.S. District
Court of New Jersey

13. Dewayne Johnson v. Monsanto Company, Case No. CGC-16-550128, Superior Court
State of California County of San Francisco.


RESEARCH and ANALYTICAL ACTIVITIES

1979-1983: Basic analytical work on the extent and distribution of soil erosion, findings used in
development of the conservation provisions in the 1985 farm bill.

1981- 1983: Congressional oversight investigation of the pesticide regulatory activities of the
Environmental Protection Agency, wrote a three-volume subcommittee report: "EPA Pesticide
Regulatory Study." The report's findings and recommendations set in motion activities that led to
the 1984-1987 NAS report Regulating Pesticides in Food: The Delaney Paradox (1987), the
seminal 1993 NAS report Pesticides in the Diets of Infants and Children, and passage of the
“Food Quality Protection Act” in 1996.

1988-1989: Compiled data and conducted analysis of private sector research investments in the
food and agricultural industries, leading to Appendix B, "Private Sector Research Activities and
Prospects", in Investing in Research: A Proposal to Strengthen the Agricultural, Food, and
Environmental System, NAS Press, 1989.

1995-2000: Developed the first system in the U.S. that quantifies the level of adoption of
Integrated Pest Management along the “IPM continuum.” This early model of IPM adoption has
been refined and augmented through several iterations and applications in multiple projects,
some of which are ongoing.

1999-2004: Developed a method to estimate the usage of subtherapeutic antimicrobials in
livestock production for growth promotion and disease prevention. Did the analytical work and
was principle author of the Union of Concerned Scientists’ report Hoggin It! Estimates of
Antimicrbial Abuse in Livestock (2001).

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2004-June 2012: Developed the “Nutritional Quality Index” (NQI), a food nutritional profiling
system encompassing 26 essential nutrients. For the first time ever, applied the system to all
foods consumed in a day by an individual. Utilized model in assessment of the fatty acid profile
of organic versus covnentional whole milk.

2013-2014: Posted on the M2M website at Washington State University interactive systems
allowing access to: (i) USDA pesticide use data by crop, state, and over time in the U.S., and (ii)
detailed information on pesticide residues and risk levels in food, for organic and conventional
food, and imported foods and domestic production.



REPORTS, ARTICLES, AND PRESENTATIONS

        Benbrook has published over 30 articles in peer reviewed journals, spanning multiple
disciplines including agricultural biotechnology, pesticide use and residues in food, soil and
water conservation, pesticide risk assessment methods, Integrated Pest Management, nutrition,
germplasm conservation, scientific basis for evaluating agricultural technologies, antibiotic use
and resistance, food safety, international agricultural development, sustainable agriculture, and
agricultural policy.

       Peer Reviewed Papers and Articles

Benbrook, C. 2018. Why Regulators Lost Track and Control of Pesticide Risks: Lessons from the
Case of Glyphosate-Based Herbicides and Genetically Engineered-Crop Technology. Cur Envir
Health Reports. https://doi.org/10.1007/s40572-018-0207-y

Benbrook C, Davis DR, Heins BJ, Latif MA, Leifert C, Peterman L, Butler G, Faergeman O,
Abel-Caines S, Baranski M. 2018. Enhancing the fatty acid profile of milk through forage-based
rations, with nutrition modeling of diet outcomes. Food Sci Nutr. DOI: 10.1002/fsn3.610

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Hansen M, Landrigan PJ, Lanphear BP, Mesnage R, vom Saal FS, Welshons WV, Myers JP.
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Community Health doi:10.1136/jech-2016-208463

Benbrook, C. 2016. Enhancements Needed in GE Crop and Food Regulation in the U.S.
Frontiers in Public Health, Environmental Section. https://doi.org/10.3389/fpubh.2016.00059

Benbrook, C. 2016. Trends in the use of glyphosate herbicide in the U.S. and globally. Environ.
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Lorne G. Everett, Michael Hansen, Philip J. Landrigan, Bruce P. Lanphear, Robin Mesnage,
Laura N. Vandenberg, Frederick S. vom Saal, Wade V. Welshons and Charles M. Benbrook.
(2016) Concerns over use of glyphosate-based herbicides and risks associated with exposures: a
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Dominika Średnicka-Tober, Marcin Barański, Chris J. Seal, Roy Sanderson, Charles Benbrook,
Håvard Steinshamn, Joanna Gromadzka-Ostrowska, Ewa Rembiałkowska, Krystyna Skwarło-
Sońta, Mick Eyre, Giulio Cozzi, Mette Krogh Larsen, Teresa Jordon, Urs Niggli, Tomasz
Sakowski, Philip C. Calder, Graham C. Burdge, Smaragda Sotiraki, Alexandros Stefanakis,
Sokratis Stergiadis, Halil Yolcu, Eleni Chatzidimitriou, Gillian Butler, Gavin Stewart and Carlo
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lower iodine and selenium concentrations in organic milk: a systematic literature review and
meta- and redundancy analyses. British Journal of Nutrition, 115, pp 1043-1060.
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Ostrowska J, Rembiałkowska E, Skwarło-Sońta K, Eyre M, Cozzi G, Krogh Larsen M, Jordon T,
Niggli U, Sakowski T, Calder PC, Burdge GC, Sotiraki S, Stefanakis A, Yolcu H, Stergiadis S,
Chatzidimitriou E, Butler G, Stewart G, Leifert C. Composition differences between organic and
conventional meat: a systematic literature review and meta-analysis.
Br J Nutr. 2016 Mar;115(6):994-1011. doi: 10.1017/S0007114515005073. Epub 2016 Feb 16.

Philip Landrigan, Charles Benbrook. “GMOs, Herbicides, and Public Health,” New England J.
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Marcin Baranski, Dominka Srednicka-Tober, Nikolaos Volakakis, Chris Seal, Roy Sanderson,
Gavin B. Stewart, Charles Benbrook, Bruno Biavati, Emilia Markellou, Charilaos Giotis, Joanna
Gromadzka-Ostrowska, Ewa Rembiałkowska, Krystyna Skwarło-Son, Raija Tahvonen, Dagmar
Janovska, Urs Niggli, Philippe Nicot and Carlo Leifert, “Higher antioxidant and lower cadmium
concentrations and lower incidence of pesticide residues in organically grown crops: a systematic
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ORGANIC PRODUCTION ON TREE FRUIT PESTICIDE RESIDUES AND RISK. Acta Hort.
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conventional, integrated pest management (IPM)-grown and organic foods: insights from three
US data sets." Food Addit.Contam 19.5 (2002): 427-46.

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Food,” January 23, 1990. Chapter 15 in Pesticide Residues and Food Safety: A Harvest of
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Soil Water Conservation 46 (5): 349-352 (1991).

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Agriculture?,” Journal of Soil and Water Conservation 46 (2): 89-95. Jan-Feb. 1991.

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support programs,” N. Central J. Agric. Economics, 1: 1-16. 1980

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CO., 2011, access at –
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Conventional Dairy Production Systems, Critical Issue Report, The Organic Center, Boulder,
Co., 2010, access at –
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Recommendations in Two NAS Reports, Critical Issue Report, The Organic Center, Boulder, Co.,
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Mycotoxins in Food and Livestock Feed, State of Science Review, The Organic Center, 2005. 70
pages.

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Processing, State of Science Review, The Organic Center, 2005. 78 pages.

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Food, State of Science Review, The Organic Center, 2004. 63 pages.

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The First Eight Years”. 2003.

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Nine Years,” Ag BioTech InfoNet Technical Paper #7, 2005.

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Environmental Protection Agency).

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Larson.




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       Partial List of Presentations, Congressional Testimony, and Opinion Pieces

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Corvallis: Integrated Plant Protection Center, Oregon State University Extension Service.

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Protection Act are accessible through the Consumers Union FQPA website at
http://www.ecologic-ipm.net.

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Agriculture and Groundwater Quality: Policy Implications and Choices. January 17, 1989.
Paper presented as part of the "Technical Session on Agriculture and Groundwater Quality,"
1989 Annual Meeting of the American Association for the Advancement of Science, San
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Practical Realities and Political Options in Overcoming World Hunger. February 28, 1989.
Invited testimony before the Subcommittee on Natural Resources, Agriculture Research, and the
Environment, House Committee on Science and Technology.

Sustainable Agriculture: Policy Options and Prospects. February 28, 1989. Speech before the
Institute for Alternative Agriculture Symposium on Sustainable Agriculture, Washington, DC.
Published in the American Journal of Alternative Agriculture 4:3-4, pp. 153-159.

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Toxic Substances, Environmental Oversight, Research and Development of the Senate
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Testimony before the Senate Agriculture Committee's Agricultural Research and General
Legislation Subcommittee.

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Edmonton, Alberta, Canada.

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21, 1989. Invited testimony before the Senate Committee on Agriculture, Nutrition, and
Forestry's Subcommittee on Agriculture Production and Stabilization.

Alternatives to Pesticides: Findings and Recommendations from the NAS Report Alternative
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Alternative Agriculture. October 3, 1989.Invited testimony before a joint hearing of the House
Committee on Agriculture's Subcommittee on Department Operations, Research, and Foreign
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Resources, Agricultural Research, and the Environment.

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Opportunities to Protect Water Quality: Lessons from the NRC Report Alternative Agriculture.
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Quality in the American Food Industry: Lessons from the NRC Alternative Agriculture Report.
November 3, 1989. Paper presented at the Seventh International Conference on Gastronomy;
"Tradition and Innovation in American Food and Wine--A View From the Midwest," Chicago,
Illinois.

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Illinois Crop Protection Workshop sponsored by the Illinois Cooperative Extension Service,
March 9-11, 1988.

Pesticide Food Safety Act of 1988. September 7, 1988. Invited testimony before the
Subcommittee on Department Operations, Research, and Foreign Agriculture, Committee on
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Convention of the Florida Fruit and Vegetable Association in Naples, Florida.

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Conference on Technology and Agricultural Policy on December 12, 1986. Published in
Technology and Agricultural Policy: Proceedings of a Symposium, 1990, pp. 122-140.

Federal-State Cooperation in the Regulation of Pesticides, chapter in the Primer Agricultural
Chemicals and the Midwestern States. Proceedings of a conference held March 27-28, 1987.

Major Board on Agriculture NAS/NRC Reports



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Soil Conservation: An Assessment of the National Resources Inventory, Volumes 1 and II
(1986)
Pesticide and Groundwater Quality: Issues and Problems in Four States (1986)
Pesticide Resistance: Strategies and Tactics for Management (1986)
Agricultural Biotechnology: Strategies for National Competitiveness (1987)
Educating the Next Generation of Food and Agricultural Professionals (1987)
Regulating Pesticides in Food: The Delaney Paradox (1987)
Designing Foods: Animal Product Options in the Marketplace (1988)
Understanding Agriculture: Education in the Secondary Schools (1988)
Alternative Farming (1989)
Investing in Research: A Proposal to Strengthen the Agricultural, Food, and Environmental
System (1990)
Pesticides in the Diets of Infants and Children (1993, started in 1989)
Soil and Water Quality: An Agenda for Agriculture (1993, started in 1988)

References

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                          Appendix B
   EPA Rankings of the Most Heavily Used
Pesticides in the U.S. Agricultural Sector: 1987-
                       2012
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                        Glyphosate's Rise to theTop -- EPA Rankings of the Top Pesticides by Year in the U.S. Agricultural Sector, 1987-2001
                                    ("Range" is in million pounds active ingredient applied) (see "Notes")
                                                                         1987                       1993                      1995                           1997                        1999                         2001
                      Active Ingredient                 Type         Rank   Range               Rank   Range               Rank Range               Rank        Range            Rank       Range            Rank        Range
               Glyphosate                                 H           17      6-8                11    15–20                7    25–30               5          34-38              2        67-73              1         85-90
               Atrazine                                   H            1    71-76                 1    70–75                1    68–73               1          75-82              1        74-80              2         74-80
               Metam Sodium                              Fum          15      5-8                 8    25–30                3    49–54               3          53-58              3        60-64              3         57-62
               Metolachlor-S                              H                                                                                                                       12        16-19              9         20-24
               Acetochlor                                 H                                                                  11        22–27           7          31-36            4        30-35              4         30-35
               Dichloropropene                           Fum            4         30-35            6         30–35            5        38–43           6          32-37           11        17-20              8         20-25
               2,4-D                                      H             5         29-33            7         25–30            6        31–36           8          29-33            6        28-33              5         28-33
               Trifluralin                                H             6         25-30            9         20–25           10        23–28          10          21-25            9        18-23             12         12-16
               Propanil                                   H            13         7-10            15          7–12           17        6–10           22           6-8            18         7-10             17           6-9
               Dicamba                                    H            23          4-6            16          6–10           18         6–10          16          7-10            22          6-8             24           5-7
               Notes: " H" is herbicide; and, "Fum" is fumigant. (—) indicates that the pesticide was not one of the 25 most commonly used pesticides in the given year. Data does not include sulfur and petroleum oil.

               Source: Data from U.S. Environmental Protection Agency Pesticide Industry Sales and Usage Reports, accessible at https://www.epa.gov/pesticides/pesticides-industry-sales-and-usage-2006-and-2007-market-
               estimates



                        Glyphosate Stays at the Top -- EPA Rankings of the Top Pesticides by Year in the U.S. Agricultural Sector, 2001-2012
                                                                         2001                       2003                      2005                           2007                        2009                         2012
                       Active Ingredient                Type
                                                                     Rank   Range               Rank   Range               Rank Range               Rank        Range            Rank       Range            Rank        Range
               Glyphosate                                 H             1         85-90            1       128-133            1      147-167           1        170-190             1        209-229            1          270-290
               Atrazine                                   H             2         74-80            2        75-80             2       66-76            2         70-80              2         29-69             2           64-74
               Metam Sodium                              Fum            3         57-62            3        45-50             3       36-46            3         48-58              3         30-40             6           30-40
               Metolachlor-S                              H             9         20-24           6         28-33            5        25-35            4         27-37              6         24-34             3           34-44
               Acetochlor                                 H             4         30-35            5        30-35             6       24-34            5         25-35              7         23-33             7           28-38
               Dichloropropene                           Fum            8         20-25            7        20-24             4       28-38            6         24-34              4         27-37             4           32-42
               2,4-D                                      H             5         28-33            4        30-35             7       21-31            7         22-32              5         24-34             5           30-40
               Trifluralin                                H            12         12-16           11        8-10             14        6-10           17          4-8              18          3-7             19            3-7
               Propanil                                   H            17          6-9            18         5-7             18        3-7            18          3-7              17          3-7             17            3-7
               Dicamba                                    H            24          5-7                                       22         1-5           —           1-5              25          1-5             18            3-7
               Notes: " H" is herbicide; and, "Fum" is fumigant. (—) indicates that the pesticide did not make the 25 most commonly used pesticides ranking in the given year. Data does not include sulfur and petroleum oil.

               Source: Data from U.S. Environmental Protection Agency Pesticide Industry Sales and Usage Reports, accessible at https://www.epa.gov/pesticides/pesticides-industry-sales-and-usage-2006-and-2007-market-
               estimates




GLY>Top_EPA_Ranking                                                                                                  11/20/2018                                                                                                      Page 1 of 1
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                         Appendix C
Data Sources and Methods Used to Compare the
EPA and IARC Assessments of Glyphosate and
              GBH Genotoxicity
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Data Sources and Methods Used to Compare the EPA and IARC Assessments of
Glyphosate and GBH Genotoxicity
   •   Section 5.3 of the September 2016 EPA evaluation of glyphosate oncogenicity includes
       seven tables setting forth the studies the agency considered in the following areas:
   •   Table 5.1. In vitro Test for Gene Mutation in Bacteria: Glyphosate Technical (hereafter
       Bacterial Reverse Mutation Studies);
   •   Table 5.2. In vitro Mammalian Gene Mutation Assays: Glyphosate Technical;
   •   Table 5.3. In vitro Tests for Chromosomal Aberrations in Mammalian Cells --
       Glyphosate Technical;
   •   Table 5.4. In vitro Tests for Micronuclei Induction in Mammalia Cells -- Glyphosate
       Technical;
   •   Table 5.5. In Vivo Tests for Chromosomal Aberrations in Mammals -- Glyphosate
       Technical;
   •   Table 5.6. In Vivo Tests for Micronuclei Induction in Mammals -- Glyphosate Technical;
       and
   •   Table 5.7. Assays for Detecting Primary DNA Damage -- Glyphosate Technical
       (hereafter DNA Damage).
        Each of these seven tables reports the Test/Endpoint; Test System; Route of
Administration; Doses/Concentration; Test Material Purity; Results; References; and,
Comments. “Results” typically are “positive” or “negative,” and sometimes specify the
conditions under which a positive response was reported (e.g., “Negative +/- S9”; “Positive,
Statistically significant [p<0.05] increase in MN at 15 and 20 mg/l”).
         The information in these tables was moved into an Excel workbook, in which the
following data were recorded: Year, Author, Result, Glyphosate (form when reported),
Formulated GBH (if applicable), AMPA, Surfactants, Monsanto Study (Yes/No), Other
Registrant, Regulatory (done by any registrant), Public Literature, and Comments. Summary
statistics by type of genotoxicity test and assay system were calculated for studies on pure
glyphosate and formulated GBHs.
       For regulatory studies, public literature studies, and all studies, the number of studies,
number of positives, and percent positive were calculated. A similar Excel workbook was
constructed from all glyphosate-related genotoxicity studies cited in Volume 112 of the IARC
Monograph series in “Section 4.2 Mechanisms of carcinogenesis.” The IARC Working Group
organized its assessment of genotoxicity data in six tables:
   •   Table 4.1 Genetic and related effects of glyphosate in exposed humans;
   •   Table 4.2 Genetic and related effects of glyphosate, AMPA, and glyphosate-based
       formulations in human cells in vitro;
   •   Table 4.3 Genetic and related effects of glyphosate, AMPA, and glyphosate-based
       formulations in non-human mammals in vivo;
   •   Table 4.4 Genetic and related effects of glyphosate, AMPA, and glyphosate-based
       formulations in non-human mammalian cells in vitro;


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   •   Table 4.5 Genetic and related effects of glyphosate, AMPA, and glyphosate-based
       formulations in non-human mammalian systems in vivo; and
   •   Table 4.6 Genetic and related effects of glyphosate and glyphosate-based formulations
       on non-human mammalian systems in vitro.
        Each of the above six tables covers studies done on glyphosate technical, as well as any
studies conducted using a formulated GBH. A few studies testing the primary glyphosate
metabolite AMPA are also included in the IARC tables.
       For these six IARC tables, the following information was recorded in the Excel
workbook: Category of Study, Lead author and year, End-point Studied, Test/Assay,
Response/Results, Comments, Cited by MON Reviews (Brusick et al. 2016; Heydens et al. 2008;
Kier and Kirkland 2013; Williams et al. 2016), and Cited in the EPA September 2016 report
(EPA 2016).
        Summary statistics are calculated by IARC category of study and reflect the number of
studies or assays considered by IARC, the number cited in one or more Monsanto-commissioned
reviews, and the number cited by EPA in its September 2016 report.




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                                Benbrook Reliance List
           In re Roundup Products Liability Litigation, MDL No. 2741
Table of Contents
   A. Documents With a Bates Number
   B. Published Scientific Studies and Technical Documents
   C. Depositions, Deposition Exhibits, Johnson Trial Documents
   D. Genotoxicity Documents

Notes: In addition to the below listed documents, I also relied on a few documents cited in my
11/20/18 expert report that are not included in the below list.
I relied on the genotoxicity studies cited in the September 2016 EPA report evaluating
glyphosate oncogenicity. I relied on the genotoxicity studies cited IARC’s 2015 evaluation of
glyphosate and glyphosate-based herbicide genotoxicity in the glyphosate chapter in Volume
112 of the IARC Monograph series. The majority of the published genotoxicity studies cited by
EPA and/or IARC are listed in section “D. Genotoxicity Documents.” Some studies cited in
section B are also cited in section D.
I have conducted research and analytical work on glyphosate and Roundup herbicides for over
30 years. The below reliance list does not include many older documents that I have studied
and relied on in developing my general understanding of the use, risks, and regulation of
glyphosate-based herbicides.
   A. Documents With a Bates Number

 Date                   Bates Number (First Page)
 9/25/15              ACQUAVELLAPROD00009991
 4/9/15               ACQUAVELLAPROD00010215
 5/14/16              ACQUAVELLAPROD00012030
 4/6/16               ACQUAVELLAPROD00012359
 1/7/16               ACQUAVELLAPROD00014559
 1/7/16               ACQUAVELLAPROD00014559
 7/30/15              ACQUAVELLAPROD00017681
 1/15/88              MONGLY00223052
 8/11/82              MONGLY00223097
 7/27/82              MONGLY00223108
 3/18/81              MONGLY00223143
 12/4/80              MONGLY00223146
 8/30/78              MONGLY00223177



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 6/28/78            MONGLY00223224
 10/1/77            MONGLY00223244
 7/1/77             MONGLY00223253
 1/1/88             MONGLY00223577
 3/13/85            MONGLY00233235
 9/26/85            MONGLY00233235
 1/17/86            MONGLY00233235
 1/23/86            MONGLY00233235
 9/4/84             Mongly00235097
 2/26/85            Mongly00235097
 6/14/85            Mongly00235097
 12/4/85            Mongly00235097
 2/24/86            Mongly00235097
 1/1/88             MONGLY00241308
 4/14/99            MONGLY00555372
 11/19/13           MONGLY00556464
 10/5/04            MONGLY00666980
 6/8/09             MONGLY00874417
 5/31/99            MONGLY00877463
 8/3/99             Mongly00877683
 9/2/99             Mongly00878595
 4/27/00            MONGLY00878876
 4/25/02            MONGLY00885526
 4/25/02            MONGLY00885551
 7/22/97            MONGLY00885870
 6/11/02            MONGLY00888454
 5/26/00            MONGLY00889984
 1/29/10            MONGLY00889988
 9/10/01            MONGLY00891769
 11/3/99            MONGLY00894003
 11/3/99            MONGLY00894004
 11/3/99            MONGLY00894004
 9/26/12            MONGLY00900629
 10/23/15           MONGLY00901021
 7/26/04            MONGLY00903275
 5/7/15             MONGLY00903930
 5/26/99            MONGLY00904009
 6/16/99            MONGLY00904772
 6/29/99            MONGLY00904905


                                                                           2
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 12/6/99            MONGLY00905088
 1/3/02             MONGLY00905589
 6/11/02            MONGLY00905650
 9/15/09            MONGLY00909017
 11/18/10           MONGLY00919381
 7/8/99             MONGLY00921330
 11/24/03           MONGLY00922458
 9/13/04            MONGLY00922461
 2/13/01            MONGLY00923065
 9/23/04            MONGLY00925905
 9/28/12            MONGLY00936725
 8/13/12            MONGLY00971543
 3/14/15            MONGLY00977035
 3/14/15            MONGLY00977253
 2/5/15             MONGLY00977267
 10/10/12           MONGLY00978886
 9/27/13            MONGLY00980032
 6/27/13            MONGLY00980158
 1/22/14            MONGLY00981878
 9/2/15             MONGLY00982099
 8/21/09            MONGLY00984228
 8/22/09            MONGLY00984228
 2/20/15            MONGLY00986901
 1/7/09             MONGLY00987424
 4/28/15            MONGLY00987755
 10/15/14           MONGLY00989918
 3/17/15            MONGLY00990361
 7/1/15             MONGLY00992949
 8/28/15            MONGLY00994301
 1/13/06            MONGLY00998682
 1/4/01             MONGLY00999235
 1/6/16             MONGLY00999487
 2/9/16             MONGLY01000676
 1/7/16             MONGLY01003669
 11/12/08           MONGLY01012203
 9/16/09            MONGLY01013201
 2/27/15            MONGLY01021648
 2/12/15            MONGLY01021708
 5/11/15            MONGLY01023968


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 10/1/85            MONGLY01030362
 11/3/15            MONGLY01030787
 11/6/15            MONGLY01030787
 11/4/15            MONGLY01030799
 9/24/15            MONGLY01031800
 12/20/12           MONGLY01037818
 6/11/10            Mongly01041300
 1/21/16            MONGLY01041641
 8/20/13            MONGLY01045298
 10/22/13           MONGLY01051709
 2/19/09            MONGLY01061857
 2/20/15            MONGLY01087311
 1/1/16             MONGLY01090874
 9/20/12            MONGLY01096619
 10/3/14            MONGLY01147225
 12/14/10           MONGLY01155974
 3/6/13             MONGLY01159775
 1/22/13            MONGLY01174848
 10/14/08           MONGLY01179185
 3/30/15            MONGLY01179969
 7/15/08            MONGLY01182769
 8/6/15             Mongly01183933
 5/14/08            MONGLY01185826
 6/22/07            MONGLY01187777
 9/9/08             MONGLY01189468
 9/21/09            MONGLY01192115
 1/15/09            MONGLY01199776
 12/10/09           MONGLY01202786
 9/18/14            MONGLY01207339
 2/26/15            MONGLY01210309
 5/21/15            MONGLY01213912
 11/10/14           MONGLY01224009
 5/11/16            MONGLY01228576
 5/11/15            MONGLY01228577
 9/1/08             MONGLY01238768
 3/3/10             MONGLY01249878
 1/22/16            MONGLY01251889
 5/14/91            MONGLY01287106
 11/10/88           MONGLY01287148


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 6/1/86             MONGLY01297180
 1/1/88             MONGLY01298438
 2/11/86            MONGLY01299319
 6/9/89             MONGLY01307724
 6/26/80            MONGLY0130997
 2/15/99            MONGLY01312093
 1/28/99            MONGLY01312107
 8/19/99            MONGLY01314233
 8/19/99            MONGLY01314233
 3/5/97             MONGLY01316037
 1/1/15             MONGLY01322037
 4/11/83            MONGLY01330783
 1/1/04             MONGLY01594844
 9/7/99             MONGLY01596286
 12/10/99           MONGLY01598004
                    MONGLY01617138
 1/1/89             MONGLY01664620
 1/1/16             MONGLY01665908
 8/17/15            MONGLY01680756
 1/1/16             MONGLY01685794
 1/1/05             MONGLY01700591
 8/4/15             MONGLY01723742
 1/1/00             MONGLY01745304
 5/19/99            MONGLY01825649
 6/3/99             MONGLY01825671
 7/1/01             MONGLY018394 76
 7/1/01             MONGLY01839476
 7/25/01            MONGLY01853191
 7/30/99            MONGLY01869261
 4/29/15            MONGLY01994735
 9/11/10            MONGLY02013059
 4/19/16            MONGLY02054088
 4/22/16            MONGLY02056568
 6/24/15            MONGLY02060344
 4/12/10            MONGLY02061150
 2/1/10             MONGLY02062439
 9/26/12            MONGLY02063095
 3/12/15            MONGLY02063611
 12/8/10            MONGLY02067858


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 2/19/15            MONGLY02078597
 2/4/16             MONGLY02085862
 2/29/12            MONGLY02117800
 10/23/15           MONGLY02133654
 9/30/15            MONGLY02133785
 7/18/12            MONGLY02145917
 11/10/08           MONGLY02155826
 11/12/08           MONGLY02155826
 9/7/12             MONGLY02185742
 9/23/09            MONGLY02221147
 8/19/08            MONGLY02286842
 8/19/12            MONGLY02286842
 11/19/09           MONGLY02303997
 2/23/09            mongly02343101
 7/5/16             MONGLY02356274
 4/4/16             MONGLY02358772
 5/9/16             MONGLY02359008
 7/1/16             MONGLY02359075
 7/5/16             MONGLY02360732
 12/28/90           MONGLY02431080
 4/19/08            MONGLY02530945
 10/21/98           MONGLY02598951
 1/1/15             MONGLY02613913
 2/19/01            MONGLY02626553
 8/24/00            MONGLY02628625
 3/5/97             MONGLY02719133
 12/3/12            MONGLY02719740
 11/1/10            MONGLY02721133
 11/17/15           MONGLY02736383
 8/13/15            MONGLY02816607
 8/28/15            MONGLY02844211
 2/23/15            MONGLY02913526
 6/5/15             MONGLY02953363
 6/24/15            MONGLY03064695
 3/1/15             MONGLY03293245
 10/5/15            MONGLY03315608
 4/1/15             MONGLY03316369
 2/25/16            MONGLY03324620
 8/19/15            MONGLY03334607


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 12/1/14            MONGLY03340964
 12/1/14            MONGLY03340967
 7/7/15             MONGLY03342947
 3/23/15            MONGLY03343371
 9/3/15             MONGLY03351980
 2/2/16             MONGLY03379079
 1/1/16             MONGLY03379121
 2/9/16             MONGLY03381565
 6/27/16            MONGLY03389601
 5/2/16             MONGLY03391458
 10/25/15           MONGLY03396443
 8/28/15            MONGLY03398169
 4/5/16             MONGLY03401522
 4/21/16            MONGLY03402231
 9/22/15            MONGLY03402751
 1/1/17             MONGLY03460255
 9/1/11             MONGLY03480530
 5/24/16            MONGLY03487960
 5/6/10             MONGLY03498538
 6/18/15            MONGLY03500777
 5/9/14             MONGLY03549275
 5/27/15            MONGLY03550020
 8/9/16             MONGLY03550799
 7/25/16            MONGLY03555680
 6/23/16            MONGLY03557240
 7/6/16             MONGLY03558820
 9/16/99            MONGLY03734971
 4/5/02             MONGLY03737014
 4/2/02             MONGLY03738295
 6/21/99            MONGLY03751016
 4/9/13             MONGLY03829270
 7/21/15            MONGLY03853393
 2/12/16            MONGLY03859549
 5/4/10             MONGLY03909609
 4/27/15            MONGLY03929023
 8/31/15            MONGLY03934897
 6/24/15            MONGLY04028722
 1/28/13            MONGLY04086537
 8/23/11            MONGLY04107778


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 2/15/86            MONGLY04268857
 2/14/86            MONGLY04268860
 8/28/85            MONGLY04268980
 8/20/85            MONGLY04268982
 4/10/85            MONGLY04269047
 4/14/85            MONGLY04269049
 3/4/85             Mongly04269067
 2/21/85            MONGLY04269072
 1/31/84            MONGLY04269117
 3/25/81            MONGLY04269195
 8/24/83            MONGLY04271635
 12/26/84           MONGLY04272196
 12/26/84           MONGLY04272196
 7/16/79            MONGLY04272266
 4/4/85             MONGLY04277789
 8/28/86            MONGLY04278162
 10/7/16            MONGLY04350032
 9/15/16            MONGLY04962809
 9/23/02            MONGLY06414231
 7/9/04             MONGLY06424476
 1/1/02             MONGLY06509236
 11/17/16           MONGLY07063555
 7/5/00             MONGLY07080361
 8/21/78            Public Document
 2/18/82            Public Document
 7/27/82            Public Document
 6/10/83            Public Document
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 10/22/83           Public Document
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 3/1/07             Public Document
 5/9/12             Public Document


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 6/29/16            Public Document
 10/13/16           Public Document
 11/25/16           Public Document
 1/1/17             Public Document
 8/1/17             Public Document
 5/14/16            WEEDPROD00000129
 10/30/91           WILLIamsPROD00001642
 MONGLY04252192
 MONGLY02218361
 MONGLY01021648
 MONGLY01021654
 MONGLY08076980
 MONGLY00878068
 MONGLY00890137
 MONGLY00978853
 MONGLY00889984
 MONGLY00940449
 MONGLY00905540
 MONGLY01308839
 MONGLY01204377
 MONGLY00886421


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